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                EXHIBIT A
Document Yelp Refers to as “FTC Staff Memo” in its Complaint
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                                 UNITED STATES OF AMERICA
                             FEDERAL TRADE COMMISSION
                                WASHINGTON, D.C. 20580

 Bureau of Competition

                                                                    Project Code: DXI

                                          MEMORANDUM




                                                                          O
TO:                Commission




                                                                       IC
FROM:              Barbara R. Blank, Gustav P. Chiarello, Melissa Westman-Cherry, Matthew
                   Accornero, Jennifer Nagle, Anticompetitive Practices Division; James




                                                              T
                   Rhilinger, Healthcare Division; James Frost, Office of Policy and
                   Coordination; Priya B. Viswanath, Office of the Director; Stuart Hirschfeld,




                                                           LI
                   Danica Noble, Northwest Region; Thomas Dahdouh, Western Region-San
                   Francisco, Attorneys; Daniel Gross, Robert Hilliard, Catherine McNally,
                                              PO
                   Cristobal Ramon, Sarah Sajewski, Brian Stone, Honors Paralegals; Stephanie
                   Langley, Investigator

DATE:              August 8, 2012
                                 by

SUBJECT:           Google Inc.
                   File No. 111-0163 1
                          d


RECOMMENDATION:                   That the Commission Issue the Attached Complaint
          ne




1
  Google is represented by Susan Creighton, Jonathan Jacobson, Lydia Parnes, Scott Sher, and Seth Silber of
Wilson Sonsini Goodrich & Rosati in Washington, D.C., and by John Schmidtlein and David Kendall of
        ai




Williams & Connolly LLP in Washington, D.C. Microsoft is represented by Charles ("Rick") Rule and
Jonathan Kanter ofCadwalader Wickersham & Taft LLP in Washington, D.C., and Deborah Garza of
bt




Covington & Burling LLP in Washington, D.C. Yahoo! is represented by Hanno Kaiser of Latham & Watkins
LLP in San Francisco, California. Facebook, Expedia, and TripAdvisor are represented by Thomas 0. Barnett
of Covington & Burling LLP in Washington, D.C. Amazon.com is represented by Scott Gant of Boies, Schiller
O




& Flexner LLP in Washington, D.C. eBay is represented by William H. Rooney ofWillkie, Farr & Gallagher
LLP in New York, New York. NexTag, Foundem, and TheFind are represented by Gary L. Reback of Carr &
Ferrell LLP in Menlo Park, California. Motorola Mobility is represented by Damian Didden ofWachtell Lipton
Rosen & Katz in New York, New York, and Scott Sher of Wilson Sonsini Goodrich & Rosati in Washington,
D.C. Apple is represented by Amanda Reeves and Hanno Kaiser of Latham & Watkins LLP in San Francisco,
California. LG Display is represented by Beau Buffier and Vittorio Cottafavi of Sheannan & Sterling LLP in
New York, New York. Verizon Communications is represented by Thomas O. Barnett of Covington & Burling
LLP in Washington, D.C. Samsung Telecommunications America is represented by Gregory Huffman of
Thompson & Knight LLP in Dallas, Texas. Research In Motion ("RIM") is represented by Logan Breed of
Hogan Lovells in Washington, D.C. Sony Corporation of America is represented by M. Sean Royall of Gibson
Dunn & Crutcher LLP in Washington, D.C. T-Mobile U.S.A. is represented by Douglas C. Ross of Davis
Wright Tremaine in Seattle, Washington.
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                                                                                                      [

                                 EXECUTIVE SUMMARY

       Google Inc. ("Google") is the world's dominant Internet search engine and seller of
                                                                                                      [
search advertising. Staff has investigated several allegations of anticompetitive conduct by

Google. Four of the five main areas are addressed by this memorandum, while Google's
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mobile conduct will be addressed in a supplemental memorandum.                                        L.




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        Staffs recommendations are premised on our conclusion that Google has monopoly




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power in three relevant antitrust markets in the United States: Horizontal Search; Search
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Advertising; and Syndicated S·earch and Search Advertising.                                           L




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       First, Staff has investigated whether Google has unlawfully preferenced its own




                                                     LI
content over that of rivals, while simultaneously demoting rival websites. Complainants
                                         PO
have alleged that this conduct has impaired their ability to compete effectively in the markets
                                                                                                      F.




for general search and search advertising. Although it is a close call, we do not recommend
                              by

that the Commission proceed on this cause of action because the case law is not favorable to

our theory, which is premised on anticompetitive product design, and in any event, Google's
                      d


efficiency justifications are strong. Most importantly, Google can legitimately claim that at
        ne




least part of the conduct at issue improves its product and benefits users.
      ai




       Second, Staff has investigated whether Google has unlawfully ~'scraped/' or
bt




appropriated, the content of vertical rivals in order to improve its own vertical products. We

conclude that Google's conduct should be condemned as a conditional refusal to deal under
O




Section 2 because (i) Google's prior voluntary course of dealing with vertical rivals offers
                                                                                                  L
clear evidence that the relationship was mutually beneficial, (ii) Google's threats to remove

rival content from its general web search results was designed solely to coerce rivals into

allowing Google to user their content for Google's competing vertical product, and (iii) the


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natural and probable effect of Google's conduct is to diminish the incentives of vertical

websites to invest in, and _to develop, new and innovative content. In the alternative,

Google's conduct may be condemned as a stand-alone violation of Section 5. Google has

presented no efficiency justification for its conduct.

        Third, Staff has investigated whether Google has employed anticompetitive




                                                                    O
contractual restrictions on the automated cross-management ofadvertising-campaigns.




                                                                 IC
Google's main rival (Microsoft) has alleged that Google is denying Microsoft critical scale

by employing these restrictions, and thus impairing Microsoft's ability to compete effectively




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                                                         LI
in the markets for general search and search advertising. We conclude that these restrictions

should be condemned under Section 2 because they limit the ability of advertisers to make
                                          PO
use of their own data, and as such, have i~duced innovation and increased transaction costs

among advertisers and third-party businesses, and also degraded the quality of Google's
                               by

rivals in search and search advertising. Google's proffered efficiency justification for these

restrictions appears to be pretextual.
                       d


       Fourth,. Staff has investigated whether Google has entered into anticompetitive,
         ne




exclusionary agreements with websites for syndicated search and search advertising services.
       ai




We conclude that Google's agreements should be condemned under Section 2 because they
bt




foreclose some portion of the market, and, although the agreements result in only modest

anticompetitive effects on publishers, the impact of the agreements in denying scale to
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competitors is both competitively significant to its main rival (Microsoft) today, as well as a

significant barrier to entry for potential entrants in the longer term. While Google presents

efficiency justifications for these agreements, on balance, Staff finds them to be non-

persuasive.




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        Staff has identified several possible remedies to Google's conduct. Specifically, for

Google's scraping conduct, Google could be required to provide an "opt-out" feature to
                                                                                                      [
remove "snippets" of website content (i.e., user reviews, ratings) from. Google's vertical            r
                                                                                                      L
properties, while retaining the snippets in Google's web search results and/or its Universal
                                                                                                  r   i
Search results on the main search results page. Google could also be required to more             L




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generally limit the use of the content it indexes for its web search results. For Google's




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campaign management restrictions, Google could be required to remove the problematic

contractual restrictions from. its license agreements. For Google's exclusionary syndication




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agreements, Google could be enjoined from. entering into exclusive agreements with search

syndication partners, and required to substantially loosen restrictions surrounding syndication
                                        PO
partners' use of rival search advertisements.

       There are a number of substantial risks associated with bringing a case against
                               by

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Google. Most notably, GooglewiH be able to argue that Microsoft's most efficient
                                                                                                  r
distribution channel is Bing.com.; and that any scale Microsoft might gain through the            l
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elimination of the challenged restrictions and agreements will be immaterial to improving
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Bing's competitive position.
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       Nevertheless, Staff concludes that Google's conduct has resulted - and will result - in
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real harm. to consumers and to innovation in the online search and advertising markets.           r
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Therefore, Staff recommends that the Com.mission issue the attached com.plaint.
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I.     HISTORY OF THE INVESTIGATION AND RELATED PROCEEDINGS
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       A.       FTC INVESTIGATION
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       The Commission authorized the use of compulsory process in this investigation on      L
June 13, 2011. 1 Since then, the Commission has issued subpoenas to Google, Microsoft, and
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Yahoo!, along with multiple Internet content providers (such as Amazon, eBay, and




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NexTag), mobile device manufacturers (such as Apple, Motorola Mobility, and Samsung),        L




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and wireless carriers (such as Verizon and AT&T). 2                                          r
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       Over the course of Staffs investigation, we have received well over two million




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documents (over 9.5 million pages) in total- and have reviewed many thousands of those
                                         PO
documents - from Google and a myriad of third parties. In addition, Staff reviewed

documents produced to the Department of Justice in the Google-Yahoo! (2008) and ITA
                              by

(2010) investigations, and documents produced in response to the ongoing investigations

being conducted by the European Commission and a number of U.S. states (see below).
                      d


       Staff has also met with and interviewed dozens of parties, including vertical
                ne



competitors in the travel, local, finance, and retail sectors; major U.S. advertisers and    L


advertising agencies; many of Google's largest U.S. syndication and distribution partners;
      ai




and mobile device manufacturers and wireless carriers.
bt




       To date, Staff has conducted 17 investigational hearings of Google executives and
                                                                                             L
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employees, including Google co-founder Sergey Brin, former CEO Eric Schmidt, chief
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economist Hal Varian, and other key executives spanning search, advertising, syndication,

and mobile. 3




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       B.      EUROPEAN COMMISSION INVESTIGATION

       The European Commission ("EC") has been conducting a parallel investigation of

Google since November 2010. On May 21, 2012, Commissioner Joaquin Almunia issued

Google a letter, signaling the EC's possible intent to issue a Statement of Objections ("SO")

against Google for abuse of dominance in violation of Article 102 of the EC Treaty. The




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letter set out the EC's concern in four areas: (1) Google's "favourable treatment of its own




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vertical search services as compared to those of its competitors in its natural search results";

(2) Google's "practice of copying third party content" to supplement its own vertical




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                                                     LI
offerings; (3) Google's "exclusivity agreements with publishers for the provision of search

advertising intermediation services"; and (4) Google's "restrictions with regard to the
                                          PO
portability and cross-platform management of online advertising,campaigns."
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       In his letter, Commissioner Almunia offered Google the opportunity to resolve the
                              by

concerns prior to the issuance of an SO by coming forward "with a written description of

possible solutions" to the EC's concerns. 5
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       On June 30, 2012, Google submitted a settlement proposal to the EC. Although
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Google denied any infringement of European Union ("EU") competition law, Google
      ai




proposed to enter into several "commitments," designed to address the EC' s stated concerns. 6
bt




       FTC staff has coordinated closely with EC staff throughout the course of our parallel

investigations. Staff has received waivers from Google, Microsoft, Yahoo!, and a handful of
O




other parties to discuss and exchange information with the EC. Staff has had regular

telephone calls with EC staff, where we have updated one another on theories and evidence.

We have also exchanged documents of mutual interest.




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       C.      MULTI-STATE INVESTIGATION

       Several states, including Texas, New York, California, Ohio, and Oklahoma have also

been conducting a joint parallel investigation.7 Texas has been investigating Google since                       F
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approximately June 2010, and is the leader of the multi-state working group. The other states

joined the investigation more recently, in the summer of 2011.




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       FTC staff has been working closely with the states, granting access to FTC                            I
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documents, as well as conducting joint meetings and interviews of third parties. In addition,

Staff has had regular telephone calls with the states, where we have updated the states on our




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theories, evidence, and investigational plan. We have also exchanged documents of mutual

interest. Representatives from the states have attended FTC· staffs investigational hearings

of Google executives.
                                             PO
       The states have not yet reached a conclusion as to whether to pursue litigation against
                                  by

Google. 8

       D.      PRIVATE LITIGATION
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       Several private lawsuits have been brought against Google relating to the conduct at
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issue in Staffs investigation. All have been dismissed.
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       The cases can be divided into two categories; those challenging manipulation of

Google's search rankings, 9 and those contesting increases in minimum prices for AdW ords
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search advertising.   10
                           In both Kinderstart.com LLC v. Google, Inc.,   11
                                                                               and SearchKing, Inc. v.
                                                                                                         L
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Google Tech., Inc.,        plaintiffs alleged that Google unfairly demoted their websites on

Google's search results page, which significantly impacted their businesses. In dismissing               r
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the plaintiffs claim, the SearchKing court found that Google's rankings were constitutionally

protected opinion, and that even malicious manipulation of the rankings would not expose
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Google to tort liability.l3 The Kinderstart court also dismissed the plaintiffs complaint,

rejecting the claim that Google's search results were an essential facility for vertical

websites, because Kinderstart had not been eliminated from the downstream market and

continued to get high rankings from other search engines. 14

        The AdWords cases address a common fact pattern, but are decided on alternate




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grounds. Plaintiffs in these cases argued that Google increased the minimum bids for the




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keywords the website had purchased, which made those keywords effectively unavailable,

thus depriving the plaintiff website of traffic. The complaint in TradeComet.com, LLC v.




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Google, Inc. 15 was dismissed for improper venue, while the allegations in Google, Inc. v.




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myTriggers.com, Inc. 16 were dismissed on grounds that they failed to describe harm to
                                           PO
competition as a whole. Both cases were dismissed with little discussion of the merits.

        In Person v. Google, Inc., 17 Judge Fogel of the Northern District of California
                               by

criticized the plaintiffs market definition, finding no basis for distinguishing the alleged

"search advertising market" from the larger market for Internet advertising. 18 The Ninth
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Circuit affirmed the conclusion that the plaintiff failed to plead facts sufficient to raise the
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allegations in its complaint beyond a speculative level, but did not address market
        ai




definition. 19
bt




II.     STATEMENT OF FACTS

        A.       THE PARTIES
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                 1.    Google

        Google is an Internet search technology company, founded in 1998 and headquartered

in Mountain View, California. Google's products and services include a general "horizontal"

search engine, as well as numerous integrated "vertical" websites that focus on specific




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content areas, such as product or shopping comparison, maps, finance, books, and video. 20

Google also sells search advertising through its AdWords program, as well as search and

search advertising syndication services through its AdSense program. Additionally, Google              F
                                                                                                   L
offers computer and software applications, such as Google Toolbar (a graphic user interface

that is integrated into a browser and provides direct access to Google's search page from any




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web page), Gmail (Google's internet mail program) and Chrome (Google's Internet




                                                                  IC
browser). Google also offers the Android operating system for mobile devices, along with a

host of applications for those devices. In addition, Google recently completed its purchase of




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Motorola Mobility, which manufactures, among other things, mobile devices (including




                                                       LI
Android devices), and now owns a large portfolio of mobile patents. 21
                                            PO
        Google employs more than 32,000 people worldwide, 22 and had annual revenues in

2011 of just under $38 billion. 23
                                 by

                    2.     General Search Competitors

                           a.     Microsoft
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        Microsoft introduced its general search engine, MSN, in 1998,24 and rebranded it as
         ne




Bing in May 2009. 25 In 2011, Microsoft filed complaints with the FTC and with the EC,
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alleging that Google has unlawfully monopolized markets for search and search

advertising. 26
bt




                           b.     Yahoo!
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        Like Google and Bing, Yahoo! - founded in 1994- offers a range oflntemet
                                                                                                  L
            27
services.        Since 2010, Yahoo! has maintained a search partnership agreement with Bing. 28
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Under the agreement, Microsoft powers Yahoo!' s natural search results (through a feed
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                                                                                                  r
provided to Yahoo!), 29 and the parties jointly operate a search advertising network. 30
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               3.     Major Vertical Complainants

       Staff has met with, interviewed, and subpoenaed numerous vertical websites offering

shopping, travel, local, and financial services. We identify here some of the main

complainants. In general, these companies complain that Google's practice ofpreferencing

its own vertical results over the complainants' websites on Google's search page has




                                                                  O
negatively impacted the complainants' ability to compete for users and advertisers.




                                                               IC
                      a.      Amazon

       Amazon is the world's largest online retailer, and also produces consumer




                                                      T
                                                   LI
electronics, notably the Amazon Kindle e-book reader and the Kindle Fire tablet. Amazon's

product search feature competes with Google Product Search.

                      b.      eBay
                                        PO
       eBay operates an online auction and shopping website in which people and businesses
                             by

buy and sell a broad variety of goods and services worldwide. eBay has expanded from its

original "set-time" auction format to include "Buy It Now" standard shopping, and a variety
                      d


of other services. eBay's product search feature competes with Google Product Search.
        ne




                      c.      NexTag
      ai




       NexTag is a shopping comparison website in the U.S. that competes with Google
bt




Product Search.

                      d.      Foundem
O




       Foundem is a shopping comparison website in the United Kingdom that competes

with Google Product Search. We understand that Foundem was the first vertical website to

publicly accuse Google of preferencing its own vertical content over that of competitors on




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Google's search page. Foundem's complaint to the EC, among others, prompted the EC to
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open its investigation into Google's web search practices.                                        L


                       e.      Expedia                                                            r
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        Expedia is a travel website in the U.S. that books airline tickets, hotel reservations,
                                                                                                  I
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car rentals, cruises, vacation packages, various attractions, and related services. Expedia       '- -




                                                                    O
competes with Google's fledgling Google Flight Search property.                                   r
                                                                                                  i_. _




                                                                 IC
                       f.      Trip Advisor

       TripAdvisor is a travel website in the U.S. that assists customers in gathering travel




                                                        T
                                                     LI
information, posting reviews and opinions of travel-related content, and engaging in

·interactive travel forums. Users provide most of the content, including reviews. TripAdvisor
                                         PO
competes with Google Local (formerly Google Places). TripAdvisor has complained that
                                                                                                  r


Google has appropriated, or "scraped," its user-generated reviews, placing them on Google's       r
                              by

own local property.

                       g.      Yelp
                       d


                                                                                                  l_ -




       Yelp is a user review and local search website in the U.S. Yelp contains listings for
        ne




businesses, such as restaurants and shops, among other venues, and - like TripAdvisor - is
      ai




largely built on user-provided content. Yelp has complained that Google has appropriated, or
bt




"scraped," its user-generated reviews, placing them on Google's own local property.

               4.      Facebook
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                                                                                                  r
       Facebook is the preeminent U.S. social networking site, founded in 2004, with over
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900 million users as of May 2012. 31 While Facebook does not fit the traditional mold of          r

                                                                                                  L
vertical complainant, it has played a considerable role in shaping Staffs views of the relevant

markets and of Google's conduct within those markets. Facebook competes with Google's
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recently introduced social networking site, Google Plus. Facebook has complained, among

other things, that Google's preferencing of Google Plus results over Facebook results on

Google's search page is negatively impacting its ability to compete for users.

       B.      INDUSTRY BACKGROUND

               1.      General Search




                                                                   O
       The Internet is a vast, largely unorganized collection of constantly changing




                                                                IC
information. If the Internet can be roughly analogized to a huge and highly dynamic library,

then algorithmic search engines are the card catalog.




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                                                     LI
       Unlike a traditional library, the Internet is too large and changes too rapidly for

traditional cataloging. 32 Instead, search engines (like Google) deploy computer programs
                                         PO
that constantly "crawl" the web, building and updating automated indexes of web content.

Similarly, the process of finding relevant information inside these web indexes is automated.
                              by

Sophisticated algorithms evaluate the content of the end user's request for information to

determine which parts of the web index may contain relevant responses. The identified
                      d


potential responses are then ranked by additional algorithms based on the predicted
        ne




likelihood of their relevance, and displayed to the end user in response to his or her query.
      ai




Critically, all of this complex activity occurs rapidly and automatically, without any direct
bt




human intervention.

       As users search for information on the Internet, they necessarily provide the search
O




engine with valuable information - the precise topic users are interested in at that moment.

Although a user does not pay for the web search service, the user's focused interest - or

intent - is very valuable to advertisers, because users are effectively identifying themselves

as potential customers through the content of their queries. For example, a business selling




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camping equipment can, with the search engine's assistance, advertise just to those users who

type the query "new tent" into the search engine. Thus, in a sense, the user is both a

consumer of the product and the product itself.
                                                                                                 L
                                                                                                     r
        Today, there are two broad categories of search engine. A "horizontal" (or general)

search engine, such as Google, allows users to enter any text string as a search request, and    I__




                                                                    O
returns a comprehensive list of search results regardless of topic. By contrast, a "vertical"    r
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                                                                 IC
search engine (sometimes referred to as an "aggregator") focuses on a specific category of

content, such as consumer products (e.g., NexTag) or travel (e.g., Expedia), and only accepts




                                                         T
and returns results for search queries within that narrow category. 33




                                                      LI
       Vertical search engines, even in aggregate, are not a complete substitute for
                                         PO
horizontal search engines due to the limited pool of information they contain. However,          j
                                                                                                 L -




vertical search engines do offer potentially attractive alternatives to advertisers, because
                              by

visitors to vertical properties routinely express the same kind of focused commercial interest
                                                                                                 r
(e.g., "Nikon camera" or ''flights to San Diego") that is expressed by users of a horizontal     I
                                                                                                 L       -
                      d


search engine.
        ne




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       Complainants operate competing horizontal (or general) search engines (Bing and
      ai




Yahoo!), as well as a variety of vertical websites.
bt




                 2.    Online Advertising

       Search engines earn revenue from the sale of advertising. Online advertising has
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emerged as an attractive alternative to traditional advertising formats, such as print and
                                                                                                 L

broadcast media. 34

       Google's "core business" is search advertising (through its AdWords platform). 35
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Google earned 96 percent of its nearly $3 8 billion in revenues last year from the sale of


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advertising. 36 The growth of the Internet has created entirely new business models that can

take advantage of ways, unique to the Internet, to identify and reach potential customers with

advertising. 37 Among the reasons advertisers have shifted budget online is the high degree of

tracking possible and the quantifiable, superior return on investment. 38

       Online advertising is primarily made up of display and search advertising, although




                                                                     O
some other types of advertising (e.g., contextual, re-targeted display, and social media




                                                                  IC
advertising) also have some presence. Display advertising typically consists of banner ads

containing graphics and other rich media appearing on white space on a web page. Search




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                                                      LI
advertising consists of text ads (displayed on the right-hand side of the search results page, at

the top of the page above the search results, and below the search results) matched to specific
                                          PO
keyword queries entered into the search engine by the user.

        Search advertising makes up the bulk of online advertiser spend, primarily because
                               by

advertisers believe that search advertising provides unprecedented precision in identifying

potential customers, measurability, and the highest return on investment. 39 Simply put, "it is
                       d


the most effective marketing ever."40 Search advertising is highly valued by advertisers
         ne




because they learn crucial information about the user from the query alone: they learn that
       ai




the user is interested in a particular subject, right now. 41 Thus, search advertising is a highly
bt




effective method of re.aching users who are interested in learning about or purchasing

products. Search advertising is often called "direct response" advertising, as it "is intended
O




to elicit a response from a consumer, such as the purchase of a product or signing up for a

service."42

       With pure display advertising, all the advertiser knows about the user is that he or she

is viewing a particular web page (similar to the information an advertiser may have about a
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                                                                                                     r
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television audience, for example), with no information about the user's present intent.

Display ads are not targeted enough to be as effective as search at eliciting direct responses
                                                                                                     [
from its audience. Thus, the primary purpose for display advertising is to build brand               f
                                                                                                     l
awareness. 43

        Online advertising continues to evolve, and new offerings have appeared that do not          L




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fit squarely into the traditional search and display categories. Contextual advertising places       r
                                                                                                     l




                                                                 IC
display ads on web pages containing content relevant to the ad. 44 For example, a user

reading an article about Jamaica in the travel section of the New York Times website may see




                                                        T
advertisements relating to Jamaica and travel. 45 Re-targeted (or behavioral) advertising




                                                     LI
allows an advertiser to target users with display ads based on the user's browsing history. 46
                                         PO
Social media advertising is another emerging ad platform that allows more focused targeting      L




of ads, in this case based on user interests as identified by the social media platform (e.g.,
                              by

things that a user "likes" in Facebook). 47 These newer ad products do not account for a
                                                                                                 r

significant portion of online advertising, and, today, with the exception of social media        L _
                      d


advertising, appear to have only limited potential for growth. 48
        ne




                3.     Syndicated Search and Search Advertising
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       In addition to providing general search and search advertising services through their
                                                                                                 l
bt




own websites, general search engines also "syndicate" their search or search advertising         r
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platforms to other websites and website publishers. Thus, when a user goes to a website
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such as AOL or Askcom, he or she can run searches on that website through a search box,
                                                                                                 l
which is "powered" by a search provider, such as Google (through its AdSense platform).          r
                                                                                                 i
       A number of advantages flow to both the search provider and the website publisher
                                                                                                 l

from this arrangement. The publisher keeps the user on its own website rather than watching      rL
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the user leave to go to a dedicated search website like Google or Bing; the search provider

picks up incremental search volume, as some users will not bother to run a search if they

have to leave the publisher's website to do it; and, most importantly, the resulting search

traffic can be monetized through search advertising in the same way as a search run on

Google or Bing.




                                                                   O
       The process works very similarly to a web search conducted on Google. Google




                                                                IC
receives queries from the third-party website, evaluates them against a subset of its web

index, and then delivers web search results to the user on the third-party publisher's




                                                        T
website. 49 As with web search on Google.com, the consumer pays for none of these services.




                                                     LI
Instead, publishers pay Google for syndicated search either on a cost-per-user-query basis
                                            PO
(for example, $.95 per 1,000 queries), or by accepting search advertisements from Google

and splitting the revenues from the search advertisements run on the publisher's website.
                                by

The resulting revenue sharing arrangement is often referred to as the "traffic acquisition cost"

(or "TAC").
                          d


       Publishers are generally able to select the web search and search advertisement
         ne




syndication services separately or together. Thus, publishers that do not wish to offer web
       ai




search generally (or Google's web search, specifically) can - and do -participate in
bt




Google's AdSense prngram to receive search advertisements without the corresponding web

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search funct10na
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               4.         Mobile Search51

       In recent years, the focus of search (and related advertising) has begun shifting from

the traditional desktop model to the rapidly emerging - and lucrative - frontier of mobile (or

"smartphone") devices. At the forefront of this shift is Google's mobile operating system,




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                                                                                                      f
Android, 52 which has - in a few short years - eclipsed Apple's iPhone in the number of U.S.

smartphone subscribers. 53 Smartphones have transformed the way that users interact with

their mobile phones and led to a dramatic growth in mobile web usage. As smartphone usage             r
                                                                                                      l
has increased, so has the availability of mobile search and other mobile applications.

Moreover, because smartphones are equipped with GPS technology, smartphone usage has




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created opportunities for advertisers to target users with location-based search ads, which           r
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                                                                IC
have the ability to target a user's present intent even more precisely than desktop search ads.
                                                                                                  r
       Google and others have undertaken significant efforts to expand their search and           L.




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                                                    LI
search advertising capabilitie~ into the mobile sphere through distribution agreements with

mobile device manufacturers and wireless carriers. As a result of such agreements, when a
                                         PO
user purchases a mobile device, that device typically comes pre-installed with search

functionality, along with a number of other applications.
                              by

       C.      THE SIGNIFICANCE OF SCALE IN INTERNET SEARCH

       "Scale" - both user queries and advertising volume - is important to the competitive
                       d


dynamics of Internet search. Microsoft asserts a need for greater scale on two fronts.            r
        ne




               1.      Search Query Volume
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       Microsoft asserts that it requires additional search query volume in order to improve
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the quality of Bing's search algorithms. Additionalq~ery volume can be used to improve the        r
                                                                                                  l
quality of a search engine's algorithms in a number of ways: logs of user queries are used to
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help improve the quality of answers to "tail" - or rarely seen- queries generally, 54 and to      I
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improve specific features of the search engine, such as "instant" search results,                 r
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"suggestions," and "spell correct."55 User queries can also be used to identify trends (for
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example, fresh news stories). 56
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        In addition, click data (the website links on which a user actually clicks) is important

for evaluating the quality of the search results page. As Google's former chief 9f search

quality Udi Manber testified:

                The ranking itself is affected by the click data. If we discover that, for a
                particular query, hypothetically, 80 percent of people click on Result No. 2
                and only 10 percent click on Result No. 1, after a while we figure out, well,
                probably Result 2 is the one people want. So we'll switch it. 57




                                                                    O
Testimony from Sergey Brin and Eric Schmidt confirms that click data is important for many




                                                                 IC
purposes, including, most importantly, providing "feedback" on whether Google's search




                                                          T
algorithms are offering its users high quality results. 58




                                                       LI
       Finally, search providers run experiments on large volumes of users. Search engines
                                           PO
conduct experiments on everything from ranking of search results to user interface and

design decisions. 59 As Larry Page and Sergey Brin stated in their 2005 annual letter to
                                by

shareholders:

                Our teams are more productive once they get real users and feedback. We
                have learned that the best way to make something great is to actually launch it
                       d


                to the public. That's why we have the Google Labs and 'beta' labels - these
                are our experiments. 60
        ne




Multiple experiments are conducted simultaneously. 61 The more search users there are at any
      ai




given time, the more experiments can be run, the faster they can be completed, and the more
bt




improvements that can be made to the search algorithms. 62 According to Microsoft chief

economist (and Harvard professor) Susan Athey, Microsoft's search quality team is greatly
O




hampered by having insufficient search volume to conduct experiments. 63

       With improved search quality, particularly for "tail" queries, Bing asse1is that it will

be better positioned to compete with Google for users (and, thus, for advertisers), and so to




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constrain the exercise by Google of monopoly power. 64 In 2009, Google's former head of

search quality Udi Manber explained:
                                                                                                        [
                The bottom line is this. If Microsoft had the same traffic we have their quality        f
                                                                                                        I
                will improve *significantly*, and if we had the same traffic they have, ours            L
                will drop significantly. That's a fact. 65
                                                                                                        r
                                                                                                        I
                2.      Advertising Volume                                                              L




                                                                     O
      · Microsoft also asserts that it requires additional advertising volume in order to




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improve the relevance and quality of the search advertising it serves to users. More

advertisements help to improve the relevance and quality of the ads served for several




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                                                      LI
reasons: with greater volume, a search engine has more choices of which ads to serve to
                                                                                                        L.
users; 66 there is more coverage of queries (i.e., a larger perc·entage of queries will actually
                                          PO
return search results pages with advertisements); 67 and- similar to the user feedback loop on

search queries - increased user engagement (that is, users clicking on more ads) educates the       r
                                by

ad-serving algorithms on what advertisements to serve, how to rank those advertisements,

and how to price them. 68 An increase in quality, and thus click-through rate, typjcally
                       d


increases the "conversion rate" of advertisements, 69 and thus, an advertiser's return on           r
        ne




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investment ("ROI"), which means that advertisers are more likely to invest, and re-invest, in
                                                                                                    r
      ai




that advertising platform. 70
                                                                                                    L.
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        An increased volume of advertisers (and advertisements) on a platform also means

increased competitiveness for advertising opportunities and, thus, more revenues for the
O




                                                                                                    r
search engine. 71 This, in turn, means that the search engine can do two things: amortize its
                                                                                                    L
costs and re-invest in its own capabilities, 72 and provide greater advertiser coverage, and        r
                                                                                                    I




thus, revenues (through revenue-sharing agreements) to its syndication partners (website
                                                                                                    L

publishers). 73 Greater revenues to publishing partners, in turn, attracts additional publishers,   [

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and - importantly - also serves to attract more advertisers, that, generally speaking, prefer

their advertisements to reach as broad an audience as possible. 74

         In sum, Bing asserts that a larger volume of advertisements - and the improved

coverage, quality, conversion rates, and revenues that come from such an increased volume -

will allow it to better compete with Google for both advertisers and website publishers, and




                                                                   O
so to constrain the exercise by Google of monopoly power.




                                                                IC
                3.     The Scale Curve

         Google acknowledges the importance of scale in the abstract. Google documents are




                                                        T
replete with references to the "virtuous cycle" among users, advertisers, and publishers; 75




                                                     LI
and testimony from Google executives confirms the continuing viability of the "cycle."76
                                         PO
However, Google argues that, while scale matters, it only matters up to a point, beyond

which there are substantially "diminishing returns" to increasing volumes of both queries and
                              by

advertisements. 77 For example, Sergey Brin testified that a "rough rule of thumb" might be,

as query volume doubles, a search engine might expect to see a one percent increase in
                       d


quality. 78
         ne




         Google argues that Bing's query and advertiser volume have passed the point at
       ai




which scale should - or would - matter significantly to Microsoft, and that any volume gains
bt




made by Bing would yield minimal improvements in either Bing's search quality or its

monetization ability. 79 Microsoft does not dispute the notion that there are generally
O




diminishing returns to scale. 80 The main bone of contention between Google and Microsoft

is where on this scale curve Microsoft currently operates. This is an important question, but

one which evades easy answers. This is, in part, because neither party can identify a fixed

number of queries or ads that constitutes the "minimum efficient" point of operation.




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       As the Internet grows, 81 and as both Google and Bing increase in size, the relative

scale gap may matter more than either party's absolute size. Microsoft chief economist
                                                                                                            rL
Susan Athey notes that, where firms compete on the basis of quality, with increased scale                   F
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returning dividends - not just in user engagement, but also in ad dollars, monetization, and
                                                                                                            r
publisher participation, all feeding back into user engagement (recall "the virtuous cycle")-               l




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the relative gap in quality and monetization matters far more than any minimum volume                       r
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                                                                      IC
             82
threshold.        In short, Athey asserts: "the fact that Bing's scale is similar to Google's five or
                                                                                                        r   i
six years ago does not alleviate the challenge faced by Bing in competing with Google at this           L.




                                                             T
moment in time." 83                                                                                     r




                                                          LI
                                                                                                        L.
       Neither party can provide a precise quantification of the issue. 84 • However, Microsoft
                                              PO
asserts that even a 5 to 10 percent increase in query traffic would be "very meaningful" to
                                                                                                        r
                                                                                                        L.


Microsoft because Bing is at the lower part of the scale curve where "each percentage point
                                  by

is critical." 85 Microsoft notes that, in 2010, when it gained access to Yahoo!'s query and

advertising volume, Bing made significant gains in both search quality and monetization. 86             L.
                           d


For example, the influx of data from Yahoo! significantly improved Bing's "auto suggest"                r
        ne




                                                                                                        L.
feature. From July 2010 (immediately preceding access to Yahoo!' s query volume) to
                                                                                                        r
      ai




September 2011 (following the incorporation ofYahoo!'s query volume), click rates for                   i
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bt




Bing's "auto suggest" feature increased from 44 percent to 61 percent, according to Susan               r
                                                                                                        I




Athey, "directly due to the addition of Yahoo! data into Bing's algorithms." 87 Microsoft also
O




                                                                                                        r
claims that its search quality has improved as a result of the significant increase in the
                                                                                                        L
                                                                        88
number of experiments Bing can run over Yahoo!' s user volume.                                          r



       In addition, Microsoft asserts that, in modeling the economic benefits it expected to
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receive from the addition ofYahoo!'s advertising volume into Microsoft's AdCenter                       IL
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platform, it calculated that Bing would receive a 20 percent boost in revenue per search

("RPS") on the basis of Yahoo! 's additional volume. 89 Although Bing's RPS (and

consequently, RPM) has improved with the addition of Yahoo! query and ads volume, it has

not improved as substantially as Microsoft initially forecast. 90

        In this investigation, the question of how and why scale matters has taken a




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prominent position in several allegations advanced by complainants: specifically, whether the




                                                                    IC
conduct under review denies Google's main competitor-Microsoft-the scale it needs to

successfully constrain Google's monopoly over search and search advertising. These




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allegations are discussed in detail in the following section.

        D.          GOOGLE'S SUSPECT CONDUCT
                                          PO
        Staff has conducted a comprehensive investigation into several areas of alleged

anticompetitive conduct. Below, we lay out four of the five main areas of Staffs
                               by

investigation. 91

                    1.   Google's Preferencing of Google Vertical Properties Within Its
                         d


                         Search Engine Results Page ("SERP")
         ne




        Staff has investigated whether Google is unlawfully preferencing its own vertical

properties, while demoting rival vertical properties, in order to maintain, preserve, or ~nhance
       ai




Google's monopoly power in the markets for search and search advertising. Complainants
bt




allege that Google's conduct is anticompetitive because it forecloses alternative search
O




platforms that might operate to constrain Google's dominance in search and search

advertising. Although it is a close call, we do not recommend that the Commission issue a

complaint against Google for this conduct.




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                       a.          Overview of Changes to Google's SERP
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        Google makes frequent changes to both the user interface and the algorithms which

control the content of its SERP. Some changes, such as changes that purportedly remove                  r
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spam, are implemented unilaterally, with no user testing.           Other changes are implemented
                                                                                                        r
through a launch review process, which typically includes: (1) internal testing by Google               l




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engineers (in what Google has termed the "sandbox"); 93 (2) side-by-side ("SxS") testing by             r
                                                                                                        L




                                                                      IC
external raters, who compare the existing set of results with the proposed set of results for
                                                                                                        r
                            94
some sample set queries;         (3) testing on a small percent (between 1 and 2 percent) oflive




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traffic; 95 and (4) the preparation of a "launch report" for presentation to the Launch




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Committee. Once the launch report is presented to the Launch Committee, the proposed
                                             PO
change is approved, rejected, or sent back to engineers for modification. 96
                                                                                                    r
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       In 2010, Google claims to have conducted 10,000 "sandbox" tests, 8,000 SxS                   r
                                  by

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comparison tests, and 2,500 "live" click tests. Of the changes proposed and tested,

approximately 500 algorithm changes were launched. 97 Google's stated goal is to make its           L
                       d


ranking algorithms better in order to provide the user with the best experience possible. 98        r
        ne




                       b.          Google's Development and Introduction of Vertical
                                   Properties
      ai




       Google launched its various vertical properties in stages, dating back to
bt




approximately 2001, with the introductions of Google News, Froogle (shopping), Image
                                                                                                    L
O




Search, and Groups. 99 For each vertical property, Google maintains separate indexes (also
                                                                                                    r
known as databases or corpora), in which it stores specific types of data. 100
                                                                                                    L
                                                                                                    r
       Beginning around 2005, Google recognized that vertical search engines (i.e.,                 I


                                                                                                    L
"aggregators") in certain highly commercial categories posed a nascent "threat" to its

dominance in general web search. Google feared that these websites offered users better


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search capabilities within specific commercial categories, and thus might cause users to shift

their searches in those categories away from Google's general web search platform. As users

moved to vertical search websites, those websites could, in turn, become more attractive

vehicles for advertisers, thus resulting in potentially significant revenue losses to Google. In

short:




                                                                    O
                Vertical search is of tremendous strategic importance to Google. Otherwise
                the risk is that Google is the go-to place for finding information only in the




                                                                 IC
                cases where there is sufficiently low monetization potential that no niche
                vertical search competitor has filled the space with a better alternative. 101




                                                        T
         A 2008 presentation, entitled "Online Advertising- Challenges: Rise of the




                                                     LI
Aggregators," further highlights the problems faced by Google with regard to the leading
                                          PO
UK-based finance vertical website, MoneySupermarket:

                Issue 1. Consumers migrating to MoneySupermarket. Driver: General
                search engines not solving consumer queries as well as specialized
                              by

                vertical search. . . . Consequence: Increasing proportion of visitors
                going directly to MoneySupermarket. . . . Google Implication: Loss of
                query volumes.
                       d


                Issue 2: MoneySupermarket has better advertiser proposition. Driver:
                MoneySupermarket offers cheaper, lower risk (CPA-based) leads to
           ne



                advertisers. Google Implication: Advertiser pull: Direct advertisers
                switch spend to MoneySupermarket/other channels. 102
         ai




         Partly in response to this new competitive threat - the "rise of aggregators" - Google
bt




decided to hone in on certain "key" vertical search areas (shopping, local, finance, and travel)
                                                                            103
and invest in developing existing- or creating new-vertical properties.           In certain areas
O




where Google already had existing vertical properties, such as shopping and local, 104 Google

saw a critical need to invest further and take measures to increase user traffic· to those

properties. 105 In potentially lucrative areas where strong verticals already existed and where




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Google had no offering - such as mortgages, offers, hotel search, and flight search - Google

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                    . 1properties.
                              . 106                                                                [
                            c.      The Evolution of Display of Google's Vertical Properties on
                                    the SERP

           Initially, Google provided tabs at the top of its website to permit users to search     r
                                                                                                   L
within each of its verticals. In 2003, then-director of consumer web products Marissa




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          107                                                                                      I
Mayer           began to develop a new user interface called "Universal Search" to expose the      L_




                                                                     IC
content in these corpora to users directly on Google's SERP. 108 As she wrote at the time:
                                                                                                   L_




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                     Universal Search is an effort to redesign the user interface of the main




                                                         LI
                     Google.com results page so that Google deliver[s] the most relevant
                     information to the user on Google.com, no matter what corpus that
                     information comes from. This design is motivated by the fact that very
                                              PO
                     few users are motivated to click on our tabs, so they often miss
                     relevant results in the other corpora. 109                                    L

           While the idea of "Universal Search" was proposed in 2003, Google did not launch
                                  by

Universal Search until 2007. In the interim, Google relied on "OneBoxes," which
                                                                                                   r
incorporated vertical content directly into Google's SERP via actual boxes that were set           L_
                           d


above the natural search results. If Google determined that a user query related to content
           ne




                                                                                                   L
from one or more of its vertical indices, Google sent the query to its indices, returned any
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relevant results, and displayed those results in OneBoxes on the SERP above any web
                                                                                                   L
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links.                                                                                             r
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           Google ultimately redesigned and launched its Universal Search results in May
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                                                                                                   r
2007. 111 As part of the redesign, Google began sending queries to all Google indices to           I




determine whether any of them had relevant results. 112 Google then combined all of the            I~
                                                                                                   i

results - from both its vertical indices and its general web search results - onto the SERP .113   L

However, Google faced problems in ranking the Universal Search results against each other          r
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and against its natural search results, because the web index and other indices all had their

own ranking algorithms and scores. 114 Google referred to the difficulty of comparing these

ranking scores as an "apples to oranges" problem. 115 Google did, however, frequently

compare the quality of its vertical results to that of its competitors using other scoring

methods. 116




                                                                     O
        The verticals were initially placed in one of three locations: if Google deemed the




                                                                  IC
vertical content to be highly relevant, it would go into position one, above the natural search

results; if Google deemed the content somewhat relevant, it would go into position four (or




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                                                      LI
midway down the first page of natural search results); and if Google deemed the content only

marginally relevant, it would go into position 10 (or at the bottom of the first page of natural
                                          PO
search results). 117 In 2012, Google claims that it changed its algorithms to display Universal

Search results in any position on the SERP, depending on the same initial relevancy
                              by

screen. 118

        A screen shot showing an example of a Universal Search result is provided on the
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next page.
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       In responding to the user query "GOOG," the SERP first displays a Universal Search
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result for Google's stock, including stock information and links to sites with finance
      ai




information, listing Google Finance first. Below that, the SERP displays a Google News
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Universal Search result, with links to three articles. Next, Google includes its natural search

results, i.e., a listing of links to websites ranked in order of relevance, as determined by
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Google's search algorithms.
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                                            d.                          Google's Preferential Display of Google Vertical Properties
                                                                        on the SERP
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       Google utilized its control over the Google SERP both to improve user experience for

searches and to maximize the benefit to its own vertical properties. First, Google sought to
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maximize the percentage of queries for which it displayed Universal Search results. 119

Evidence shows that Google sought to increase such "triggering" of Universal Search results

not only to provide users with the "right" answer to their queries, but also to drive traffic to

Google properties. 120 Google recognized that the frequent display of its vertical properties on

the SERP was necessary to drive traffic to its properties, and thus, grow user share in highly




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commercial areas such as shopping and local. 121 Google continued to trigger Universal




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Search results frequently ~ and prominently - even when it determined that showing such

results in the top position would "cannibalize" revenue from the top ads, as the company was




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                                                         LI
willing to lose short-term revenue with the long-term goal of retaining and growing vertical

search query share. 122
                                              PO
       Second, Google embellished its Universal Search results with photos and other eye-

catching interfaces, recognizing that these design choices would help steer users to Google's
                                   by

vertical properties. 123 Third party studies show the substantial difference in traffic with

prominent, graphical user interfaces. 124 These "rich" user interfaces are not available to
                          d


competing vertical websites. 125 Moreover, Google's Universal Search results often were not
         ne




labeled as being provided by Google affiliated services, but were integrated directly into the
       ai




search results.
bt




        Third, Google displayed its Universal Search results at or near the top of the SERP. 126

This desirable positioning of Google's Universal Search results pushes all other web search
O




results down, which significantly decreases click-through to the websites displayed in

Google's natural search results. 127 Google displays its Universal Search results in these

prominent positions without comparing the quality of Google's vertical content to that of its
                        128
vertical competitors,         or evaluating whether users would prefer to see Google's content or




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the displaced web search results. Vertical search competitors have alleged numerous ways in
                                                                                                      f
which their content is superior to Google's verticals .129
                                                                                                      L
        Preliminary analysis of click-through data collected by eBay indicates that, over the         f
                                                                                                      L
three-month period of January-April 2012, when Google Product Search was displayed on

Google's SERP, it appeared in one of the top five positions 64 percent of the time. 130




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Notably, eBay's data shows that, for queries that returned Google Product Search at any




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position on the page, Google Product Search received a lower percentage of clicks compared
                                                                                                      r
                                                       131
to the web search result shown in the same position.         For example, when an eBay result




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appeared in the first position in response to a shopping query, users clicked on that result 38       I

percent of the time. Conversely, when Google Product Search appeared in the first position
                                          PO
in response to a shopping query, users clicked on Google Product Search only 21 percent of

the time. The full results of the eBay study are set forth below: 132                                 r
                              by

 Rank (position of natural search results)    Natural Search Result     Google      eBay
 Note: Excludes paid search results whether   (other than Google        Shopping
top, bottom, or side                          Shopping or eBay)
                       d


1                                             38%                       21%         31%
2                                             21%                       14%         20%
        ne



3                                             16%                       12%         18%
4                                             13%                       9%          11%
5                                             10%                       8%          10%
                                                                                                  r
      ai




6                                             8%                        6%          9%            I




                                                                                                  L
7                                             7%                        5%          9%
bt




8                                             6%                        2%          7%
9                                             6%                        3%          6%
10                                            5%                        2%          6%
O




11                                            5%                        2%          5%
12                                            3%                        1%          4%
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This study - albeit limited in time and application - suggests that, at every position, users
                                                                                                  l
actually prefer web search results to Google Product Search for their shopping ·queries. 133
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        Although Google tracks user click-through rates (and relies on such click-through

data to improve its web search results in a number of ways, see supra p. 14), Google has not

relied on click-through data to rank its Universal Search results against other web search·

results. 134 According to Marissa Mayer, Google did not use click-through rates to determine

the position of the Universal Search properties because it would take too long to move up on




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the SERP on the basis of user click-through rate. 135




                                                               IC
        Rather than comparing its content with that of competitors, Google used the

occurrence of competing vertical websites in its natural search results to automatically boost




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the ranking of its own vertical properties above that of competitors. 136 For example, where

Google's algorithms deemed a comparison shopping website relevant to a user's query,
                                         PO
Google automatically returned Google Product Search - above any rival comparison

shopping websites. 137 Similarly, when Google's algorithms deemed local websites, such as
                              by

Yelp or CitySearch, relevant to a user's query, Google automatically returned Google Local

at the top of the SERP. 138
                       d


       Google also dedicates space at the top of its SERP to its social network vertical,
        ne




Google Plus. Google provides links to Google Plus pages that might be relevant to a query
      ai




on the right-hand side of the SERP, and "auto suggests" Google Plus pages for user queries,
bt




regardless of which social media sites are the most relevant, comprehensive, or have the.

freshest results in response to any given user query. 139 Google also displays prominent links
O




to Google Plus pages when users make navigational queries to many companies' websites.

For example, in response to the navigational query "Dell" a user is presented with the SERP

shown on the next page.




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       The SERP shows a block of links to sites within Dell.com (called a "megasitelink") at       PO                                                                                             r
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the top of the natural search results. 140 In addition, the entire right hand column contains a
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link to Dell's Google Plus page with a prominent "Dell" logo. 141 · Google displays no content
                                                                     by

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or links to Dell's other social media content (such as Facebook or Twitter) that might be
                                         d


more relevant to the query in this prominent space, and, in combination with the
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        ne



megasitelink, any natural search links to those websites are pushed below the fold. 142

       Most recently, in May 2012, Google converted all of its "Google Places" pages (now
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Google Local) to Google Plus pages, creating Google Plus pages for every business in its
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local results. All of Google's local Universal Search results now link to businesses' Google
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Plus pages. In order to write reviews or read full reviews on Google Local, users must open                                                                                                       r
Google Plus accounts.                                                                                                                                                                             l
       Fourth, Google launched commission-based vertical properties -mortgage search,

flight search, and offers                         143
                                                            -       in ad space on Google's SERP that it reserved exclusively for its
                                                                                                                                                                                                  '
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own properties. Google labeled these ads as "Comparison Ads" (mortgages), 144 "Ads"



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(offers), 145 or "Sponsored" (the new paid Google Shopping ads), 146 and other times provided

no label (flight search). 147 In May 2012, Google announced that its shopping property,

Google Product Search - which will now be known as Google Shopping - will be

transitioned to a paid listing model in the fall of 2012. 148 Under the paid model, merchants

will pay Google directly to appear in Google Shopping, and Google will no longer include




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product listings for merchants who do not pay for placement. 149




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        Google's dedicated ads do not compete with other ads through Google's AdWords

auction for placement on Google's SERP. Instead, they enjoy automatic placement in the




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                                                      LI
most effective advertising places on the SERP, usually above the natural search results. 150

                                          PO
Google also does not compare the quality of its own ads to the quality of competitors' ads

that provide the same vertical service. For example, although it displays its flight search

above any natural search results for flight-booking sites, Google does not provide the most
                              by

flight options for travelers. 151 As with Google's Universal Search results, Google's rich user

interfaces for its ads-based vertical offerings, which are unavailable to competitors, lead to
                       d


higher clicks for Google's ads. 152
        ne




                       e.      Google's Demotion of Competing Vertical Websites
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       While Google embarked on a multi-year strategy of developing and showcasing its
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own vertical properties, Google simultaneously adopted a strategy of demoting, or refusing to

display, links to certain vertical websites in highly commercial categories. According to
O




Google, the company has targeted for demotion vertical websites that have "little or no

original content," or that contain "duplicative" content. 153

        Similarly, Google has identified comparison shopping websites as undesirable to

users, and has developed several algorithms to demote these websites on its SERP. Through




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an algorithm launched in 2007, Google demoted all comparison shopping websites beyond

the first two on its SERP. 154 And, in 2011, Google's heavily-publicized "Panda" algorithm,
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purportedly aimed at eliminating "low quality" sites, 155 demoted a large number of
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competing vertical websites, including - once again - comparison shopping websites. This
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algorithm had the effect of undoing the 2007 algorithm, no longer automatically "saving" the




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two highest-ranked comparison shopping websites. Instead, Google manually selected                   r
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websites that would be "whitelisted" out of the demotion. Comparison shopping websites
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that had been previously returned (under the "two most popular" calculation) could now be            L




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demoted off of the SERP, while less high-ranking sites that had been previously demoted
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might now be "whitelisted" by Google and appear more highly ranked.
                                          PO
        Google's own vertical properties (inserted into Google's SERP via Universal Search)
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have not been subject to the same demotion algorithms, even though they might otherwise              r
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meet the criteria for demotion. 157 Google has acknowledged that its vertical websites provide
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auto-generated "aggregations'·' of web search information without offering any original
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content, 158 and that they are - essentially - "search results within search results," 159 exactly
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the kind of websites Google's search quality algorithms seek to demote. 160 Indeed, Google's
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web spam team refused to add Frooglesearch result pages (i.e., those pages listing products
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bt




responsive to a query) in Google's web index because "[o]ur algorithms specifically look for         r
pages like these to either demote or remove from the index." 161 The same team also refused·
                                                                                                     L
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to index Google's local property. 162                                                                rl
        Generally, Google creates very little original content for its vertical properties,          r


essentially copying, or "scraping," its content from other sites. Google has launched several
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algorithms that demote sites that "scrape a large percentage of their content from other

sites." 163 These algorithms are not applied to Google vertical sites.

        Google's vertical properties would rank poorly if they were crawled and indexed by

Google because they have never been "engineered" for ranking by the search engine. 164

Unlike Google's vertical competitors, who expend considerable resources on optimizing their




                                                                    O
websites in order to rank highly on Google's SERP, Google does not expend the time and




                                                                 IC
resources to optimize its own vertical properties; it simply places them on the SERP.

                       f.      Effects of Google's SERP Changes on Vertical Rivals




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                                                      LI
        Vertical websites, such as comparison shopping and local websites, are heavily

-dependent on Google's web search results to reach users. 165 Thus, Google is in the unique
                                          PO
position of being able to "make or break any web-based business." 166

        Google's prominent placement and display of its Universal Search properties,
                              by

combined with the demotion of certain vertical competitors in Google's natural search

results, has resulted in significant loss of traffic to many competing vertical websites. Data
                       d


from various comparison shopping and other competing websites shows drops in traffic that
         ne




correlate to changes implemented by Google to its SERP. 167 Google's internal data confirms
       ai




the impact, showing that Google anticipated significant traffic loss to certain categories of
bt




vertical websites when it implemented many of the algorithmic changes described above. 168

       While Google's changes to its SERP led to a significant decrease in traffic for the
O




websites of many vertical competitors, Google's prominent showcasing of its vertical

properties led to gains in user share for its own properties. 169 For example, Google's

inclusion of Google Product Search as a Universal Search result took Google Product Search

from a rank of seventh in page views in July 2007 to the number one rank by July 2008. 170




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                                                                                                        L


Google product search leadership acknowledged that "[t]he majority of that growth has been
                                                                                                        F
driven through product search universal."
                                            171
                                                  By June 2010, 85 percent of the traffic to            L

Google Product Search was clicked through from the Product Universal. 172                               r
                                                                                                        l
       Beyond the direct impact on traffic to Google and its rivals, Google's changes to its

SERP have led to reduced investment and innovation in vertical search markets. For




                                                                      O
example, as a result of the rise of Google Product Search (and simultaneous fall ofrival




                                                                   IC
comparison shopping websites), N exTag has taken steps to reduce its investment in this
                                                                                                    r
area. 173 Google's more recent launch of its flight search product has also caused NexTag to        L




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                                                       LI
cease development of an "innovative and competitive travel service." 174                            r
                                                                                                    I




                2.        Google's "Scraping" of Rivals' Vertical Content
                                         PO
       Staff has investigated whether Google has "scraped" - or appropriated-the content

of rival vertical websites in order improve its own vertical properties so as to maintain,          r
                               by

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preserve, or enhance Google's monopoly power in the markets for search and search
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advertising. 175 We recommend that the Commission issue a complaint against Google for          L
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this conduct.                                                                                   r
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       As Google developed its own vertical properties, in addition to displaying them
      ai




prominently on its SERP, Google also began "scraping" content - that is, reproducing
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content without permission- from already-popular vertical websites (e.g., Yelp and              r
                                                                                                L.
TripAdvisor in local; Amazon in products) in order to improve its own vertical offerings. 176
O




Google recognized that, when first launching certain vertical properties, it could compete      i
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most effectively by using product information, rankings, locations, and user reviews from
                        177
vertical competitors.




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       Google considered several options for obtaining information for display on its own

vertical properties: developing its own content; obtaining licenses from other content

creators; and obtaining content by crawling the world wide web (in the same way that

Google crawls the world wide web for its general web index). Ultimately, Google settled on

a combination of all three of these alternatives.




                                                                   O
       Much of Google's vertical content is currently obtained through feeds from various




                                                                IC
websites, pursuant to free licenses from those sites for Google to use that data. Google's

standard license agreement allows Google to use third parties' data feeds for any purpose. 178




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                                                    LI
Many website publishers, such as Shopzilla, have agreed to these terms because they believe

they do not have the leverage to negotiate with Google regarding the terms of their licenses,
                                         PO
because they want the benefits of appearing in Google's vertical. 179

       In addition to the feeds it receives, Google's use of crawled content is pervasive.
                              by

Indeed, the content of any website that Google crawls for indexing purposes (for Google's

web search) may be used by Google for any of its vertical search properties.in a number of
                       d


different ways. For example, Google has often included "snippets" (or excerpts) of user
        ne




reviews from local or shopping properties on its own vertical properties. Google also uses
      ai




the rankings of various businesses or products to aid its own determination regarding the
bt




order in which those businesses or products should be ranked within its own vertical

properties. For example, Google calculates the popularity of a product for the purpose of
O




ranking it in Google Product Search based on three factors: (1) Amazon Sales Rank; (2) the

number of merchants offering the product for sale; and (3) the quality of those merchants. 180

Because Amazon did not provide competitively sensitive information such as Amazon Sales




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Rank to Google through its product feeds, Google obtained the information from its crawls of

Amazon's website. 181

         As discussed earlier, many vertical websites are heavily dependent on Google for            f
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their user traffic, and therefore must allow Google to "crawl" their content. 182 Most websites
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approve of Google's use of their content in Google's vertical properties because it leads to         L _




                                                                      O
increased traffic to their websites. 183 Google does not provide web publishers with any             r
                                                                                                     I




                                                                   IC
assurances regarding the ways in which it makes use of their data. 184

         However, several third-party content providers have complained about Google's use




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                                                       LI
of their content to build competing vertical properties that seek to displace the very websites      r

Google has relied upon to build its properties. Google's "scraping" ofrival content in order
                                           PO                                                        r
to create and improve its own vertical offerings has come to the forefront in two main areas:

local and shopping.
                               by

                        a.      The "Local" Story
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         Some local information providers, such as Yelp, TripAdvisor, and CitySearch,
                        d


disapprove of the ways in which Google has made use of their content. 185 Google uses third-         r
           ne




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party local content in three distinct areas: (i) in its natural search results in response to user
         ai




queries, where links to third parties are returned;· (ii) in its "local merge" interface, or the
                                                                                                     L
bt




Universal Search interface that is located on Google's main SERP (generally above the                r
                                                                                                     !



natural search results), which includes "snippet" references to user- reviews and other content;
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and (iii) in its separate local property (Google Local), i.e., the web page users are taken to
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when they click on Google's Universal Search interface (and are taken to a separate web

page).
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       For Google Local, Google needed photos, addresses, hours, and reviews. Google

originally obtained this content through licenses with these websites. In late 2006, Google

decided that it wanted more control over its local content. 186 Google recognized that review

content, in particular, was "critical to winning in local search," but that Google had an

"unhealthy dependency" on Yelp for much of its review content. 187 Google feared that its




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heavy reliance on Yelp content, along with Yelp' s success in certain categories and




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geographies, could lead Yelp and other local information websites to siphon users' local

queries away from Google. 188




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                                                     LI
       In order to acquire direct access to a large storehouse o'f user content, managers

working on Google Local attempted to convince Google executives to purchase Yelp, but
                                         PO
they were rebuffed. 189 Instead, Google decided to launch a redesigned version of Google

Maps, in which users could submit reviews directly to Google. 190
                              by

       Google understood that the existence of a critical mass of user reviews (like. those

users had already submitted to websites like Yelp and Trip Advisor) was important in
                       d


attracting additional user reviews. 191 Google also knew that its partners - such as Yelp and
         ne




Trip Advisor-would be unhappy about Google's use of their content to collect Google's
       ai




own content. 192 Indeed, upon learning of Google's intent to collect its own reviews and to
bt




develop this now-directly competing property, Yelp discontinued its data feed to Google, and

asked Google to remove all Yelp content that Google featured on Google Local. 193
O




       Initially, Google agreed to remove - and did remove - Yelp's content. However,

after offering its own review site for more than two years, Google recognized that it had

failed to develop a community of users - and thus,.the critical mass of user reviews - that it

needed to sustain its local product. 194 In an attempt to gain quick access to a large storehouse




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of original content, and after unsuccessfully attempting to purchase Yelp, 195 Google changed
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              196                                                                                L
its tactic.

         In April 2010, Google introduced Google Places results on its SERP .197 The listing

for each business that came up as a search result linked the user directly to Google's Places
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page, with a label indicating that hundreds ofreviews for the business were available on the




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Places page (but with no links to the actual sources of those reviews). 198 On the Places Page




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itself, Google provided an entire paragraph of each copied review (although not the complete

review), followed by a link to the source of the review, such as Yelp (which it crawled for




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reviews) and TripAdvisor (which was providing a feed).

         In July 2010, Yelp noticed what Google was doing - specifically, that Google had
                                          PO
again begun featuring Yelp's crawled reviews in its local product, and that it was also

including the number of Yelp reviews in Google's overall review count. Google was now
                              by

featuring Yelp' s content without a license - or, indeed, any form of permission - from Yelp.

Yelp immediately protested Google's use of Yelp reviews on this now clearly-competing
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website. 199                                                                                     r
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         Around the same time, TripAdvisor also became concerned that Google's new local
       ai




property was attempting to drive traffic to itself as a "destination site," rather than to
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TripAdvisor and the partners that actually supplied Google with all of its "original"

content. 200 When TripAdvisor' s license came up for renewal, TripAdvisor chose not to
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renew its license with Google. 201 TripAdvisor did, however, continue to provide a feed to
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Google as it sought an amicable resolution to the situation. 202                                 r
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         After much internal discussion, Google implemented a new policy that essentially

gave rival local websites - such as Yelp and TripAdvisor - a choice: allow their content to be   r
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included in Google Places or not have their property appear in Google web search results at

all. 203 Critically, for Google, this meant that it could now force local websites - that needed

access to Google's web search to reach users - to accede to Google's use of the large

storehouse of reviews that Google's rivals had built in order to develop its own user base. 204

         Indeed, Google almost simultaneously launched a new review_s-collection product -




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Hotpot   c-   to (again) try to solicit original user reviews, this time seeding it with reviews from




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third-party websites with no attribution. 205 Yelp, TripAdvisor, and CitySearch all complained

to Google. 206 All of these parties sought removal of their user review content from Google




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Places/Hotpot, as well as·the removal of their reviews from Google's aggregated review

count on the main SERP. 207 This time, however, Google told each company that if Yelp,
                                              PO
TripAdvisor, and CitySearch wanted to have their content removed from Google

Places/Hotpot, they would have to exclude their websites from being crawled by Google
                                  by

altogether, which meant complete exclusion from Google's SERP. 208 This was not

technically necessary - it was just a policy decision by Google. 209
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         Like many other vertical websites, Yelp, TripAdvisor, and Citysearch relied heavily

on Google's web search results to reach users, and thus could not risk removal_ from Google's
       ai




web search index. 210 Instead, they each attempted to negotiate with Google, seeking removal
bt




from Google Local (without simultaneous removal from Google's web search results), or at

least a user interface that provided sufficient attribution of their content. 211
O




         Facing what seemed to be an all-or-nothing choice, Yelp also began widely

publicizing Google's refusal to remove Yelp content from Google Local (including filing a

complaint with the Commission), and ultimately, in July 2011, sent Google a Cease and

Desist letter. 212 In its letter, Yelp clearly indicated that it expected to remain in Google web




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search results, including the "local merge" Universal Search interface on the main SERP .213

After receiving the letter (and while under investigation in both the U.S. and E.U.), then-

Google executive Marissa Mayer responded to Yelp on July 21, 2011, stating that Google            r
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would partly accommodate the request by removing Yelp content from the Google Places

pages, but that Google was also going to remove the content from the "local merge" interface




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on the SERP. 214




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        Although it previously claimed it was technically infeasible, Google did eventually
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agree to retain Yelp results in its web search results.         However, Google continued to




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maintain that it was not technically feasible to remove Yelp content from Google Places,          r


while leaving Yelp in the "local merge".interface on Google's main SERP.2 16 Staff believes
                                          PO                                                      r
that this assertion is false, as Google maintains numerous "blacklists" that keep content         L_


within Google's search index, and merely prevent the content from appearing in specific           r
                              by

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locations, such as Google Product Search. 217 Mayer later admitted during her investigational

·hearing that Yelp' s request was in fact technically feasible, but that Google feared that, by
                       d
         ne



allowing websites to "opt out" of Google Places while remaining in the "local merge" on the       r
                                                                                                  L
main SERP, Google might open itself to liability by accidentally including a website that
       ai




opted out. 218 Yelp contends that Google's continued refusal to link to Yelp on Google's          l
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"local merge" interface on the main SERP is simply retaliation for Yelp seeking removal           r
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from Google Places.
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        Publicly, Google framed its changes to Google Local as a redesign to move toward          L
the provision of more original content, and thereby, to remove all third-party content and        r
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review counts from Google Local, as well as from the prominent "local merge" Universal
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Search interface on the main SERP. 219 But the more likely explanation is that, by July 2011,     I
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Google had already collected sufficient reviews by bootstrapping its review collection on the

display of other websites' reviews. It no longer needed to display third-party reviews,

particularly while under investigation for this precise conduct.

                       b.     The "Shopping" Story

       Much of Google Product Search content is obtained through feeds from various




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websites with corresponding license agreements, from crawls, and to a lesser extent, by




                                                                   IC
generating its own content. 220 · As Google sought to develop a stronger shopping offering




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beginning around 2006, Google recognized the need to improve its data in several areas.




                                                     LI
       Google decided to supplement its feeds with additional merchant reviews, product

reviews, and product listings it could get from crawls, particularly from Amazon. 221 Amazon
                                         PO
had a license agreement with Google starting in June 2009. Pursuant to this agreement,

Amazon provided Google with only a limited data feed of information about its products, and
                             by

sought to limit how Google used the data, because Amazon has always feared that Google

would use Amazon's comprehensive product catalogue and original review content to
                      d


develop a strong competitor in shopping. 222
        ne




       Shortly thereafter, claiming that Amazon's data feed to Google Product Shopping was
      ai




too limited, Google decided not to rely on the feed, but instead, crawled Amazon's website to
bt




scrape the much more detailed product information - including star ratings and user

reviews. 223 Google also relied on Amazon's web pages that indicate the ranking of products
O




within Amazon. Google used - and continues to use - this information to determine the

order in which to rank products within Google Product Search.

       In August 2010, around the same time that Yelp requested that Google remove Yelp's

content from Google Local, Amazon requested that Google stop using Amazon's crawled




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product reviews in Google Product Search.           Amazon gave Google a one-week deadline to

remove its ratings and reviews from Google Product Search. 225 Google complied with
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respect to product reviews, 226 and has not used Amazon reviews since. Google refused,          r
                                                                                                l

however, to cease crawling and using Amazon's star ratings and aggregating that information

into Google's average product ratings, and continues to do so. 227




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        Amazon has asked Google repeatedly to remove its product data from Google
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Product Search and its companion mobile products, Google Shopping for Mobile and Google
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Shopper. Google has told Amazon that, due to technical barriers, Amazon's content can only




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be removed from Google Product Search and the related mobile applications if Amazon is no       !

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longer crawled for natural search results. 228 Therefore, Google continues to scrape Amazon
                                          PO                                                    r
                                                                                          229
product listings for use in Google Product Search and the companion mobile products.

Amazon has attempted to negotiate the removal of its content in exchange for a limited data
                              by

feed, but Google has, thus far, refused to agree to this solution. 230
                                                                                                r
       In addition, Google uses its crawl of Amazon to create its comprehensive product
                       d


taxonomy for classification of all products. A product taxonomy is an organization of
        ne




products that allows a computer database to understand the nature of each product. For
      ai




example, for the system to recognize the name "Harry Potter" as both a book and a movie,
bt




each type of product must be classified separately. With millions of different types of         i
                                                                                                IL
products, a product taxonomy allows the system to understand all the types of products and
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                                                                                                r
to easily add new products.                                                                     I
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       Google had various options for obtaining such a classification: purchasing one,          r
paying to generate one, or copying a classification from another website. Google attempted
                                                                                                L
to purchase classifications, but the available classifications were not sufficiently            i
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comprehensive.231 Google also attempted to pay a company to generate a new hierarchy, but

this was taking a long time, and also was not sufficiently comprehensive. 232

        Ultimately, Google decided to crawl Amazon's product web pages, read embedded

information on Amazon's pages indicating Amazon's classification system, and to use that
                                                  233
information to create Google's classification.          This was critical to Google because Froogle




                                                                          O
had failed partly due to Google's inability to accurately classify the millions of products from




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feeds and crawls, and to return correct search results.          Amazon considers its classification

system an important competitive advantage that it spends tremendous resources to develop,




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and does not approve of Google's use of Amazon's system to develop its own. 235

        With Google's migration to a paid shopping model, 236 Google has stated that it will
                                            PO
only use reviews from companies that provide licensed feeds of their content. It appears,

however, that Google may continue to crawl, and rely upon, rivals' product classifications to
                                by

generate its own, and on rivals' rankings to determine rankings of products within Google

Shopping.
                        d


                         c.      Effects of Google's "Scraping" on Vertical Rivals
         ne




        Because Google scraped content from these vertical websites over an extended period
       ai




of time, it is difficult to point to declines in traffic that are specifically attributable to
bt




Google's conduct. However, the natural and probable effe~t of Google's conduct is to

diminish the incentives of companies like Yelp, TripAdvisor, CitySearch, and Amazon to
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invest in, and to develop, new and innovative content, as the companies cannot fully capture
                                     237
the benefits of their innovations.




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                3.     Google's API Restrictions

       Staff has investigated whether Google's restrictions on the automated cross-

management of advertising campaigns has unlawfully contributed to the maintenance,

preservation, or enhancement of Google's monopoly power in the markets for search and

search advertising. Microsoft alleges that these restrictions are anticompetitive because they




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prevent Google's competitors from achieving efficient scale in search and search                 r
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                                                               IC
advertising. 238 We recommend that the Commission issue a complaint against Google for

this conduct.




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                       a.     Overview of the AdWords Platform

       In order to set up a Google AdWords campaign, advertisers prepare extensive bids,
                                        PO
consisting of thousands - even hundreds of thousands - of keywords. For example, DirecTV
                                                                                                 r

might bid on common keywords such as "television," "TV," and "satellite," along with
                             by

specific television show names, such as "Friday Night Lights," and common misspellings of

these words or related phrases. The advertisers' bids can be calibrated by time and location
                      d


(i.e., DirecTV could seek to focus its "Friday Night Lights" campaign to Friday nights in
        ne



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Texas during football season), and even by changes in inventory. Advertisers then prepare
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      ai




advertisements (called "creatives" in industry parlance), and match those with various groups
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bt




of keywords. After an ad campaign is up and running, the advertiser receives data from
                                                                                                 r
AdWords that enables it to evaluate the effectiveness of the campaign. Based on that
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information, the advertiser can modify bids, add or drop keywords, and modify its creative ..    !
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When done manually, this iterative process, known as ad campaign "optimization," is very

expensive and time-intensive. 239
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       Initially, Google offered advertisers two ways to access the AdWords system and

manage their campaigns: the AdWords Front End and the AdWords Editor. The Front End is

a web page that advertisers could log into and manage their campaigns. The Editor is a

program advertisers can download. It allows advertisers to download campaign information

from Google, make bulk changes offline, and then upload the changes back into AdWords.




                                                                   O
These two access points eventually proved to be insufficient because large advertisers and




                                                                IC
agencies were taxing the existing system. They would access the system and make so many

changes to their campaigns that the system's capacity would be exceeded, causing it to be




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                                                     LI
unavailable temporarily or even to crash. 240

                                         PO
       In response, in 2004, Google introduced a third method for accessing the AdWords

system: the AdWords API. The API (application programming interface) allows advertisers

and agencies direct programmatic access to the AdWords platform. The API contains a set
                              by

of specifications that allows advertisers and agencies to develop their own software programs

to interact with the API and allow them to set up and optimize their ad campaigns. APis are
                       d


now an essential feature of campaign management for advertisers and agencies managing
        ne




multiple accounts. 241 All three major search advertising platforms (Google, Microsoft, and
      ai




Yahoo!)2 42 have APis that allow this direct, automated interaction with ad platform features.
bt




       Google anticipated that the API would have several benefits, including: (1) reduced

Google operating expenses (Google personnel having to provide manual processing and
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troubleshooting for large bulk sheets); (2) increased advertiser spend due to reduced

advertiser operating costs; and (3) rapid development of advertiser and third party tools
                                  243
supporting AdWords campaigns




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         By all appearances, the API has been a success. Advertisers using the API have

increased their spend rate faster than other advertisers. 244 Usage of the API has grown

significantly. 245 ·                                                                                 f
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                        b.      T4e Restrictive Conditions
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         Users of the Google AdWords API must agree to the terms and conditions Google               L




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imposes. The terms are non-negotiable and apply to all users. Two of those terms and                 r




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conditions, which have been in place since the API was released, restrict advertisers' use of
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their own AdWords campaign data. The campaign data consists of data input by the




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advertiser into the API (including keywords, keyword groupings, and bid parameters) and

data from the API reporting on the performance of the advertiser's campaign (including ad
                                          PO                                                         r
placement, clicks, and costs per keyword). 246                                                       L_




         As a condition of using the AdWords API, advertisers are prevented from using their         r
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campaign data in two ways, both of which inhibit their ability to manage ad campaigns on

multiple search networks. First, advertisers cannot use a tool developed by a third party, or
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have a third party use such a tool on their behalf, to copy their campaign data directly from
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the AdWords API into an advertising campaign on another search network. Second, they
       ai




cannot use a tool developed by a third party, or have a third party use such a tool on their
                                                                                                L
bt




behalf, to comingle AdWords campaign data with campaign data from another search

engine. 247 (We will refer to these conditions collectively as "the restrictive conditions.")
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         These restrictions essentially prevent any third-party tool developer or advertising

agency from creating a tool that provides a.single user interface for multiple advertising

campaigns. Such tools would facilitate cross-platform advertising. However, the restrictions

do not apply to advertisers themselves, which means that very large advertisers, such as        rL
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Amazon and eBay, can develop- and have developed-their own multi-homing tools that

simultaneously manage campaigns across platforms. 248 The advertisers affected are those

whose campaign volumes are large enough to benefit from using the AdWords API, but too

small to justify devoting the necessary resources to develop in-house the software and

expertise to manage multiple search network ad campaigns.




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                       c.     Effects of the Restrictive Conditions




                                                                IC
                              i.      Effects on Advertisers and Search Engine Marketers
                                      ("SEMs")249




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       As noted above, the immediate effect of the restrictive conditions has been to. prevent




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the development and marketing of tools that would allow advertisers to manage ad
                                        PO
campaigns on multiple search advertising networks simultaneously. Google routinely audits

its API clients to determine compliance with the restrictive conditions. On several occasions,
                             by

Google has required SEMs to remove functionality that would facilitate simultaneous

management of search advertising campaigns. 250 Other SEMs have stated that, but for the
                      d


restrictive conditions, they too would develop and offer such functionality. 251 They would
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also be freer to innovate the tools they offer based on their clients' demands. 252 Google

anticipated that the restrictive conditions would eliminate SEM incentives to innovate. 253
      ai




       Many advertisers have said they would be interested in buying a tool that had multi-
bt




homing functionality. 254 Such functionality would be attractive to advertisers because it
O




would reduce the costs of managing multiple ad campaigns, giving advertisers access to

additional advertising opportunities on multiple search advertising networks with minimal

additional investment of time. The advertisers who would benefit from such a tool appear to

be the medium-sized advertisers, whose advertising budgets are too small to justify hiring a




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                                                                                                     l
full service agency, but large enough to justify paying for such a tool to help increase their

advertising opportunities on multiple search networks.

         The restrictions do not prevent users from manually exporting data from Google          rl
AdWords into a CSV (or plain-text) file, and then uploading that data onto a competing
                                                                                                     i
advertising platform. Microsoft and Yahoo! offer instructions on how to upload data                  L




                                                                   O
exported from AdWords, although Microsoft maintains that this process is quite slow and




                                                                IC
burdensome. 255 Nonetheless, publicly, Microsoft does encourage users to import their

AdWords campaigns to AdCenter, saying "it's not that hard to do," and providing a checklist




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                                                     LI
of 14-16 steps to follow. 256                                                                    r
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                                         PO
         Despite Google's claims to the contrary, the AdWords Front End and AdWords

Editor are not as effective as the API because access to data via the AdWords Front End and
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AdWords Editor is manual, while access via the API is "programmatic," i.e., it can be            C
                                by

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automated. 257 Thus, the API alone is "scalable," which is an important attribute for

developers and advertisers. 258 In fact, Google has consistently found that the spending
                       d


growth of advertisers using the API has exceeded the spending growth for other advertisers,
         ne




suggesting that the API is a more efficient portal into the AdWords auction than these other
       ai




methods. 259 Programmatic access makes possible the development of tools that can interact       I




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bt




swiftly and automatically with AdWords, as compared to the slow, manual process of
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                                                                                                 L
downloading data, modifying it on spreadsheets, and then uploading the changes.
O




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         Removing the restrictive conditions from the AdWords API Terms and Conditions
                                                                                                 l
would allow copying and synchronization of ad campaigns in mass, 260 and reduce advertiser
                                                                                                 i
                                                                                                 l
costs. 261
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                               ii.     Effects on Competitors

       It seems likely that the removal of Google's API restrictions would increase the

amount of advertising spend directed towards search networks that compete with Google.

The rationale is that many advertisers would be willing to advertise on Bing or Yahoo! if

they could do so without incurring significant transaction costs. As noted above, optimizing




                                                                    O
a search advertising campaign is time-intensive. It may not be worthwhile investing such




                                                                 IC
efforts for additional, smaller search networks. Microsoft contends that if management tools




                                                        T
that allowed advertisers to optimize their campaigns on multiple search networks




                                                     LI
simultaneously were available, many more advertisers would choose to advertise on the

networks that compete with Google.       PO
       Data on advertiser "multi-homing" may show some of the effects of the restrictive

conditions. "Multi-homing" refers to advertisers that advertise on multiple search networks.
                              by

The data indicate that nearly all of the largest advertisers multi-home, but the percentage of

multi-homing declines as the advertisers' spend decreases. According to a 2011 study by
                         d
        ne



Microsoft, which divided the advertiser base into deciles based on total number of clicks

(such that the largest nine advertisers comprise a decile - or 10 percent of total clicks - unto
      ai




themselves), the distribution of multi-homing was as follows: 262
bt




                     Decile Advertisers (from smallest % multi-homint()j
                            to largest)
O




                     1        208980                        31.8

                     2        18346                         64.8

                     3        4876                           83.0

                     4        1736                           90.8




                                               46
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                      5        706                            94.9
                                                                                                       F
                                                                                                       .1



                      6        316                            96.5                                     l


                      7        144                            97.9                                     r
                                                                                                   L
                      8        68                             98.5
                                                                                                       I
                     9         28                             96.4                                     l




                                                                     O
                      10       9                              100.0                                    r
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                                                         T
Thus, outside of the two deciles composed of the smallest advertisers, the percentage of               l




                                                      LI
advertiser multi-homing is very high. However, given the very large number of advertisers              r

                                          PO
in those two deciles, it turns out that less than 37 percent of all advertisers multi-home. 264
                                                                                                       r
                                                                                                       L
       If there were no incremental transaction costs, it would be reasonable to assume that
                                                                                                   r
all rational advertisers would multi-home. It may therefore be surmised that transaction costs
                              by

are driving the smaller advertisers to choose not to multi-home. In this light, Microsoft's

contention can be restated as follows: the restrictive conditions increase the transaction costs
                       d
        ne



for cross-network campaign management, and thus decrease demand for all non-dominant               f
                                                                                                   L
networks. The multi-homing data support Microsoft's contention.
      ai




       The multi-homing data do not reflect another potential form of harm: some                   l
bt




advertisers who are multi-homing are likely doing so with less intensity on the non-dominant       I




                                                                                                   L
O




networks, which may cause them to spend less than they otherwise would on non-dominant
                                                                                                   r
networks relative to their share of total search. For example, Microsoft has conducted a           L
study showing that even multi-homing advertisers bid on significantly more keywords on

Google's AdWords platform than on Microsoft's AdCenter platform. 265 Microsoft also

claims that, while multi-homing advertisers optimize their Google campaigns on an almost-          [
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                                                47
                                                                                                   L
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daily basis, the same advertisers optimize their Microsoft campaigns far less frequently, on a

weekly or bi-weekly basis. 266

        Staff conducted a series of interviews of randomly selected small advertisers to gather

their anecdotal perspective on these issues. These interviews strongly tend to support the

thesis that many small advertisers would extend their advertising to other search networks if




                                                                   O
they had access to a cross-platform optimization tool. Nearly all small advertisers




                                                                IC
interviewed showed interest in such a tool. 267 They believed such a cross-platform




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optimization tool would be central to addressing their core constraints: time, sophistication,




                                                     LI
and money. 268 When these transaction costs are coupled with Bing's limited volume, some

small advertisers refrain from using Bing altogether. 269 Furthermore, even those that do use
                                          PO
Bing may not be fully optimizing their Bing campaigns because the benefits of Bing's

limited user volume may not outweigh the transaction costs associated with full
                              by

optimization. 270

                       d.        Internal Google Discussions Regarding the Restrictio:Qs
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         ne



        Internal Google documents support the notion that the removal of the restrictions

would increase advertiser spend on competing networks. In 2007, when considering whether
       ai




to offer a cross-network management tool, an API product manager wrote (and director of
bt




product management Richard Holden endorsed):

        Ifwe offer cross-network SEM in [Europe], we will give a significant boost to our
O




        competitors. Most advertisers that I have talked to in [Europe] don't bother running
        campaigns on [Microsoft] or Yahoo because the additional overhead needed to
        manage these other networks outweighs the small amount of additional traffic. For
        this reason, [Microsoft] and Yahoo still have a fraction of the advertisers that we
        have in [Europe], and they still have lower average CPAs [cost per acquisition]. 271

This last point is significant. The success of Google's AdWords auctions has served to raise

the costs of advertising on Google. With more advertisers entering the AdWords auctions,



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the prices it takes to win those auctions have naturally risen. As a result, the costs per
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acquisition on Google have risen relative to the costs per acquisition on Bing and Yahoo!.           l
Despite these higher costs, as this document notes, advertisers are not switching to Bing and         f
                                                                                                  L
Yahoo! because, for many of them, the transactional costs are too great.
                                                                                                  r
       In December 2008, a Google team led by Richard Holden evaluated the possibility of         L.




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relaxing or removing the restrictive conditions, and consulted with Google chief economist           r




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Hal Varian. ·Based on that meeting, Holden wrote a series of significant observations:

               1. Advertisers seek out SEMs and agencies for cross-network management




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                  technology and services;




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               2. The restrictive conditions make the market more inefficient;                   L
                                         PO
               3. Removing the restrictive conditions would "open up the market" and give
                  Google the opportunity to compete with a best.:.in-class SEM tool with "a
                                                                                                  r

                  streamlined workflow";
                             by

               4. Removing the restrictive conditions would allow SEMs to improve their
                  tools as well;

               5. While there is a risk of additional spend going to competing search            L
                      d


                  networks, it is unlikely that Google would be seriously harmed because
                  "advertisers are going where the users are," i.e., to Google. 272              ,-
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       Thus, internally, Google recognized that removing the restrictions would create a
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more efficient market, but acknowledged a concern that doing so might diminish Google's
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bt




grip on advertisers. Nonetheless, following up on that meeting, Google began evaluating          r
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ways to improve the DART Search program. DART Search was a cross-network campaign
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management tool owned by DoubleClick, which Google acquired in 2008. 273 Google
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engineers were looking at improving the DART Search product, but had to confront                 r
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limitations imposed by the restrictive conditions. During his investigational hearing, Richard
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Holden steadfastly denied any linkage between the need to relax the restrictive conditions       [
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and the plans to improve DART Search.            However, a series of documents-'-- documents

authored by Holden - explicitly link the two ideas.

          In December 2008, Holden, senior vice-president of ad products Susan Wojcicki, and

others met to discuss the issue. Of the meeting, Holden wrote:

                 [O]ne debate we are having is whether we should eliminate our API T&Cs
                 requirement that AW [AdWords] features not be co-mingled with competitor




                                                                       O
                 network features in SEM cross-network tools like DART Search. We are
                 advocating that we eliminate this requirement and that we build a much more




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                 streamlined and efficient DART Search offering and let SEM tool provider
                 competitors do the same. There was some debate about this, but we




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                 concluded that it is better for customers and the industry as a whole to make
                 things more efficient and we will maximize our opportunity by moving




                                                        LI
                 quickly and providing the most robust offering. 275

                                           PO
          In February 2009, Holden wrote the ex~cutive summary for a DART Search product

review, in which he advocated that Google "alter the AdWords Ts&Cs to be less restrictive

and produce the leading cross-network toolset that increases advertiser/agency efficiency."
                               by

Such a move, he wrote, would "[r]educe friction in the search ads sales and management
                                         276
process and grow the industry faster."         In April 2009, in light of evident disapproval from
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Larry Page about the idea of removing the co-mingling restriction, Holden wrote: "We've

heard that and we will focus on building the product to be industry-leading and will evaluate
      ai




it with him when it is done and then discuss co-mingling and enabling all to do it."277
bt




          In September 2009, the API product manager again raised the possibility of

eliminating the restrictive conditions as a way to help DART Search, this time with the added
O




argument that DART Search was not able to compete effectively against other SEM cross-
                                                                      278
network tools that might be violating those restrictive conditions.         Before the issue was

raised up the ladder to Susan Wojcicki, the API product manager asked Richard Holden's

advice:




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                I think the core issue on which I'd like to get Susan's take is whether she sees
                a high risk of existing spend being channeled to MS/Yahoo! due to a more            f
                lenient official policy on campaign cloning. Then, weigh that risk against the      L
                benefits: enabling DART Search to compete better against non-compliant
                SEM tools, more industry goodwill, easier compliance enforcement. Does              r
                that seem like the right high level message? 279                                    l
        It appears that Holden agreed that the concern of spend being channeled towards             r
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Google's competitors was part of the appropriate "high level message," because the issue




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was flagged in a powerpoint eventually presented to Larry Page in January 2010: "SEM




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tools will tout this official policy change strongly encouraging users to channel new or            r
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existing spend to other networks. " 280 .




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        The documents make clear that Google was weighing the efficiency of relaxing the            I
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restrictions against the potential cost to Google in market power. At a January 2010 meeting,       r

Larry Page decided against removing or relaxing the restrictive conditions. 281 However,
                              by

there is no record of the rationale for that decision or what weight was given to the concern

that relaxing the restrictive conditions might result in spend being channeled to Google's          (
                       d


competitors. Larry Page has not testified. 282 Holden testified that he did not recall the
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discussion. 283 The participants.at the meeting did not take notes "for obvious reasons."284

Nonetheless, the documents paint a clear picture: Google rejected relaxing the API                  r
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restrictions, and at least part of the reason for this was fear of diverting advertising spend to
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Microsoft.
O




                4.      Google's Exclusive and Restrictive Syndication Agreements                   r
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        Staff has investigated whether Google has entered into. exclusive or highly restrictive
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agreements with website publishers that have served to maintain, preserve, or enhance               r
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Google's monopoly power in the markets for search, search advertising, or search and search
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advertising syndication (or "search intermediation"). We recommend that the Commission

issue a complaint against Google for this conduct.

                        a.     Publishers and Market Structure

         The buyers of search and search advertising syndication services are website

publishers. In effect, any website that has content that it would like to monetize via ads is a




                                                                    O
potential buyer of syndication services. While there are thousands of these websites, a




                                                                 IC
handful of the largest websites on the Internet account for the vast majority of syndicated

search traffic and revenue. 285 Google served approximately 118 billion AdSense (search




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syndication) queries in 2011, but just 10 websites generated almost 80 percent of that

traffic. 286                             PO
         The biggest customers for search and search advertising syndication services are e-

commerce retailers (e.g., Amazon and eBay), traditional retailers with large associated
                              by

websites (Wal-Mart, Target, Best Buy), and Internet Service Providers ("ISPs"), 287 which

operate their own web portals. 288
                       d



         Below this small group of very large publishers, there are another roughly 25
          ne




companies with significant query volume. These mid-tier companies include vertical e-
        ai




commerce site·s such as Kayak (travel), along with smaller retailers and smaller ISPs such as
bt




EarthLink. None of these mid-tier companies generate even one percent of Google's total

AdSense query volume. Below these companies, publisher size drops off rapidly to well
O




under 0.1 percent of Google's query volume. 289

         The search provider pays the publisher (website) a percentage of the revenue

generated from user ad clicks on the publisher's website. In the industry, these agreements

are known as "revenue sharing" arrangements. The higher this percentage, the more the




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publisher earns per click. But, for the publisher to earn any money, the user must first click
                                                                                                     )
on an advertisement. The actual payment received by the publisher is actually a function of
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three critical variables: (1) the volume of user clicks on one of the syndicated advertisements;
                                                                                                     l
(2) the· "CPC" or "cost-per-click" the advertiser is willing to pay for each click on its content;
                                                                                                     r
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and (3) the revenue sharing percentage. In industry parlance, the rate of user clicks and CPC        L




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are aggregated together to form the "monetization rate."
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                       b.       Development of the Market for Search Syndication
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        Google entered into its first AdSense for Search (AFS) agreements with Internet
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portals AOL and Earthlink in 2002. 290 Google's goal then was to develop and grow the

nascent industry of syndicated search advertising. 291 At this time, Google was bidding
                                         PO
against incumbent search advertising firm Overture (later acquired by Y aJ;ioo !) for exclusive      L.

agreements with syndication partners. 292
                             by

        Google's early syndication deals were characterized by generous terms that favored

the publishers. 293 Because Google wanted to establish a presence on these websites, it              l.
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        ne



offered large, up-front financial guarantees to website publishers. For example, to win major
                                                                                                     l_
deals in 2002 (such as AOL and Earthlink), Google offered financial guarantees without
                                                                                                     r
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knowing for certain whether the websites could actually deliver the traffic necessary to cover       L
bt




the guarantees. 294 To protect itself; Google required exclusivity so that Overture could not        r
                                                                                                     L
cherry-pick more valuable website traffic and undermine Google's attempt to return a profit
O




                                                                                                     !
on these deals. 295                                                                                  l
                       c.      Specifics of Google's Syndication Agreements                          r
                                                                                                     L
        Today, the typical AdSense agreement contains terms and conditions that describe
                                                                                                     r
how and when Google will deliver search, search advertising, and other (contextual or                l
                                                                                                     r
                                                                                                     )

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domain related) advertising services. There are two main categories of AdSense agreements:

AFS (search), which provides search advertising to publishers, and AFC (content), which

provides contextual advertising to publishers. Staffs investigation has focused on Google's

AFS agreements.

        Within the AFS category, there are two types of agreements: (i) Google Service




                                                                 O
Agreements ("GSAs"), which are individually negotiated agreements with large partners; and




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(ii) standard online contracts, which are non-negotiable and non-exclusive agreements that

any publisher can sign. 296 Standard online agreements make up the bulk of Google's AFS




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                                                   LI
partners, but only a small portion of AFS revenues. 297 The bulk of the revenues come from

                                        PO
the GSAs with Google's 10 largest partners, which collectively comprise almost 80 percent

of Google's overall AFS query volume in 2011. 298 All of Google's GSAs contain some form

of exclusivity or "preferred placement" for Google, and the GSAs typically last from one to
                             by

three years. 299

        Google's exclusive AFS agreements effectively prohibit the use of non-Google search
                      d



and search advertising within the sites and pages·designated in the agreement. 300 Some
         ne




exclusive agreements cover all properties held by a publisher globally; other agreements
       ai




provide for a property-by-property (or market-by-market) assignment. 301
bt




        By 2008, with its market presence clearly established, Google began to migrate away

from outright exclusivity in all of its agreements toward what Google terms "preferred
O




placement" in many of its agreements. 302 In essence, the "preferred placement" provision

requires the publisher to display three Google ads or the same number of ads the publisher

acquires from any competitor (whichever is greater); that Google's ads be displayed in an




                                             54
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unbroken block; and that Google's ads receive "preferred placement" - or rather, that they
                                                                                                   r
                                                                                                   L.
occupy the most prominent position on the publisher's website. 303

       Notably, Google maintained "preferred placement" restrictions in both its GSAs and          f
                                                                                                   l
its standard online agreements until July 2012, when Google eliminated the "preferred

placement" language from its online agreements. Google maintains that it was not aware of




                                                                    O
the presence of this provision in its standard online agreement until the rec~nt investigational   r
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hearing of Google's vice-president for search services, Joan Braddi, where Staff questioned
                                                                                                   r
                                          304




                                                        T
Braddi about this particular provision.                                                            L




                                                     LI
                       d.         Effects of Exclusivity and Preferred Placement                   r

                                            PO
       Staff interviewed both large and small customers for search and search advertising

syndication services to understand how and why they contract with Google, whether their
                                                                                                   r


contracts are exclusive or restrictive, and the customers' appetite for using multiple             r
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syndication providers. We summarize the key findings from these interviews below.
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                             i.         Common Publisher Responses                                 L
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       All interviewees report that Bing's search and search advertising syndication product
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is not competitive across-the-board with Google today. We found universal agreement that
                                                                                                   r
      ai




Bing's syndication product is markedly inferior to Google's offering. For example, Amazon          L
bt




reported that Bing's product monetizes at less than half the rate of Google's. 305                 r
                                                                                                   L
Business.com, a smaller e-commerce site, told us that Google would have to cut its revenue
O




share to Business.com from 64.5 percent to somewhere in the 30 percent range before the

company could seriously consider shifting from Google to Microsoft, and even that would            r
require Microsoft to provide a 90 percent revenue share because Microsoft's platform has
                                                                                                   L
such low monetization in comparison to Google's platform. 306                                      rL
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                                                                                                   L
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        The customers generally confirmed Microsoft's claim that Bing's search syndication

offering is inferior, at least in part, because Microsoft's network of advertisers is smaller than

Google's. With a significantly larger advertiser base, Google is more likely to have a

relevant, high-quality advertisement for any given query, which greatly improves its

monetization rate relative to Microsoft. 307




                                                                    O
       A smaller publisher reported that, essentially, the only websites exclusively using




                                                                 IC
Bing's search syndication service today are those that have been kicked out of Google's

syndication network for violating its terms of service. 308 While we know from other




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                                                      LI
interviews that this comment is an exaggeration, it does capture the general tenor of the

                                          PO
comments we received about the relative quality of Microsoft's search and search advertising

syndication product.

       Many publishers reported that Microsoft was not aggressively trying to win their
                              by

syndication business. One mid-tier publisher stated that Microsoft did not even return its

inquiry calls during the publisher's last contract renewal discussions with Google. 309 A
                       d
        ne



Microsoft executive acknowledged that Bing needs a larger portfolio of advertisers in order

to present a competitive offering to publishers, and so the company has not been focused on
      ai




winning new search syndication business. 310
bt




       Another common theme we heard from many (but not all) of the publishers is that
O




serving advertising is a relatively minor part of their business and not a significant strategic

focus for them. For example, Wal-Mart operates its website principally as an extension to its

retail operations (letting Wal-Mart customers buy products either in-store or from the website

at their preference). 311 Best Buy's principal goal for its website is to be the provider of

presale information, as 60 percent of its customers do online research before coming to the




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         312
store.         Customers, like Wal-Mart and Best Buy, with large unrelated business goals for
                                                                                                      f
their websites tend to view search and search advertising syndication as a source of valuable         L

incremental revenue, but these websites are not operated or optimized to generate syndication         F
                                                                                                      I
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revenue.
                                                                                                      r
           Many of the publishers Staff interviewed had little interest in using multiple providers   L




                                                                     O
of search and search advertising syndication services. Most had not seriously considered the          r
                                                                                                      L_




                                                                  IC
                                                                                       313
possibility because Bing monetizes so much more poorly than Google does today.               A few
                                                                                                      r




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publishers also reported that Microsoft itself sought various forms of exclusivity in their




                                                       LI
negotiations with publishers. 314 Some large publishers reported that a "mix-and-match"

arrangement would be complex and difficult for them to build and implement. 315 Even
                                            PO
Amazon, which actually does manage to use both Bing and Google advertisements today,

faces some challenges in using multiple syndication providers. Amazon will use a single               r
                                 by

syndication provider on each page that it serves because of the risk that mixing and matching

providers inside the same page will result in ad duplication. This is a significant issue             L
                           d
           ne



because showing multiple versions of the same ad on a single page is viewed as a highly
                                                                                                      L
undesirable end user experience. 316
         ai




           Beginning in 2008, Google undertook a systematic effort to lower the revenue share
bt




percentage for its AdSense partners. 317 Many publishers have seen significant declines in            r
                                                                                                      L
their revenue share percentage over time as they renewed their contracts with Google. 318 In
O




                                                                                                      r
total, Google reduced its payments (traffic acquisition cost, or "TAC") to its AFS partners           l
from 80.4 percent in the first quarter of 2009 to 74.0 percent in the first quarter of 2010. 319      r
Some partners have experienced reductions in their revenue share of 10 percent or more. 320
                                                                                                      L

The publisher reaction to these declines varied, but none of the publishers viewed the                rL
                                                                                                      [
                                                  57

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reductions in their AdSense revenue share percentage as large enough to justify shifting their

business to Bing or to begin serving more· display advertisements instead of search ads. 321

                             ii.       Publishers' Views of Exclusivity Provisions

       When asked whether their AdSense contract with Google was exclusive, the

publishers gave widely varied answers. A number of the large publishers reported that their




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AdSense contract with Google was exclusive, 322 but some reported that their AdSense




                                                                  IC
contracts were not exclusive. 323 Most of the publishers that reported exclusivity provisions




                                                         T
did not complain to us about them.




                                                      LI
       Staff's interviews did identify a fairly small, but significant, group of publishers that

                                          PO
were deeply concerned by the exclusivity provisions in their Google AdSense agreements.

All of these customers view search and search advertising syndication income as a

substantial part of their business, and all have the technical sophistication to integrate
                              by

multiple suppliers into their on-line properties. We summarize these concerns below.

       eBay. eBay is Google's largest search and search advertising syndication partner,
                       d
         ne



accounting for just over 27 percent of the syndicated U.S. queries answered by Google in

2011. 324 Section 14 of eBay' s AdSense agreement states that the agreement is not
       ai




exclusive. 325 However, the contract requires preferential treatment for Google AdSense ads,
bt




which eBay has characterized as equivalent to exclusivity. 326 The preferential treatment
O




terms include requirements that eBay show as many Google AdSense ads on each page as

third-party advertisements, that no third party advertisements appear above the Google

AdSense advertisements, that Google AdSense advertisements cannot be interspersed with

third party advertisements, and that Google AdSense advertisements cannot be less

prominently displayed than third party advertisements. 327 .




                                                58
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        eBay sought to have this provision deleted during the company's last contract renewal

in 2011, and was rebuffed. 328 eBay agreed to continue with this provision, in part, due to
                                                                                                      [
Google's willingness to leave the revenue share percentage unchanged, despite lowering it to          f
                                                                                                      L

most other publishers. 329
                                                                                                      r
                                                                                                      i
        eBay sought relief from the restrictions in its Google AdSense agreement in its last          L




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renewal because it has done some testing that leads it to believe that Bing's advertising




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platform has become competitive in certain sectors (e.g., technology advertisements), and
                                                                                                      r




                                                          T
eBay believes that it could make more money by working with multiple providers of search              L




                                                       LI
syndication service. 330 In other words, in areas where Bing's search and search advertising          F
                                                                                                      I




                                           PO
syndication platform monetizes at roughly the same level as Google's platform, Bing could

offer a higher revenue share than Google, increasing eBay' s revenue.

       NexTag. NexTag is a comparison shopping website and a Google syndication                       rI
                                by

                                                                                                      L_
                                                  th
customer. In 2010, NexTag was Google's 15 largest AFS customer. Historically, NexTag
                                                                                                      r
                                            331
had an exclusive agreement with Google.           Although N exTag was able to remove the             L
                           d


                                                                                                      r
        ne



exclusivity language in its Google contract in 2010, NexTag was forced to agree to a series

of restrictions that it characterizes as essentially the same thing as exclusivity. 332 These
      ai




restrictions include a requirement to show Google advertisements on the same page as any              iL
bt




third-party provider's advertisements, and always to show the Google content above the                r
                                                                                                      i

                     333
                                                                                                      L
competing content.         NexTag reports that moving away from explicit exclusivity even to
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                                                                                                334
                                                                                                      r
this kind of de facto exclusivity required substantial, difficult negotiations with Google.           I
                                                                                                      L


       Today, NexTag does not use any non-Google provider of search and search
                                                                                                      i
                                                                                                      l_
advertising syndication services. 335 NexTag has had conversations with both Yahoo! and
                                                                                                      r
Bing, and would like to use their product "on a filler basis," but has been unable to do so
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because it would have such poor placement on the NexTag site due to the Google contract

restrictions. 336

        Business.com. Business.com is a "B2B" lead generation/vertical site. In effect, the

site marries commercial customers looking for products (such as business phone systems)

with providers of those products. 337 Business.com is several orders of magnitude smaller




                                                                  O
than the other complainants, barely making it onto a list of the top 60 providers of AdSense




                                                               IC
query volume. Business.com reports that it has an exclusive AdSense agreement with

Google. 338 This agreement materially limits how Business.com can design its web pages. If




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                                                    LI
Business.com were relieved from its exclusive arrangement, it would test Bing and Yahoo!

                                        PO
by product category, and place their advertisements in a more prominent position in those

categories where their performance warranted. 339 The company would also likely take

advertisements from both Google and Bing/Yahoo!, and show them on the same page, with
                             by

placement dictated by relative performance in each category. 340 Loosening up Google's

exclusivity restrictions would allow Business.com to improve its revenue, and also allow it to
                      d



introduce some new features that would make the site more accessible and user-friendly. 341
         ne




        Amazon. Amazon is the world's largest e-commerce site342 and the second largest
       ai




AFS customer after eBay. On a worldwide basis, Amazon earns roughly $175 million from
bt




search syndication services, with $169 million of that total coming from Google's AdSense

search product. 343 Amazon does not have an exclusive agreement with Google, and actually
O




splits its inventory among Google, Bing, and Yahoo!. 344 However, Amazon finds that the

Bing and Yahoo! 's advertisements monetize at about 46 percent the rate of Google's

advertisements. 345 Because of the very large monetization gap, Amazon can only afford to

use Bing and Yahoo! for a very small percentage of its total search syndication needs. 346




                                              60
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                                                                                                             f
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        Amazon splits its search syndication business by full page only.             In other words,

Amazon does not mix and match Google and Bing or Yahoo! content within the same

page.348                                                                                                     r
                                                                                                             I
                                                                                                             L
           Amazon uses Bing and Yahoo! despite the relatively poor performance because
                                                                                                             r
                                                                                                             I


Amazon is worried about being so dependent on a single supplier for such an important                        L




                                                                         O
revenue source. 349 Because Amazon's basic business operates on very thin margins, its $17 5                 r
                                                                                                             L.




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                                                                                                350
million in syndication revenues represents a material source of profit for the company.
                                                                                                             r




                                                            T
        Amazon is concerned that it will be forced to sign an exclusive agreement with                       L.




                                                         LI
                                                  351
Google during the next contract renegotiation.          During the last renegotiation, Amazon
                                                                                                             L-
                                        PO
wanted a five-year deal, but Google would only give Amazon a one-year extension unless it

agreed to send Google 90 percent of all its queries, which Amazon refused to agree to as part                L
of a formal agreement, although Amazon already sends in excess of 90 percent of its queries                  r
                              by

to Google. 352

        IAC. IAC is an umbrella Internet content company that operates roughly 50 different
                         d


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        ne



websites, including the Ask.com search engine site, Newsweek, CityGrid, and Urbanspoon.
                                                                                                             L.
IAC was the third largest source of syndicated query volume to Google in 2011, representing
                                                                                                             r
      ai




                                                  354                                                        I

9.6 percent of Google's total U.S. AFS traffic.         IAC has an exclusive agreement with                  L
bt




                                                           355
Google for search and search advertising syndication.            However, the agreement does not             r
                                                                                                             l
O




require every IAC property to use Google's AdSense product. Rather, each property may
                                                                                                             r
elect whether to use Google's search syndication product, and if it does, it must do so on an                l
                   356
exclusive basis.                                                                                             \
        In 2008, IAC explored the possibility of partnering with Yahoo! and Microsoft as
                                                                                                             L
alternatives to Google, before renewing with Google.
                                                           357
                                                                 All of the parties IAC contacted            [
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                                              61

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 during the negotiation period wanted an exclusive arrangement. 358 Ultimately, Google's

 offering was the most lucrative, and IAC re-signed with Google. 359

        However, IAC expressed concern about Google's requirement of exclusivity for

 subsidiary properties, such as local website CityGrid, that wanted to explore "mix-and-

 match" options with other search advertising providers. Indeed, in 2008, IAC declined to opt




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 CityGrid into its larger exclusive agreement, attempting to forge an alternative route with




                                                                 IC
 other search advertising providers (including CityGrid's own ad network). Ultimately,

 however, CityGrid determined that it could not completely replace Google's syndication




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                                                        LI
 network, even with a patchwork of other providers. Since then, CityGrid has been forced to

                                           PO
 "opt in" to IAC's larger exclusive agreement. Although CityGrid wants the option of using

 other networks (including its own), and supplementing those ads with Google ads, it cannot

 do so under IAC's existing agreement with Google. More generally, IAC expressed concern
                               by

 about the lack of competition in search and search advertising syndication because there are

 no good substitutes for search advertising. 360
                        d


        While IAC initially seemed supportive of the story we heard from the other
         ne




 concerned publishers, during a recent follow-up call, IAC's tone changed substantially. One
       ai




 of the key complainants on the initial call was the president of IAC subsidiary CityGrid.
bt




 That executive has since left IAC, and our more recent call was with another executive, who

· was in charge of business development for IAC. This executive was far less sanguine as to
O




 IAC's likelihood of splitting their business in the abse·nce of exclusivity. He noted that,

 while he was also concerned about the lack of competition in the market, he could not see

 moving incremental traffic to Bing or other search advertising providers unless the

 monetization gap narrowed significantly. The departure of the.key executive with the closest




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                                                                                                  [
knowledge of the issues and the most detailed concerns suggests we may have significant
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issues obtaining clear, unambiguous testimony from IAC that reflects their earlier expressed      L
concerns.                                                                                         F
                                                                                                  L
                            iii.      Effects on Competitors
                                                                                                  r
       Microsoft reports that it could substantially benefit from serving even a portion of the   L




                                                                   O
                                                                                       361
query and advertising volume from some of Google's largest syndication customers.
                                                                                                  L.




                                                                IC
Microsoft asserts that even a 5 to 10 percent increase in its overall query traffic would be

"very meaningful" because Bing is at a lower part of the scale curve where "each percentage




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                                                                                                  L




                                                     LI
point is critical."362 Thus, Google's exclusive and restrictive agreements serve to deny          r

                                         PO
Microsoft incremental scale that Microsoft argues will make it a more efficient competitor.

       In addition to the impact on Microsoft, specialty search advertising platforms may be

hampered by exclusivity provisions. When IAC complained to us, they told us that they             r
                              by

                                                                                                  L
sought to build their own platform to serve local search advertising. 363 Such platforms would
                                                                                                  r
not be able to serve a full panoply of search advertising, but only certain niche categories.     l
                      d


Google's exclusivity provisions make it less likely that small local competitors like IAC's
         ne




                                                                                                  L
nascent offering can viably emerge.
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III.   LEGAL ANALYSIS                                                                             l
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       A monopolization claim under Section 2 of the Sherman Act, 15 U.S.C. § 2, has two          r
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elements: (i) the "possession of monopoly power in the relevant market" and (ii) the "willful
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acquisition or maintenance of that power as distinguished from growth or development as a
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consequence o f a superior            .                      · acc1'dent. " 364
                                           acumen, or h'1stonc                                    r
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       An attempted monopolization claim requires a showing that (i) "the defendant has

engaged in predatory or anticompetitive conduct" with (ii) "a specific intent to monopolize"

and (iii) a dangerous probability of achieving or maintaining monopoly power. 365

       A.       GOOGLE HAS MONOPOLY POWER IN RELEVANT MARKETS

       "A firm is a monopolist if it can profitably raise prices substantially above the




                                                                     O
competitive level. . . . [M]onopoly power may be inferred from a firm's possession of a




                                                                  IC
dominant share of a relevant market that is protected by entry barriers."366 Google has




                                                         T
monopoly power in one or more properly defined markets.




                                                      LI
                1.     Relevant Markets and Market Shares

                                          PO
       A properly defined antitrust market consists of "any grouping of sales whose sellers,

if unified by a hypothetical cartel or merger, could profitably raise prices significantly above

the competitive level."367 Typically, a court examines ''such practical indicia as industry or
                               by

public recognition of the submarket as a separate economic entity, the product's peculiar

characteristics and uses, unique production facilities, distinct customers, distinct prices,
                       d



sensitivity to price changes, and specialized vendors. " 368
         ne




       Staff has identified three relevant antitrust markets.
       ai




                       a.      Horizontal Search
bt




       Horizontal, algorithmic web search (hereafter "horizontal search") likely constitutes a
O




properly defined relevant market. As discussed earlier, horizontal search engines, such as

Google, attempt to cover the content of the Internet as widely as possible, and are specifically

designed to return a comprehensive list of search results on any topic. By contrast, "vertical"

search engines focus on more narrowly-defined categories of content, such as product




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                                                                                                      F


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                                                                                                      f
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shopping or travel. Vertical search engines are not viable substitutes to horizontal search for
                                                                                                      F
many types of queries.                                                                                L

        Staffs investigation has uncovered no credible evidence that vertic~l websites, even         .rl
in aggregate, could replace a horizontal search engine. None of these websites attempt to
                                                                                                      I
crawl the web comprehensively, and none have built the kind of sophisticated algorithms that          L




                                                                      O
would be necessary to search and organize the entire web effectively. As discussed in greater         r
                                                                                                      L.




                                                                   IC
detail below, there are formidable barriers to vertical search engine firms expanding into .
                                                                                                      r




                                                          T
horizontal search.                                                                                    L




                                                       LI
        Nevertheless, it is conceivable that these narrow, vertical search properties could pick      r

                                          PO
up additional query volume in response to a small, but significant, non-transitory increase in

price ("SSNIP") in horizontal search, thereby potentially disciplining horizontal search

providers. 369 As discussed earlier, our investigation has revealed that Google views vertical
                              by

websites with some concern, and has ~oved aggressively to build its own vertical
                                                                                                      r
offerings. 370 Sergey Brin, among others, testified that vertical websites are substitutes "[f]or
                       d


                                                                                                      l


some kinds of queries."371
        ne



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        Critically, however, Staffs investigation has identified no mechanism for vertical
      ai




search properties to broadly discipline a hypothetical monopolist in horizontal search. Web           L
bt




search queries are monetized through search advertising, and that advertising is sold by              r
                                                                                                      l
O




individual keywords which each have their own independent demand functions. This means

that, at best, a hypothetical monopolist in horizontal search might be inhibited from imposing        'L
a SSNIP on a narrow set of keywords where there is strong vertical competition. But for the

literally billions of other queries where no strong vertical exists (or is likely to arise), there
                                                                                                      L

would be nothing to constrain a hypothetical monopolist from imposing a SSNIP. In other

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words, to the extent vertical websites compete with horizontal search providers within their

limited areas of competence, nothing prohibits price discrimination between those narrow

areas and the broader web.

       Even in the narrow areas where vertical websites have subject matter competence,

they face challenges in competing effectively with horizontal search providers. This is




                                                                    O
because comprehensive coverage of all topic areas appears to be a very important driver of




                                                                 IC
demand, even to websites focusing on specific topic areas. The ability to offer




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comprehensive search results was characterized as "fundamental" by Google's former CEO,




                                                     LI
Eric Schmidt. 372 Schmidt explained that the company needs to build brand equity with its

                                         PO
customers by providing consistently good results regardless of the content of the query, and

that strong results across-the-board lead to specific queries in commercial search:

               So if you, for example, are an academic researcher and you use Google 30
                              by

               times for your academics, then perhaps you'll want to buy a camera ... So long
               as the product is very, very, very, very good, people will keep coming
               back ... The general product then creates the brand, creates demand and so
               forth. Then occasionally, these ads get clicked on. 373
                       d
         ne



       In effect, users are habituated into using Google for all their queries because of its

comprehensive scope, and so they may be more likely to tum to Google when they have
       ai




commercial queries, instead of starting at a vertical website. Schmidt's testimony is
bt




corroborated by the representations of several of the vertical search firms, who note that they
O




are dependent on horizontal search providers for significant amounts of their traffic, because

even many vertical search users tend to begin their search with a query on Google, Bing or

Yahoo!. 374

       When asked to identify his competitors in web search, Schmidt did not mention any

vertical property: "[A ]s far as I can tell, the industry has two main horizontal however you




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want to call them, Web search indices players. And they would be Google and Microsoft.
                                                                                                   r
There used to be three. And as you know, Microsoft and Yahoo did a deal which pretty               L
                                                                                                   f
much collapsed their activities together."375                                                      !
                                                                                                   L
        Schmidt's testimony echoes internal company documents. Numerous Google
                                                                                                   I
documents describing the market for web search discuss only Google, Microsoft's Bing, and          L




                                                                     O
Yahoo!. Google circulates monthly market share reports for Google, Bing, and Yahoo!. 376           r




                                                                  IC
Google also regularly monitors and compares the quality of these three services. 377 Sergey




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Brin testified that he was not aware of such quality comparisons being performed against any




                                                      LI
vertical competitors, at least not on any regular basis. 378 All of this evidence is consistent    r
                                                                                                   L
                                          PO
with the proposition that horizontal search constitutes its own, separate relevant market.

        The relevant geographic market for web search is limited to the United States. Search

engines are optimized to return results (and advertisements) relevant to the users in the
                              by

country they are serving. Countries have different languages, interests, and cultural norms
                                                                                                   r
that are all reflected in their search results. For example, a user in London typing the word
                       d
        ne



"tube" into a search engine is likely looking for subway information, while a dairy farmer in

Iowa with the same query is probably not interested in the London Underground. These
      ai




issues mean that users in the United States are unlikely to view foreign search engines as         L
bt




viable substitutes for national search engines that are optimized to their language and culture.   r
                                                                                                   I

                                                                                                   l
Although Google itself has successfully crossed some international borders (for example,
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Google is extremely popular in Europe), this is a relative rarity, and other major international   L
search engines - like Baidu (China) and Yandex (Russia) - have not managed the same feat.
                                                                                                   rL
In a prior investigation, the Department of Justice concluded that national boundaries
                                                                                                   r
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properly define the scope of the geographic market for web search. Our investigation has

uncovered no basis on which to deviate from this conclusion. 379

        Google is clearly the dominant provider of "general search" services in the United

States. Google's own sites have a 66.7 percent share of the market as of May 2012,

according to ComScore, a leading industry measurement firm. 380 Google also provides




                                                                   O
search services to two small, formerly independent web search operators (Ask.com381 and




                                                                IC
AOL 382), which collectively account for another 4.6 percent of the relevant market according

to ComScore. 383 In sum, the total Google-powered query share in the United States is 71.3




                                                       T
                                                    LI
percent, according to ComScore. 384

                                         PO
       The balance of this market is controlled by the MicrosoftNahoo! search alliance.

Yahoo! holds approximately 15 percent of the market, and Bing (owned by Microsoft), holds

approximately 14 percent. 385 As noted earlier, since 2009, Microsoft and Yahoo! have been
                                by

partners in what essentially amounts to a long-termjoint venture for search, where Microsoft

powers the algorithmic search results for both Yahoo! and Bing, while Yahoo! handles the
                       d



direct relationships with large advertisers for the combined service. 386 Advertisers that want
        ne




to purchase search advertising on Yahoo! or Bing cannot buy access to these properties
      ai




separately, but rather must purchase advertisements that run on both sites simultaneously. 387
bt




So, in effect, there are just two providers of horizontal search: Google and the Bing/Yahoo!
O




search alliance.

                     Firm                            ComScore Market Share, May 2012

                     Google                                           71%

                   Bing/Yahoo                                         29%




                                               68
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       Google's market share (depending on whether it is calculated using Google.com share
                                                                                                     F

alone, or inclusive of the other search engines it powers) meets or exceeds "the generally           L
accepted floor" for monopolization. 388 Defendants with market shares in this range have             r
                                                                                                     L
previously been found to possess monopoly power. 389 •
                                                                                                     \
                                                                                                     l
                       b.     Search Advertising




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       Search advertising likely constitutes a properly defined relevant market. 390 As              r
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discussed earlier, search advertising is displayed inresponse to specific keyword queries




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entered by the user. Search advertising is distinguishable from other forms of online




                                                                   LI
advertising, such as display advertising, contextual advertising, behavioral advertising, and        r

social media advertising due to its "inherent scale, targetability, and control."391 According
                                            PO                                                       r

to Google, "[t]hey are such different products that you do not measure them against one
                                                                                      392
another and the technology behind the products is different. "
                             by

       Advertisers often refer to a "purchase funnel" to describe the various types of

advertising and their purposes. An example is illustrated below: 393
                      d



                                                                                                     r
        ne



                                              Purchase Funnel
                                       (or!he Ctistomer Acquisition Fu11ne1)                         L
      ai




                                                                               Display
bt
O




                              Intent
                                                                                                     r
                                                                               Search
                                                                                                     L
                                                                                                     r
                                                                               ct) AdExchanger.com

      . As illustrated by the funnel, search advertising responds directly to users' revealed

intent at the critical moment when a user is ready to "purchase." With display, advertisers

                                                                                                     [
                                                        69
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are typically more interested in developing user interest - or "branding" - than in eliciting a

direct response from the consumer, whereas the primary attraction of search advertising is its

propensity to generate direct responses. 394 As Hal Varian, Google's chief economist put it,

"[o]ne way to think about the difference between search and display/brand advertising is to

say that 'search ads help satisfy demand' while 'brand advertising helps to create




                                                                       O
demand."395




                                                                    IC
        The different manners in which display and search advertising are priced is consistent




                                                           T
with their distinct overarching goals. Search advertisements - whose main goal is to directly




                                                        LI
drive user purchases - are priced on a "cost-per-click" basis (i.e., an advertiser only pays if a

                                           PO
user clicks on the ad). Conversely, display advertisements -whose main goal is to spark

interest and drive awareness - are priced based on the number of times the ad is displayed.

        Display and search advertising are also separately managed, measured, and tracked
                               by

internally at Google. 396 Similarly, for advertisers and agencies, display and search are

different categories. 397 The ad types require different creative, targets, budgets, and
                        d



tracking. 398 Most advertisers spend in both categories, as they consider display and search
         ne




advertising to be complements. 399
       ai




        Evidence suggests that search and display are indeed complements rather than
bt




substitutes. Google has observed steep click declines when advertisers have attempted to
O




shift budget to display advertising. For example, when automobile manufacturer Chevrolet

decided to suspend its search advertising campaign for two weeks, and rely on display

advertising alone, it lost 30 percent of total clicks on its website. 400

        In recent years there has been some perceived convergence between the functions of

display and search advertising. 401 With varying degrees of success, both display and search




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advertising can be used for branding and awareness, and both can be used for direct
                                                                                                        !':T
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response.   402
                  Nevertheless, search ads remain distinct because they lack the media-rich,            L.

flashy graphi~s and interactivity of display ad formats. 403 Conversely, display advertising is

far less successful at generating direct sales because, unlike search ads, display ads are not
                                                                                                        r
                                                               404
targeted to potential customers at the moment of purchase.           As noted earlier, users click on




                                                                        O
                                                                                                        r      -
display ads far less frequently than on search ads. 405                                                 !




                                                                     IC
        As online advertising continues to evolve, new offerings have appeared that do not fit

·squarely into the traditional search and display categories: contextual advertising; re-targeted




                                                          T
                                                       LI
display (or behavioral) advertising; and social media advertising. 406 Of all forms of online

                                            PO
advertising, only search advertising allows advertisers to show an ad based on what the user

is expressing an interest in at the moment the ad is shown. 407 Numerous advertisers have

confirmed this point. 408 Because of this critical advantage, search advertisements "convert"
                                 by

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at much higher rates than other types of advertisements, 409 and are considered by many

                                                                                        °
advertisers to be, by far, the most effective form of online advertising available. 41 For              I
                          d


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example, according to Amazon, "no other advertising channel comes close, and none can                   r
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substitute for search advertising."411
      ai




        Numerous advertisers report that they would not shift advertising spend away from
bt




search advertising, even in the face of large price increases. 412 In formal responses to

interrogatories, advertisers have stated that "there is no substitute for search advertising," and
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that, in response to price increases far more significant than SSNIP, they would continue to            L
invest in search advertising. 413 For example, it would take at least a 100 percent increase in
                                                                                                        [
the cost of search advertising before Living Social would begin shifting spend to other forms




                                                  71
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of advertising. 414 However, a minority of advertising agencies and advertisers said they

would move advertising ~ollars away from search advertising in response to a SSNIP. 415

       Google's internal documents and testimony confirm that there is currently no viable

substitute for search advertising. Both AdWords vice-president of product management Nick

Fox and chief economist Hal Varian have previously stated that search advertising spend




                                                                       O
                                                             416
does not come at the expense of other advertising dollars.         And former Google CEO Eric




                                                                    IC
Schmidt has twice testified unequivocally - in both this investigation and in a prior




                                                        T
Department of Justice investigation - that search advertising is "the most effective tool for




                                                     LI
reaching the customers that are actually prepared to buy,"417 and "has the best ROI of any

advertising as best we can determine."418PO
       Both the Commission and the Department of Justice have previously found online

"search advertising" to be a distinct product market. Specifically, in 2007, the Commission
                                 by

noted that "advertisers purchase different types of ad inventory for different purposes," and

concluded that "the sale of search advertising does not operate as a significant constraint on
                       d



prices or quality of other online advertising."419 The Department of Justice found that search
        ne




advertising was a relevant antitrust market in 2008, and again endorsed search advertising as
      ai




a relevant market in 2010. 420
bt




       While no court has yet determined that search advertising constitutes a relevant

market, courts have repeatedly recognized narrow advertising markets. For example, in
O




Times-Picayune Publishing Co. v. United States, 421 the Supreme Court identified newspaper

advertising as a unique antitrust market. There, the Court held that there were two "separate

though interdependent markets" - one market for selling news and ads to readers and a




                                               72
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separate market for selling the readership to newspaper advertisers. 422 Courts have followed
                                                                                                      r
that lead, typically identifying advertising markets within media separately.   423                   L
                                                                                                      i
        However, a recent district court case concluded that search advertising is not a              i
                                                                                                      I




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distinct market for antitrust purposes. 424 In reaching this conclusion (on a motion to dismiss),     c
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the judge appears not to have considered any of the unique characteristics of search




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                                                                                                      r
advertising. 425 The analysis, in any event, was very limited. On balance, we believe the




                                                                  IC
evidence points strongly toward search advertising as a separate market.




                                                         T
       Like the relevant geographic market for horizontal search, the relevant geographic




                                                      LI
                                                                                                          F
market for search advertising limited to the United States. 426

                                          PO
       Google, through its AdWords platform, is the dominant provider of search advertising

in the United States, with between 76 and 80 percent of the market, according to several                  L


in<!1=1~try-wide markettrackers,4~ 7 and son1e 13111illion advertisers in the U.S.
                                                                                     428
                                                                                           Google's       r
                              by
                                                                                                          I




principal rival is the combination of Bing-Yahoo!, which, as noted earlier, operate a joint

search advertising network, and combine to represent between 12 and 16 percent of the                     L
                       d



market. 429 Bing and Yahoo! together have approximately 313,000 advertisers. 430
        ne




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                       c.      Syndicated Search and Search Advertising ("Search
                               Intermediation")
      ai




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       Syndicated search and search advertising (or "se_arch intermediation") likely
bt




                                                                                                          r
constitutes a properly defined product market. As described earlier, horizontal search                    IL
O




providers sell - or "syndicate" - their services to other websites. Thus, when a user goes to a           r
                                                                                                          L
website, he or she can run searches on that site through a search box, which is "powered" by

a search engine. The search engine can also return search advertisements to the website.

When the user clicks on an advertisement, the search engine and the website share the                     r

                                                                                                          L
revenues.
                                                                                                          r   I
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                                               73
                                                                                                              r
                                                                                                              L
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       The consumers in this market are the publisher websites that wish to provide search

services and return search advertisements on their websites, while the sellers are the

horizontal search providers, Google, Bing, and Yahoo! .431

       Staff has interviewed a number of publishers of various sizes, and they provide very

consistent responses on the issue of cross-elasticity of demand. Publishers report that search




                                                                     O
and search advertising syndication monetizes better than display advertising or other content




                                                                  IC
that they might place on their websites. 432 The publishers do not view other forms of

advertising as viable substitutes for search and search advertising syndication. 433 None of the




                                                         T
                                                      LI
publishers told us that a modest (5 to 10 percent increase) in the price for search and search

                                          PO
advertising syndication would cause them to shift away from search and search advertising

syndication in favor of other forms of advertising or web content. 434

       Further support for this relevant market comes from Google's efforts to
                              by

systematically reduce TAC, or the amount of money Google shares with the publisher from

syndicated searches. A decline in revenue share is effectively a price increase to the
                       d
        ne



publishers. A number of the publishers have seen their revenue share from Google decline

significantly in recent years as a result of Google's efforts. 435 Of the publishers Staff has
      ai




interviewed, none have reduced or eliminated their use of search and search advertising
bt




syndication in response to these price increases. 436 In effect, Google's successful efforts to
O




systematically to reduce revenue share constitutes a natural experiment to determine the

likely response to a SSNIP. The publishers' response to Google's price increases has been

universally consistent with the proposition that search and search advertising syndication

(search intermediation) is a relevant market.




                                                74
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                                                                                                   L
                                                                                                   r
                                                                                                   l
         The evidence gathered in Staffs investigation is consistent with the Department of
                                                                                                   r
                                                                                                   L
Justice's conclusion on the same issue. The Department of Justice previously recognized

"search syndication" as a distinct product market, with only three significant market              F
                                                                                                   l
                                                                                                   L.

                                               437
participants: Google, Yahoo!, and Microsoft.

         Like the relevant geographic markets for both horizontal search and search




                                                                      O
advertising, the relevant geographic market for search and search advertising syndication




                                                                   IC
(search intermediation)~ the syndication of these same services - is limited to the United

States. 438




                                                        T
                                                     LI
                                                                                                   F
         Google, through its AdSense platform, is the dominant provider of search and search

                                          PO
advertising syndication services, with some 75 percent of this market, according to

ComScore. 439 Microsoft and Yahoo! collectively account for at least another 22 percent. 440

                2.      Substa11t~3:! Barriers. to Entry E:xist.
                              by

         The provision of Internet search and search advertising, and consequently, the

syndication of these services, are characterized by substantial entry barriers. Specifically,      L
                       d
         ne



developing and maintaining a competitively viable search or search advertising platform            i
                                                                                                   L
requires substantial investment in specialized knowledge, technology, infrastructure, and
       ai




time. These markets are also characterized by significant scale effects.                           l
bt




                                                                                                   r
                        a.     Technology and Specialization
                                                                                                    :
                                                                                                   L
         A search engine requires algorithmic technology that enables it to search the Internet,
O




                                                                                                       r
retrieve and organize information, index billions of regularly changing web pages, and return      l
relevant results instantaneously that satisfy the consumer's inquiry. 441 Developing such
                                                                                                    r  L
algorithms requires highly specialized personnel with high levels of training and knowledge
                                                                              442                      r
in engineering, economics, mathematics, sciences, and statistical analysis.                            l

                                               75
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                        b.     Substantial Upfront Investment

       Along with specialized algorithms, search and search advertising platforms require

enormous investments in the technology and infrastructure required to crawl and categorize

the entire Intemet. 443 For instance, in 2011, Google spent more than $5 billion on research

and development, although this figure is inclusive of all of Google's divisions. 444 And, in




                                                                    O
2010, Microsoft invested more than $4.5 billion into developing its algorithms and building




                                                                 IC
the physical capacity necessary to operate Bing. 445




                                                          T
                       c.      Scale Effects




                                                       LI
       As discussed at length earlier, Internet search, search advertising, and search

                                         PO
syndication are markets that are characterized by substantial scale effects. As more

consumers use a general search engine, its search algorithms are honed to improve its

accuracy in retrieving the information that consumers want. More users also leads to an
                              by

increased number of advertisers. And, as the number of advertisers that place ads - and the

number of consumers who click on those ads - increases, the ad-serving algorithms improve
                       d
         ne



their ability to predict what advertisements stimulate consumer "clicks." This, in tum,

increases monetization for the search engine, its advertisers, and its syndication partners,
       ai




which leads to the cyclical effect of greater participation by both advertisers and publishers.
bt




This effect, which has been termed the "virtuous cycle," represents a significant barrier for
          . 1entrant. 446
O




any potentrn

       Indeed, according to Microsoft, its greatest barrier is obtaining sufficient scale

through its collection of search and advertising data, and it faces an enormous task in trying ·

to catch up with Google. Despite substantial investments in technology and infrastructure,

Microsoft has yet to make a significant dent in Google's market share, and has been losing




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some $2 billion per year as it attempts to effectively compete against Google. 4~7 Indeed, the
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continuing viability of Bing - the only competing horizontal search platform to Google - is

today in question. 448
                                                                                                     f
                                                                                                     L

                         d.      Reputation, Brand Loyalty, and the "Halo Effect"

          New entrants may face a significant barrier in attempting to supplant Google as the        L




                                                                     O
household name in search. Google has used its reputation and brand name to its advantage,




                                                                  IC
introducing a myriad of new products and services that work to keep users within the Google
                                                                                                     r
                                                                449




                                                         T
world, through what Microsoft has termed the "halo effect."           This refers to the             L_




                                                      LI
phenomenon that consumers who use a vertical website owned by a general search engine                r
                                                                                                     L




engine.   450
                                           PO
may be more likely to use the affiliated general search engine than a competing search
                                                                                                     r


          Accorcling to ,Microsoft, the fact that Google directs users to its own - as opposed to    r
                               by

                                                                                                     L
its competitors' -various vertical websites tends to drive general search traffic back to
                                                                                                     F


Google.com, magnifying scale effects, and reinforcing Google's position in the search and
                         d
        ne



search advertising markets. This is confirmed by Google. ·As former Google CEO Eric
                                                                                                     L

Schmidt has previously attested:
                                                                                                     r
      ai




                 "One of the things that we've learned is that ifwe have a powerful so called        L
                 vertical site that does something really, really neat, that person is more likely
bt




                 to use Google in its traditional ways and therefore click on our ads."451
                                                                                                     l
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                         e.      Exclusive and Restrictive Agreements

       . Google's exclusive and restrictive agreements pose yet another barrier to entry, as

many potential syndication partners with a high volume of customers are locked into                  r
                                                                                                     I
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agreements with Google. These agreements act as barriers that prevent Bing and Yahoo!

from offering competing syndicated search and search advertising platforms to highly-


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trafficked websites, which, in tum, magnifies the problems of scale effects. In addition, the

exclusive agreements act as barriers to smaller, more specialized search advertising platforms

(e.g., a network specializing in local Washington, D.C.-based advertising, or in specific

categories, such as travel).

        B.      GOOGLE HAS ENGAGED IN EXCLUSIONARY CONDUCT




                                                                    O
        Conduct may be judged exclusionary when it tends to exclude competitors "on some




                                                                 IC
basis other than efficiency," i.e., when it "tends to impair the opportunities ofrivals" but




                                                        T
"either does not further competition on the merits or does so in an unnecessarily restrictive




                                                     LI
way."452 In order for conduct to be condemned as "exclusionary," Staff must show that

                                          PO
Google's conduct likely impairs the ability of its rivals to compete effectively, and thus to

constrain Google's exercise of monopoly power. 453

                1.      Google's Preferencing of Google Vertical Properties Within Its
                               by

                        SERP

        As described earlier, Staff has investigated whether Google is unlawfully
                       d


preferencing its own vertical content over that of rivals, while simultaneously demoting rival
         ne




vertical websites, in order to maintain, preserve, or enhance its monopoly power in the

markets for search and search advertising. Although we believe that this is a close question,
       ai




we conclude that Google's preferencing conduct does not violate Section 2.
bt




                        a.     Google's Product Design Impedes Vertical Competitors
O




        "As a general rule, courts are properly very skeptical about claims that competition

has been ha1med by a dominant firm's product design changes .... Judicial deference to

product innovation, however, does not mean that a monopolist's product design decisions are

per se lawful. " 454 In United States v. Microsoft, the D. C. Circuit concluded that several




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                                                                                                    l
technical actions undertaken by Microsoft, in order to integrate its Internet Explorer browser
                                                            455
into its Windows operating system, were anticompetitive.

        Here, we evaluate Google's conduct through the Microsoft lens of monopoly                   fI
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maintenance: whether Google took these actions in order to impede a nascent threat to
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Google's monopoly power in the markets for search and search advertising. 456 Google's




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internal documents explicitly reflect - and testimony from Google executives confirms - a




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concern that Google was at risk of losing, in particular, highly profitable queries to vertical

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                                                        T
websites. As vice president of product management Nicholas Fox noted in May 2009,




                                                     LI
Google's                                                                                            r

                                               PO
                inability to serve this segment [of vertical lead generation] well today is
                negatively impacting our business. Query growth among high monetizing
                queries (>$120 RPM) has declined to ~0% in the UK. US isn't far behind
                                                                                                    r

                (~6%). There's evidence (e.g., UK Finance) that we're losing share to
                ~ggregators. 457                                            ,
                                by

        The potential competitive threat to Google addressed here is not that the vertical
                                                                                                    r
websites will displace Google entirely, but that, collectively, they will undercut Google's         I
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        ne



power over the most lucrative segments of its search and search advertising portfolio.

Additionally, the vertical websites could help erode barriers to growth for general search
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      ai




competitors, such as Microsoft, that are positioned to compete with Google acro'ss the board        L
bt




rather than in a few smaller, distinct categories. This theory- advanced by Microsoft-
                                                                                                    l
posits that the proliferation of vertical websites creates a healthy "ecosystem." In tum, this
O




ecosystem allows a provider of general search to compete with Google by partnering with

various vertical websites, rather than having to serve the market at multiple different levels to

attract users and, in turn, advertisers. 458




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       The theory of harm to competition is mainly one of reduced innovation: that, when

faced with Google's seamless ability to enter into highly monetizable categories of

commerce and simultaneously to disadvantage its competitors, existing competitors cannot

innovate at the same pace; new or innovative vertical websites will cease to enter the market;

and consumers will be faced with a corresponding reduction in innovation and choice. 459




                                                                  O
                       b.      Google's SERP Changes Have Resulted In Anticompetitive
                               Effects




                                                               IC
       Google's conduct has resulted in significant harm to rival vertical websites in a




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number of different categories. As described earlier, in the comparison shopping category -




                                                      LI
one of the first areas in which Google vigorously expanded its own offering, while
                                          PO
simultaneously demoting rival offerings - many rival websites have experienced significant

declines in traffic. Data obtained from NexTag and Shopping.com, among others, suggests
                              by

that, as a result of Google's conduct, these websites have experienced significant drops in

traffic. Google's internal data confirms this impact. 460
                       d


       Simultaneously, Google's prominent placement and display of its Universal Search
         ne




properties led to gains in user share for its own properties. For example, Google's inclusion

of Google Product Search as a Universal Search result turned a property that the Google
       ai




product team could not even get indexed by Google's web search results into the number one
bt




viewed comparison shopping website on Google. 461
O




                       c.      Google's Justifications for the Conduct

       Google claims that the conduct under review improves its product and benefits users.

"[A] design change that improves a product by providing a new benefit to consumers does

not violate Section 2 absent some associated anticompetitive conduct." Allied Orthopedic

Appliances, Inc. v. Tyco Health Care Group LP, 592 F.3d 991, 998-99 (9 th Cir. 2010).


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                                                                                                      [
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 Product design change-is an area of conduct where courts do not tend to strictly scrutinize

 asserted procompetitive justifications.462 In any event, Google's procompetitive

 justifications are compelling.                                                                       r
                                                                                                      L
         For example, Google argues that any design changes to its SERP have improved its             r
                                                                                                      I


 product by providing consumers with direct, relevant, and "better" results. Specifically,




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 Google asserts that its Universal Search results are an "inherent aspect" of Google's overall




                                                                      IC
 search results "that help render Google's search results more relevant and useful to users." 463




                                                             T
 It seems clear that Universal Search is a useful improvement to the product. Both Yahoo!




                                                          LI
 and Microsoft appear to generally agree that Universal Search results are relevant and useful        r
                                                                                                      L_
             464
 to users.                                     PO
                   While each search platform serves up its vertical content in different ways, the

 fact that all three major search engines offer some equivalent of Universal Search makes it
                                                                                                          r



_ difficult to dispute that users pla_ce a_~igh value on being_ able to obtain specialized results.   r
                                   by

         Moreover, Google corr~ctly notes that the path from "10 blue links" toward a more
                                                                                                      r
 comprehensive provision of thematic results long predates Google's formal introduction of            l
                            d



 Universal Search in 2007, 465 and that Google's introduction of certain "OneBox" results on
          ne




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 its SERP predate Google's alleged concern about any potential "vertical threat." For
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 example, in 2003, Google began showing some product results through a Froogle OneBox at              l.
bt




 the top of its search results page, 466 and in 2004, began displaying some local results in a        r
                                                                                                      l
 Local OneBox at the top of the page. 467
O




         Google justifies the preferential placement of its Universal Search content by
                                                                                                      i
                                                                                                      L
 asserting that the "apples and oranges" problem prevents Google from doing a head-to-head            r
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                                                                                                      L
 comparison of its property versus competing vertical properties. This seems to be correct.
                                                                                                      f
 Google's method of rankings its properties does create an inability to directly compare the          I
                                                                                                      l



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results. Google _measures the quality of its verticals by assigning relevance values to each

individual vertical result, i.e., to each merchant in a specific product search, or to each

location in a local search (which may be ranked by popularity, rating, number of Google

reviews, distance, and other factors).

        Google's web search results, on the other hand, receive a score based on the text read




                                                                     O
from crawling the contents of the page. Based on the crawled text, the pages are rated using




                                                                  IC
factors such as click-through rates (i.e., how often previous users clicked on the page),

commerciality (i.e., whether the page has too many ads), and the page's PageRank. 468 With




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                                                      LI
Google's current algorithms, Google cannot directly compare, say, the ranking for a specific

                                          PO
restaurant (in its own local results) to the ranking for an entire web page (in someone else's

local results). 469 On the other hand, Microsoft has told us that Bing uses a si_ngle signal-

click-through rate - to determine where to place the Universal Search content within the
                              by

organic search results. 470

        Google's justification for promoting its own properties above that of competing
                        d
         ne



properties automatically when those properties appear (recall the algorithms that boosted

Google Product Search to the top of the SERP whenever another comparison shopping
       ai




website was deemed relevant) is not as strong, but still has some force. Google's
bt




justification for this conduct is that, if another vertical property is deemed relevant by
O




Google's algorithms, Google's vertical property must also have high quality results - and

Google's rich Universal Search results are more helpful to the user than "blue links" to other

comparison shopping websites.

        Google's justification for surfacing only (or mainly) Google-sourced content - rather

than third-party vertical content-within its Universal Search results is less convincing.




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Google notes it is industry practice to show only the search engine's results in the vertical.
                                                                                                      f
                                                                                                      )
                                                                                                      L
Google also claims that serving third-party data in its Universal Search results would create

significant technical and latency (speed) issues. The evidence shows that it would be                 f
                                                                                                      i

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technologically feasible to serve up third-party results in Google's Universal Search results.
                                                                                                      r
                                                                                   471
Indeed, Bing does this today with its flight vertical, serving up Kayak results;         and Google       L_




                                                                     O
                                                                                                          r
itself originally considered third-party OneBoxes. 472




                                                                  IC
       Google also vigorously defends its "demotion" of certain vertical content, arguing

                                                                                                      L




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that Google's algorithms are designed solely with the goal of improving a user's search




                                                      LI
experience. 473 It is true that most firms naturally want to appear prominently in Google's           f


                                           PO
natural search results, and, today, entire businesses are devoted to helping companies

improve their ranking on Google's SERP. Companies seeking prominence in Google's
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sea~ch results e~p!gy a 'Y_tde variety of strategies to improve their visibility. Google has a
                              by

substantial interest in protecting its search results from being "gamed" by websites for
                                                                                                          I
commercial gain, and so is consta:t;itly tweaking and adjusting its algorithms in order to            l
                       d
        ne



protect the integrity of its search results. Google can legitimately claim that it needs to           f
                                                                                                      L
demote undesirable websites in order to improve the quality of the user experience. Staff has
                                                                                                      r
      ai




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certainly uncovered contemporaneous evidence suggesting that improving search experience              I
                                                                                                      L
bt




was at least one goal of Google's algorithm changes, including algorithms that specifically           r
                                     474
O




demoted certain vertical websites.
                                                                                                      f
       However, one aspect of Google's demotions that especially troubles Staff- and is not           L
addressed by the above justification - is the fact that Google routinely, and prominently,            r
                                                                                                      l
                                                                                                      l
displays its own vertical properties, while simultaneously demoting properties that are
                                                                                                      (
                                                                                          475
identical to its own, but for the fact that the latter are competing vertical websites.
                                                                                                      l
                                                                                                      r
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Google's defense for this conduct essentially boils down to "user expectations." Sergey Brin

testified that Google's showcasing of its Universal Search results is not inconsistent with the

demotion of other similar vertical content because Universal Search represents a "mode

change" for users. 476 According to Brin:

                So when you search for products rather than searching for web pages, I feel
                like that's more of a mode change. You know, you're switching- in fact, you




                                                                      O
                can switch . . . . You can switch to product mode. And I think that would be
                confusing in the user interface if you were to just get a web link, you know,




                                                                   IC
                that looked like a normal Google result and yet it takes you to another Google
                search. I think people understand mode changes. They might understand




                                                          T
                resorting something in a different way. But I think ultimately when you click
                on an individual [web] link, you want to get an answer. You don't want to get




                                                       LI
                another set of search results. 477

                                           PO
        In other words, Google's position is that, if a user conducts a search on Google for a

product, that user is looking for Google's search results, not another list of search results

from another search provider. However, Google has presented no evidence of user
                               by

expectations in this area. 478 Indeed, Google's vertical properties are typically not labeled as

"Google" results, and thus, outwardly at least, provide no cue to a user that he or she is
                       d



"switching" to a different mode of Google search. 479 Nevertheless, Brin testified that "the
         ne




user interface is pretty clear"480 - "the link that says 'shopping results for' is clearly a
       ai




specialized part of the interface. It doesn't appear to be just like another web page."481
bt




                        d.      Google's Additional Legal Defenses

        Setting aside efficiency justifications, Google has argued - successfully in several
O




litigations - that it owes no duty to assist in the promotion of a rival's website or search

platform, and that it owes no duty to promote a rival's product offering over its own product

offerings. 482 Indeed, one reading of Trinka and subsequent cases is that Google is privileged

in blocking rivals from its search platform unless its conduct falls into in one of several




                                                 84
Case 5:24-cv-06101-SVK Document 24-3 Filed 10/28/24 Page 95 of 171                                f:

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specific exceptions referenced in Trinka (e.g., where there is an affirmative voluntary prior
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                                                                                                  I
                                                                                                  I

course of dealing). 483 Alternatively, one may argue that Trinka should not be read so broadly    "--




as to overrule swathes of antitrust doctrine. 484

       Additionally, Google has long argued that its general search results are opinions that
                                                                                                  r
are protected speech under the First Amendment, and that such speech should not be subject        L




                                                                    O
to government regulation. 485 In Search King Inc. v. Google Technology, 486 plaintiffs alleged    r




                                                                 IC
that Google's search results were not objectively accurate. Google argued, and the Western
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District of Oklahoma agreed, that, while the PageRank search process might be objective, the




                                                     LI
search algorithms themselves are not, making search results a form of subjective speech

protected by the First Amendment. 487 - Later decisions have called this conclusion into
                                          PO
question, 488 and Staff believes that Google's assertion of First Amendment protection here is    l_ -



overbroad.
                              by

                                                                                                  L_
       Moreover, Search King did not examine whether Google's search results constitute
                                                                                                  r
"commercial speech," the content of which is subject to regulation under certain
                       d
        ne



circumstances. This is because Search _King long predates Google's introduction of                1


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Universal Search, which blends its own commercially-oriented vertical content with its
      ai




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natural search results. A finding that Google's search results constitute expressions "related
bt




solely_ to the economic interests of the speaker and its audience" would likely alter the First
                                                                                                  r
                                                                                                  I
                                                                                                  l
Amendment analysis. 489 Speech that "is 'linked inextricably' with the commercial
O




arrangement that it proposes" gives the federal government an interest in the speech,

particularly when the underlying commercial transaction is one that can be regulated by the       f
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govemment. 490




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                                                                                                  L
                                                85
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       In sum, Staff acknowledges the difficulties inherent in this area of the investigation,

not only because of the legal hurdles we would face, but because of the ~trong

procompetitive justifications Google has set forth. We are faced with a set of facts that can

most plausibly be accounted for by a narrative of mixed motives: one in which Google's

course of conduct was premised on its desire to innovate and to produce a high quality search




                                                                   O
product in the face of competition, blended with the desire to direct users to its own vertical




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offerings (instead of those ofrivals) so as to increase its own revenues. Indeed, the evidence




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paints a complex portrait of a company working toward an overall goal of maintaining its




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market share by providing the best user experience, while simultaneously engaging in tactics

                                         PO
that resulted in harm to many vertical competitors, and likely helped to entrench Google's

monopoly power over search and search advertising. The determination that Google's

conduct is anticompetitive, and deserving of condemnation, would require an extensive
                              by

balancing of these factors, a task that courts have been unwilling - in similar circumstances -

to perform under Section 2. Thus, although it is a close question, Staff does not recommend
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        ne



that the Commission move forward on this cause of action.

               2.      Google's "Scraping" of Rivals' Vertical Content
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       As described earlier, Staff has investigated whether Google has unlawfully "scraped"
bt




- or appropriated - the content of rival vertical websites in order to improve its own vertical
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products, so as to maintain, preserve,. or enhance its monopoly power in the markets for

search and search advertising. We conclude that this conduct violates Section 2 and Section

5.




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                                                                                                          l
                                                                                                          r
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                              a.         Google's "Scraping" Constitutes a Conditional
                                         Refusal to Deal or Unfair Method of Competition                  f
                                                                                                          L
          Google's "scraping" of rivals' content to improve its own vertical products - and its               !~

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threatened refusal to deal with some of these competitors - may be appropriately condemned                L

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as a conditional refusal to deal under Section 2. In Verizon Communications Inc. v. Law                   \

                                                                                                          L.
                                   491
Offices of Curtis V. Trinka,             the Supreme Court reiterated "the long recognized right of [a]




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trader or manufacturer engaged in an entirely private business, freely to exercise his own




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independent discretion as to parties with whom he will deal." 492 However, the Court




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                                                                                                          L
acknowledged that, "[u ]nder certain circumstances, a refusal to cooperate with rivals can




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                                                              493
constitute anticompetitive conduct and violate § 2."
                                                  PO
          Identifying those "circumstances" have been the subject of much debate in the post-             r

Trinka world. In affirming the holding of Aspen Skiing Co. v. Aspen Highlands Skiing
                                                                                                          r
                                     by

        494                                                                  495
Corp.         -   albeit~ a-s "at or near the outer boundary of§ 2-liabiiity''     -   the Trinka court

provided some clues as to the continuing viability of the doctrine. At issue in Aspen Skiing
                                                                                                          L
                             d


was the termination by the defendant of a joint, multiple-day, all-ski area ticket issued by the
          ne




defendant (owner of three out of four ski areas in Aspen) and the plaintiff (owner of the

fourth ski area in Aspen). After repeatedly demanding an increased share of the joint profits,            r
        ai




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the defendant finally canceled the joint ticket. The defendant also rejected the plaintiff's
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"increasingly desperate measures" to recreate the joint ticket, ultimately even rejecting the
O




plaintiff's offer to buy defendant's tickets at the retail price. Under these circumstances, the          r
                                                                                                          L
Supreme Court upheld the jury's finding of liability under Section 2. 496

          The Trinka court suggested that the Aspen Skiing defendant's                                    rL
                      unilateral termination of a voluntary (and thus presumably profitable) course       r
                      of dealing suggested a willingness to forsake short-term profits to achieve an
                      anticompetitive end. Similarly, the defen_dant's unwillingness to renew the
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                                                                                                          L
                                                        87
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                ticket even if compensated at retail price revealed a distinctly anticompetitive
                bent.497 .

        Appellate courts have focused upon Trinka 's reference to the "unilateral termination

of a voluntary course of dealing," as a critical limitation upon a monopolist's discretion in

determining whether to deal with a rival. For example, in American Central Eastern Texas

Gas Co. v. Duke Energy Fuels LLC, 498 the Fifth Circuit upheld an arbitrator's determination




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that the defendant natural gas processor's refusal to contract with a competitor for additional




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processing capacity was unlawful. Plaintiff was both a "gatherer" and "processor" of natural




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gas. The plaintiff alleged that, because it was not economically feasible to open its own




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processing plant, it contracted with the defendant for processing capacity. 499 After two years
                                            PO
of using the defendant's processing plant, when the plaintiff entered into renegotiations for

additional capacity, the defendant proposed terms that it "knew were unrealistic or
                                by

completely unviable" to the plaintiff, including a very high price, "in order to exclude [the

plaintiff] from competition with [the defendant] in the ... gas processing market." 500 The
                        d


Fifth Circuit upheld the arbitrator's conclusion that the defendant unlawfully refused to deal
         ne




with the plaintiff, acknowledging that, while courts "must be cautious in finding exception to

the right to .refuse to deal," here, the defendant's refusal, in the context of a "prior course of
       ai




dealing" with plaintiff, supported a finding of liability. 501
bt




        Here, much like in Aspen Skiing and Duke Energy, there is a compelling narrative
O




regarding a prior voluntary course of dealing. Specifically, Google had long-established,

voluntary, and mutually beneficial licensing agreements with both Yelp and TripAdvisor.

Through its agreements with these (and other) third parties, Google secured relevant and

high-quality content for its web search product. In exchange, through their presence in




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                                                                                                  r.
                                                                                                  l


Google's web search results, Yelp, TripAdvisor, and others secured web traffic, and grew
                                                                                                  rl
their own businesses.

        Google developed and launched directly competing products, and then changed its           r
                                                                                                  L
relationship with these websites, seeking to develop its own vertical offerings by scraping the

content of its partners, such as Yelp and TripAdvisor. When the websites balked at Google's




                                                                    O
attempt to free-ride on their content in this manner, Google threatened to refuse to deal with




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these websites altogether, despite the parties' long-standing "voluntary (and thus presumably

profitable) course of dealing."502 Like the Aspen defendant, Google had no efficiency




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justification for its threatened refusal to deal. 503 Rather, Google's threat to remove high      r

                                         PO
quality content that was relevant to - and desired by- it users (so desired, in fact, that

Google appropriated and incorporated the content into its own local product) would clearly
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degrade _Google's ownp,,-_oduct.                                                                  r
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        Thus, the only logical explanation for Google's conduct is that Google took these

actions in order to force its partners to allow it to appropriate the valuable content they had
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created. Indeed, Google's ability to use Yelp' s content depended entirely on its monopoly
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power over general search. Twice, when Yelp was faced with a similar situation with
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Microsoft, Yelp did not hesitate to threaten to block Microsoft from crawling Yelp's website      l_
bt




altogether. 504 In both cases, Microsoft negotiated with Yelp to change the way it displayed

Yelp's data. 505 By contras~, when presented with an all-or-nothing choice by Google- either
O




to allow Google to use its content in Google Local, or to risk removal from Google's search       L
index altogether - Yelp reacted very differently, continuing to allow Google to crawl Yelp
                                                                                                  [
and to use its content in Google's local vertical offering. 506 As Professor Herbert
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Hovenkamp has warned: "We will very quickly lose the social gains to be had from
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collaborative networks if we permit one dominant firm to run away with all of the private

gains once it is in a position to do so."507

           There are some distinctions between the conduct in Aspen and Google's conduct here

that bear mention. First, the exchange of value here is non-financial. The benefit to Google

accrues from securing high-quality co1'1:tent, while Google's partners secure traffic. However,




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this distinction appears to be insignificant. Whether the payment is in the form of dollars or




                                                                 IC
other benefit is of little consequence to the purpose or effect of Google's threatened refusal to

deal.sos




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           More importantly, Google ultimately did not "refuse" to deal with Yelp, and their

                                           PO
relationship continues to this day. While Google never followed through on its threat to

remove these websites entirely from its web search results, it is clear that Google's threat was.

intended to produce, and did produce, the desired effect (for a significant period of time),
                                by

which was to coerce Yelp and TripAdvisor into backing down on their efforts to have their

valuable content removed from the Google Local product. Google's threat also sent a
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message to the broader marketplace that Google could, and would, use its monopoly power

over search to extract the fruits of its rivals' innovations. Consequently, Google's threat
       ai




itself - although not a consummated refusal to deal - may be challenged as exclusionary
bt




conduct. 509
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           This theory of exclusion does not reach the search preferencing conduct we assessed

supra at pp. 78-86. Here, we view the evidence of benefit to Google stemming from its

licensing agreements with third-party content providers as offering the critical distinction.

Google's long-standing licensing agreements with parties such as Yelp and TripAdvisor offer

clear and convincing proof not just of an affirmative relationship between Google and these




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complainants, but also of Google's clear benefit from its relationships with these parties -
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thus providing the critical intent evidence that is missing from the search preferencing case.      \...




       While the Universal Search complainants assert that Google's previous inclusion of           r
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their websites in Google's web search results constitutes proof of a "voluntary" relationship

that benefited Google, this argument is not sufficient to create the necessary proof. The act       l




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of categorizing and returning websites to users is at the very heart of what Google does. It




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would defy logic to argue that, simply by virtue of indexing hundreds of billions of web
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pages (and returning millions of websites in its general web search results), Google has            l




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formed a relationship with each and every one of these websites. And it would be even

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further afield to argue that, the fact that Google at one time returned its web search results in

a one manner, and has since ch~nged the manner in which it returns those web results,               l

c9nstitutes evidence that Google is abandoning some "presuma~ly profitable" course of               r
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dealing in favor of destroying competition. Google is certainly entitled to change the manner
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in which it returns its web search results, even if those changes disadvantage its competitors.
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       However, we also understand that this right is not unlimited. To that end, we believe
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that the "scraping" conduct engaged in by Google, in contrast to.the search biasing conduct,
      ai




goes beyond clearly established limits. This is because, here, Google not only changed its
bt




course of dealing toward rivals with whom it had long-standing licensing agreements, but            )

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also because Google acted in a manner clearly contrary to its own interests in so doing.
O




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       Even if the Commission determines that Google's scraping conduct does not rise to            L
the level of a Section 2 violation, the Commission might condemn the conduct as a stand-            r
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alone violation of Section 5 .. Indeed, a Section 5 claim could extend to Google's scraping

conduct even where no prior relationship existed (for example, Google's scraping of                 r
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Amazon's product ranking information, which was never part of any licensing agreement

between the parties). Under this approach, Google's conduct can be analogized to the

imposition of higher costs, through onerous tenns of dealing, on websites whose content

Google deems the most valuable to its own web search product. 510 Viewed in this way,

condemnation of Google's conduct depends not on any prior established relationship with the




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affected vertical websites, but rather, on Google's motivation in scraping content from high-




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quality vertical competitors - the motivation to keep vertical websites from siphoning users




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from Google's web search property (and thus; maintaining, preserving, or enhancing its




                                                    LI
monopoly position in the market for search).

                                         PO
       While a traditional Section 2 analysis relies on a prior course of dealing as a

gatekeeper, or a bright line proxy, for showing that the defendant's purpose·and effect was

anticompetitive, Section 5 empowers the Commission to demonstrate harm to the
                             by

competitive process in other ways. 511 For example, Google's threat (and willingness) to

degrade its own web search product - by banishing high-quality vertical websites from its
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web search results altogether - suggests that Google's motive in scraping high-quality
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content from its vertical competitors was not procompetitive.
      ai




                       b.     Google's "Scraping" Has Resulted In Anticompetitive
                              Effects
bt




       As described earlier, Google's "scraping" of the content of rival vertical websites has
O




resulted in hann to these vertical websites and, more broadly, to the competitive process.

Because Google scraped information over an extended period of time, it is difficult to point

to declines in traffic that are specifically attributable to Google's conduct. However,

Google's conduct has arguably lessened the incentives of vertical websites like Yelp,

TripAdvisor, CitySearch, and Amazon to innovate.


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       More broadly, the natural and probable effect of Google's conduct is to diminish the
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incentives of other vertical websites to invest in, and to develop, new and innovative

products.s 12 Entrepreneurs may be reluctant to develop new websites, and investors may be        f
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reluctant to sponsor that development, recognizing that Google can use its monopoly power
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over search to simply appropriate competing content that it deems lucrative to its own search




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empire. 513 Further, Google's conduct suggests that Google itself has failed to innovate, as it   r




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would have to have done in the absence of scraping content from its rivals.
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                       c.     Google's "Scraping" Is Not Justified By Efficiencies                L



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       Google's main defense for its conduct is that, by authorizing Google to crawl and
                                                                                                  L

                                        PO
index content, these websites, in effect, acquiesced to Google's use of this content in any

manner Google deemed appropriate. Google argues that websites like Yelp could simply

have refused to allow Google to crawl their content at any time. As discussed above,              r
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however, Yelp and others believed that remaining in Google's index was critical to survival,

and as such, could not afford to simply block Google from crawling their websites altogether.     L
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At no time was Google under the impression that its use of Yelp content in Google Local was
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acceptable to Yelp.
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       Marissa Mayer and Sameer Samat testified that it was extraordinarily difficult for         L
bt




Google, as a technical matter, to remove sites like Yelp from Google Local without also

removing them from its web search results.s 14 Google's almost immediate compliance after
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Yelp sent a formal "cease and desist" letter to Google, however, suggests that the "technical"    L
hurdles were not a significant factor in Google's refusal to comply with repeated requests to     i
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remove competitor content from Google Local.sis Indeed, parties have long been allowed to

"opt out" of inclusion with Google's vertical news offering, Google News.s 16


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        In sum, the evidence shows that Google used its monopoly position in search to

scrape content from rivals and to improve its own complementary vertical offerings, to the

detriment of those rivals, and without a countervailing efficiency justification. Google's

scraping conduct has helped it to maintain, preserve, and enhance Google's monopoly

position in the markets for search and search advertising. Accordingly, we believe that this




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conduct should be condemned by the Commission.




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               3.      Google's API Restrictions




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        Staff has investigated whether Google has employed anticompetitive contractual




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restrictions to prevent advertisers from using third-party tools to simultaneously manage

                                         PO
campaigns on Google's search advertising platform (AdWords) and rival advertising

platforms (e.g., Microsoft's AdCenter). As described earlier, Microsoft has alleged that

Google is denying Microsoft critical scale by employing these restrictions, and thus
                              by

impairing Microsoft's ability to compete effectively in the markets for general search and

search advertising. We conclude that Google's API restrictions violate Section 2.
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       Google's introduction of the AdWords API was a clearly procompetitive

development that benefitted advertisers, SEMs, and Google alike. However, the restrictive
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conditions in the API usage agreement have anticompetitive effects without offsetting
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precompetitive benefits. They impede the efficient use of advertisers' own campaign data,
O




creating additional, unnecessary transaction costs for advertisers that might wish to use that

data to run advertising campaigns on other search networks. The restrictive conditions are

not inherently tied to the product. Accordingly, we may evaluate Google's inclusion of the

restrictive conditions as a stand-alone act and weigh their anticompetitive effects against any

potential procompetitive benefits. 517




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        Should the restrictive conditions be found to be unreasonable restraints of trade, they

could be removed today instantly, with no adverse effect on the functioning .of the APL Any

additional engineering required to make the advertiser data interoperable with other search         r
                                                                                                    L
networks would be supplied by other market participants. Notably, because Google would

not be required to give its competitors access to the AdWords API, there is no concern about




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whether Google has a duty to deal with its competitors. 518                                         r




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                         a.    The Restrictive Conditions Are Unreasonable




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        The restrictive conditions limit the ability of advertisers to make use of their own data




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and, by doing so, they prevent the development and sale of third party tools and services that

                                         PO
would allow automated campaign management across multiple search networks. The

restrictions do not affect advertisers that build their own campaign management tools, nor do
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they a.m~ct third-party tools and services that_ manually export the calllpaign data and then       i
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upload that data into a campaign on another search network.

        While Google emphasizes how much is allowed under the terms and conditions, it is
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undeniable that the restrictions constrain the development and sale of cross-network
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campaign management tools and services. SEMs have had to remove campaign cloning
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functionality that they have developed. They are unable to develop or offer tools and               L.
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services that use algorithms - which can operate continuously and at scale - to perform             r
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cross-network campaign management and optimization. 519 Even Google is constrained by
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these restrictions, having had to forgo improving its DART Search tool to offer such                l
capabilities, despite internal estimates that such functionality would benefit Google and           r
advertisers alike. 520
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        The restrictive conditions are unreasonable if their anticompetitive effects outweigh

their procompetitive virtues. Our investigation has shown that the restrictive conditions do

not have any procompetitive virtues, whereas their anticompetitive effects, while difficult to

measure, are substantial.

                       b.      The Restrictive Conditions Have Resulted In
                               Anticompetitive Effects




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       The restrictive conditions harm competition in three broad ways. They reduce




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innovation, increase transaction costs, and degrade the quality of Google's rivals in search




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and search advertising.




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       As noted above, several SEMs have been forced to remove campaign cloning
                                          PO
functionality by Google. Beyond removing these products from the marketplace, Google's

restrictive conditions have created a profound disincentive for tool developers to innovate in
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this area. A high performance cross-network campaign management tool would need to be a

sophisticated product, able to allocate and adjust bids on keywords in different auctions with
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different and rapidly shifting competitive environments. However well the first-generation
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tools performed, it seems obvious that their performance would only have improved as SEMs

and their clients tested these tools in the field. Google's restrictive conditions stopped this
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market segment in its infancy. There would be little to no demand for a cross-network
bt




management tool without the prospect of accessing the dominant search network, AdWords.
O




       Google's imposition of the restrictive conditions has increased the transaction costs

for all advertisers other than those large enough to make the internal investments to develop

their own campaign management tools. 521 For the rest, they must devote additional staff time

to manage multiple parallel campaigns. Some may choose to use work-arounds, by which

they download their AdWords campaigns into CSV (or plain-text) files, make the requisite


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 changes, then upload them into other search networks - a process they must repeat every

 time they make any changes to their campaign (for active advertisers, this can be a step they
                                                                                                        [
 must make continuously). Others may just manage the campaigns separately. Either way, it               f
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 is clear that the cost of managing campaigns is higher than it would otherwise be, but for the

 restrictive conditions, and clearly transaction costs can decrease advertising spend. 522




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         Facing higher transaction costs, economic logic indicates that many advertisers would




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 forgo advertising on non-dominant search networks, while others who do advertise on the

 other networks spend less time managing those campaigns, with a corresponding decrease in




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 spend. 523 As noted above, multi-homing data appears to support the former effect. 524 As to

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the latter effect, as described earlier, a recent Microsoft study suggests that multi-homing

 advertisers bid on significantly more keywords on Google's AdWords platform than on

_Microsoft's f\dCen_!er__p}a!~()~,_p~rticularly on critical "tail" keywords. 525
                               by

        Google suggests that its API restrictions have de minimis effects because, as

described earlier, the largest advertisers (who account for a significant portion of overall
                        d


revenue) already multi-home. 526 But Google ignores the importance of the substantial              r
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number of smaller advertisers who do not multi-home. This group of advertisers is critical to
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Microsoft, not just in expanding its coverage over a larger portion of queries, but specifically   l.
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in covering "tail" queries, particularly those queries geared toward local markets. 527 For         r

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example, while Microsoft might be able to display a generic ad for 1-800-FLOWERS in
O




response to a query seeking "flowers in Washington, D.C.," Google would potentially have a         [
far richer offering in this area, with numerous smaller advertisers providing the user with a
                                                                                                   [
"fully built out set of choices."528
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        Moreover, Google ignores the possibility that even larger advertisers that multi-home

would do so more without the restrictions. As described above, Microsoft's internal studies

suggest that advertisers who advertise on both platforms do so unevenly and unequally, thus

leading to better, more targeted, and more relevant ads on AdWords than on AdCenter. As

described earlier, having the "right" ad for the "right" user at the "right" time is critical to a




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search engine's ability to improve its ad-serving algorithms and its revenue-per-search (or




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RPS). 529 The lack of smaller advertisers, combined with the lack of regular optimization by




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even the larger adve1iisers who advertise on both platforms, places Microsoft in a




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significantly inferior position to Google in terms of being able to provide that "right" ad for

the "right" user at the "right" time.     PO
       While the magnitude of these effects are unclear, their direction is clear: advertisers

are spending less on the non-dominant search networks. For advertisers, this means forgone
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advertising opportunities that presumably would have been profitable, but for the restrictive

conditions. For Google's rivals, the diminished spend resulting from the restrictive
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conditions means lost revenue, which diminishes their ability to invest in quality

improvements in search. The reduction in ads placed also reduces the overall quality of the
      ai




ads served on the rival search networks, which reduces the usefulness of the ads served to
bt




users, reducing, in tum, users' propensity to click on ads, an effect that broadly degrades the
O




quality of the rival search network. It is also possible, though more speculative, that reduced

ad quality may modestly reduce the usefulness of the rival search engines, particularly on

very commercial queries, which in tum may suppress the number of searches performed on

the rival networks. The degradation of Google's rivals both as advertising platforms and as




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search engines would be, in effect, the inverse of the virtuous circle from. which Google
                                                                                                        f
benefits.   530                                                                                         L

                          c.       The Restrictive Conditions Are Not Justified By                      I
                                   Efficiencies                                                         L
        The restrictive conditions are not functionally connected to the API in any way. They           f
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do not make it run faster, better or more securely. 531 The only justification Google offers for




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the restrictive conditions is to correct what Google calls a "misalignment of incentives" for




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SEMs and agencies serving as intermediaries between Google and advertisers seeking to                   r




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advertise on AdWords.           Google's stated concern is that SEMs and agencies have an




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incentive to cut engineering and personnel costs in developing tools and services for cross-
                                            PO
network campaign management, and, as a result, they will likely adopt a "lowest comm.on                 r
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denominator" approach, which would diminish the performance of campaigns run on
                                 by

AdW~~ds. 533 On~ Go~gl~- executive described SEMs' and agencies' 1ncent1ves asfollows:

                  There wasn't a lot of focus on what the return on investment was. It was more         r
                                                                                                        I




                  focused on the volume of clicks being driven through the system.. And, in             L.
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                  turn, they wanted to build the least cost software possible. And the way to do
        ne



                  that is to be able to put all this stuff together in one interface and race to what
                  we would call often the lowest comm.on denominator. Essentially ... cherry-           i
                                                                                                        le
                  picking the features from each ad network that were common, but not
                  necessarily showing the distinction or the qualitative pieces that were different
      ai




                  about each ad network to the advertiser. 534
bt




        This concern about "misaligned incentives" is the only justification offered by

Google for the restrictive conditions. 535 The evidence shows that this justification is
O




                                                                                                        i
unsubstantiated and is likely a pretext. All of the SEMs and agencies we spoke to described             L
the critical importance of delivering a high return on investment to their clients. 536
                                                                                                        i
                                                                                                        L
Numerous SEMs and agencies provide their services in a highly competitive environment. 537
                                                                                                        !
Economic logic dictates that SEMs and agencies that fail to deliver campaign management                 L
                                                                                                        r
                                                                                                        L
                                                  99
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tools that perform well will lose clients. In fact, even if SEMs and agencies were in no

danger of losing their clients' business, they would still have a strong incentive to improve

their clients' returns as a way to encourage their clients to spend more on search advertising,

increasing the third parties' commissions in the process. In a round-table discussion hosted

by Google, SEMs and agencies made this exact point to Google. 538 In brief, these third




                                                                   O
parties incentives are highly aligned with Google's interests, precisely the opposite of what




                                                                IC
Google contends. 539




                                                        T
       Google, meanwhile, is unable to identify any concrete examples of any ill effects




                                                     LI
from the purportedly misaligned incentives of SEMs and agencies. Google has represented

                                         PO
to advertisers and agencies that "we have found that advertisers experience higher returns

when all AdWords functionality is available to them in a clear,functionally discrete, and

coherent manner." 540 However, Google has no such evidence. 541 Google did investigate the
                              by

potential influence SEMs·would have on the rate of spending by their clients, and determined

that the spend for advertisers represented by SEMs increased at a higher rate than did spend
                       d



for other advertisers. 542 Google has not engaged in any experiments to determine what effect
        ne




relaxing the restrictive terms and conditions might have. 543
      ai




       Moreover, there is already a different provision in the API AdWords Terms and
bt




Conditions that adequately addresses any concern about misaligned incentives. As a

condition of using the API, SEMs and other tool developers are required to expose a Google-
O




defined set of minimum functionality. 544 The required minimum functionality provision

directly addresses any legitimate concerns that Google might have about SEMs failing to

expose important features of AdWords to their advertiser clients. Google has not explained

how the required minimum_functionality requirement is inadequate in this regard.




                                               100
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                                                                                                   [

Meanwhile, the required minimum functionality requirement does not interfere more than
                                                                                                   f
necessary with how third parties design their tools and services. The restrictive conditions,
                                                                                                   L

on the other hand, have a substantially wider effect on how third parties conduct their

business.
                                                                                                   f
        There are also documents from 2004 that suggest that the restrictive conditions are        L




                                                                   O
not a remedy for concern about third party "misaligned incentives," but rather, were               r
                                                                                                   l




                                                                IC
motivated by an anticompetitive desire to harm competitors and discourage entry: "Sergey




                                                       T
[Brin] and Larry [Page] are big proponents of a protectionist strategy that prevents third party   L


                                                                                                   r




                                                    LI
developers from building offerings which promote the consolidated management of

[keywords] on Google and Overture (and whomever else)."545
                                              PO
        In one 2004 document, the API product manager was looking for "specific points on

how we can prevent a new entrant(J\tiSN Ad Network) from benefitting from a common 3rd
                              by

party platform that is cross-network." 546 In a related presentation, Google listed as a concern
                                                                                                   i
"other competitors are buoyed by lowered barriers to entry" and, two options to address that       l
                       d
        ne



concern: (1) "applications must have Google-centric UI functions and branding" (i.e., the
                                                                                                   l
comingling restriction); and (2) "disallow cross-network compatible applications from using
                                                                                                   r
      ai




                                        547
API" (i.e., the copying restriction).                                                              I
                                                                                                   L
bt




        The same document lists, as a separate concern, "Google differentiators are                !

                                                                                                   L
normalized away," which appears to be an alternative formulation of the lowest common
O




denominator concern. The option listed for that concern is "enforce must-have functionality
                                                                                                   rL
in certified applications. " 548 This 2004 language appears to refer to what is now known as
                                                                                                   i
                                                                                                   L
the "required minimum functionality" provision of the API terms and conditions. 549 As

noted previously, under this provision, SEM tools must expose all of the functionality that
                                                                                                   r
                                                                                                   l


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                                                                                                   r
                                                                                                   l
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Google deems important to the performance of AdWords. Although Google now claims that

the required minimum functionality condition and the restrictive conditions are both aimed at

the lowest common denominator concern, 550 it cannot explain why the required minimum

functionality requirement alone would not suffice to alleviate the lowest common

denominator concern. Indeed, this document suggests that the restrictive conditions were




                                                                   O
actually designed specifically to reduce the likelihood that advertisers would extend their




                                                                IC
campaigns to rival search networks. 551




                                                       T
       In sum, the effects of these restrictive conditions, combined, have the tendency to




                                                    LI
preserve and enhance Google's dominant position in the search advertising market.

                                          PO
Unjustified by any procompetitive benefits, we believe that Google's restrictive conditions

should be condemned by the Commission. 552

               4.      Google's Exclusive and Restrictive Syndication Agreements
                             by

       Staff has investigated whether Google has entered into anticompetitive, exclusionary

agreements with websites for syndicated search and search advertising services (AdSense
                      d
        ne



agreements) that serve to maintain, preserve, or enhance Google's monopoly power in the

markets for search, search advertising, or search and search advertising syndication (search
      ai




intermediation). We conclude that these agreements violate Section 2.
bt




                       a.     Google's Agreements Foreclose a Substantial Portion of the
                              Relevant Market
O




       Exclusive deals by a monopolist harm competition by foreclosing rivals from needed

relationships with distributors, suppliers, or end users. For example, in Microsoft, then-

defendant Microsoft's exclusive agreements with original equipment manufacturers and

software vendors were deemed anticompetitive where they were found to prevent third

parties from installing rival browser Netscape, thus foreclosing Netscape from the most


                                              102
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                                                                                                       r
                                                                                                       L
efficient distribution charinel, and helping Microsoft to preserve its operating system
             553
                                                                                                       rl
monopoly.          The fact that an agreement is not explicitly exclusive does not preclude a

finding of liability. 554                                                                              f
                                                                                                       I

                                                                                                       l
         The Microsoft decision instructs that the plaintiff is required to establish "a significant
                                                                                                       r
degree of foreclosure. "
                            555
                                  The competitive effects analysis for exclusive dealing under         l




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Section 2 is similar to the analysis under.Section 1. Under both Section 1 and Section 2, in
                                                                                                       r
                                                                                                       L




                                                                     IC
order to determine the anticompetitive effects of exclusive agreements, courts consider the

percentage of the market foreclosed to competitors and the duration of the foreclosure. 556




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                                                                                                       L

                                                                                                       r




                                                          LI
However, a smaller degree of foreclosure may be sufficient to condemn an exclusive

                                              PO
agreement under Section 2. In Microsoft, the D.C. Circuit noted that:

                    [While] basic prudential concerns relevant to § § 1 and 2 are admittedly the       I
                                                                                                       \..__




                   same ... we agree with plaintiffs that a monopolist's use of exclusive contracts,
                   in certain ~tr~lJ!llStances,. may.give rise to a.§ 2 violation even t~ough the      r
                                   by

                                                                                                       --
                   contracts foreclose less than the roughly 40% or 50% share usually required in      l
                   order to establish a § 1 violation. 557

         Foreclosure percentage is properly defined as the percentage of a market subject to
                            d


                                                                                                       r
         ne



the exclusive dealing arrangement in question. However, the case law suggests several
                                                                                                       l
different ways to calculate foreclosure percentages. In Omega Environmental, Inc. v.
                                                                                                       r
       ai




Gilbarco Inc., the Ninth Circuit held that foreclosure was accurately described in quantitative        I
                                                                                                       L
bt




terms as the overall market share subject to the defendant's exclusive arrangements. 558 In the        r
                                                                                                       l
O




alternative, foreclosure could be defined as the percentage of distribution outlets unavailable
                                                                                                       r
                                                                                                       i
to rivals. 559                                                                                         L
         Here, under either formulation, the likely foreclosure by Google's exclusive dealing          ri
                                                                                                       L
arrangements appears sufficient to support a monopolization claim under Section 2. 560 In

calculating foreclosure numbers, Staff has relied on the ComScore datas·et, which is a third-
                                                                                                       I
                                                                                                       L

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                                                   103

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party dataset routinely used in the industry to analyze query volumes and market shares. 561

As noted earlier, however, in a company data set provided by Microsoft, Yahoo! 's syndicated

query volume is significantly higher than that reflected in ComScore. 562 Reliance on the

larger figure would clearly result in a dramatically lower foreclosure number for Google's

agreements. We are trying to get to the bottom of this discrepancy now. However, based on




                                                                      O
our broader understanding of the market, we believe that the ComScore set more accurately




                                                                   IC
reflects the relative query shares of each party. 563




                                                           T
        Below, Staff lays out three scenarios: the most conservative foreclosure scenario; the




                                                        LI
n;iost aggressive foreclosure scenario; and the "intermediate" - or most likely defensible -

                                              PO
foreclosure scenario. In our most conservative estimate, the foreclosure rate is approximately

20 percent. 564 In our most aggressive estimate, the foreclosure rate is approximately 66

percent. 565 In the "intermediate" scenario, the foreclosure rate is approximately 52
                               by

percent. 566

        Obviously, given the limitations of the various datasets, the calculated foreclosure
                       d
         ne



rates are of limited value. Nevertheless, it is clear that Google has tied up a substantial

portion of this distribution channel with exclusive and restrictive agreements. In the market
       ai




for search syndication, Google has exclusive or restrictive agreements with 12 of the top 20
bt




companies (60 percent) and 4 of the top 5 (80 percent). The 20 largest companies account
                                        567
O




for 94 percent of total query volume.         Courts have found that foreclosing rivals from the

most efficient means of distribution can be especially problematic. 568 Access to these largest

players is by far the most efficient method for Bing to gain query volume in the syndication
           569
channel.




                                                  104
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                                                                                                   f
                                                                                                   L
                            b.     Google's Agreements Have Resulted In Anticompetitive
                                   Effects                                                         r
                                                                                                   L
           Measuring foreclosure is merely the first step in assessing competitive effects in an
                                                                                                   rl
exclusive dealing case. Once we establish that foreclosure is above so-called "safe harbor"

levels, we still must undertake a qualitative, rule ofreason analysis of actual market             r
                                                                                                   L
           570
effects.         There are two potential anticompetitive effects flowing from Google's exclusive




                                                                      O
                                                                                                   r
agreements with publishers. The agreements may impact both the immediate market for                L




                                                                   IC
search and search advertising syndication, and also have broader effects in the markets for
                                                                                                   L




                                                           T
search and search advertising.




                                                        LI
                                                                                                   r
           We tum first to the search and search advertising syndication (search intermediation)
                                             PO
market. There, our investigation shows that the exclusivity provisions are precluding at least     r
                                                                                                   L_
some of the largest and most sophisticated publishers from using competing platforms for a
                                                                                                   r
                                  by

subset of their syndication needs. This also means those publishers cannot credibly threaten

to shift some incremental business to other platforms in order to wring price concessions          r
                                                                                                   !

                                                                                                   l
                           d


from Google.
        ne




           In light of the fact that Google is aggressively reducing revenue shares to its         L

customers without significant resistance today, the exclusive agreements appear to be having       r
      ai




the effect of further entrenching Google's monopoly position in the market for search and
bt




search advertising syndication, and facilitating Google's maintenance of monopoly power in
O




the market for search advertising.
                                                                                                   [
           One might object to this argument by noting that Google is holding onto its business

with most of these publishers mainly because its product is so superior to the other offerings

available today. This argument is further bolstered by the fact that a substantial majority of
                                                                                                   I
                                                                                                   l

                                                                                                   [
                                                  105

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the publishers we interviewed did not object to exclusivity because they wanted to use

Google for all their search syndication needs anyway.

        Our investigation indicates that this objection rests on a fallacious assumption:

namely, that Bing's average monetization gap is derived from its consistent failings across-

the-board. If, instead, that overall average is derived from sources of differing quality, that




                                                                        O
means Bing actually does have opportunities to pick off incremental business from Google in




                                                                     IC
those areas where the monetization gap is lower, particularly where it can make up for some




                                                             T
of its monetization deficiencies by offering higher revenue shares. Evidence from Microsoft




                                                          LI
indicates that there is indeed heterogeneity in the quality of its search advertising product,

                                                PO
with comparative strength in certain commercial categories, such as travel and people

(social) search. 571

        Given this state of affairs, one likely path for Bing to win new syndication business is
                                   by

precisely the one blocked by the exclusivity provisions in Google's syndication agreements.

All the publishers that expressed interest in using Bing told us that they want to split up their
                          d
         ne



business, giving Bing opportunities where it can compete, and relying on Google for the

balance of their needs.
       ai




        In addition to the immediate impact on Bing, our investigation suggests that specialty
bt




search advertising platforms may emerge in the absence of Google's exclusivity provisions.
O




For example, IAC's CityGrid property·sought to build its own advertising platform to serve
                                          572
advertising targeted to local markets.          CityGrid monetizes its websites through local ads

from small "mom and pop" stores, medium-sized businesses, and large chains that are trying
                           573
to gain local customers.         CityGrid decided that it wanted to build its own advertising

network rather than "put all [its] eggs in one basket" by going with Google exclusively. 574




                                                    106
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         CityGrid would like to provide a niche competitive alternative to Google's AdSense
                                                                                                        f
 network, but it is hampered by Google's exclusivity provisions. The exclusivity provisions
                                                                                                        l

 prevent CityGrid from winning prominent placement on the publisher websites where its
                                                                                                        L
 local advertisements would be most effective. Due to these challenges, CityGrid is having

 only modest success, and has struggled to attract both advertisers and publishers willing to




                                                                       O
 use an alternative platform. 575 It is unclear whether smaller search advertising networks like




                                                                    IC
 CityGrid can ultimately emerge (and thrive) in the absence of exclusivity, but CityGrid's




                                                            T
 experience suggests that nascent competition may be suppressed by Google's exclusivity




                                                         LI
 provisions.

                                           PO
         The exclusivity provisions also have broader effects in the markets for search and

 search advertising. Microsoft argues that the intent- and the ultimate effect- of Google's
                                                                                                        r
                                                                                                        l_


. re.strictive syndication agreements is to preve11t Microsoft from achieving the necessary scale       r
                               by

                                                                                                        L.
                                          576
 to compete effectively against Google.         Microsoft reports that it could substantially benefit
                                                                                                        r
                                                                                                        i
 from serving a portion of the query and advertising volume from some of Google's largest
                        d


                                                                                                        L


 syndication customers. 577 As noted above, a small number of the largest and most
          ne




 sophisticated customers believe they could benefit from contracting with Bing for some parts
                                                                                                        (
        ai




                                                                                                        I

 of their syndication business and would likely do so in the absence of exclusivity provisions          L
bt




 in their Google contract.                                                                              r
                                                                                                        L
O




         It is difficult to predict whether removing exclusivity would enable Bing to win
                                                                                                        r
 enough traffic through new search syndication deals to meaningfully improve its overall                L
 search product. Google argues that the scale effects resulting from Microsoft winning some             r
                                                                                                        L
 incremental syndication query traffic would be trivial, 578 while Microsoft asserts that even a




                                                  107

                                                                                                        L
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5 to 10 percent increase in its overall query traffic would be "very meaningful" because Bing

is at the lower part of the scale curve where "each percentage point is critical."579

       While there is not enough evidence on this point to reach definitive conclusions,

internal Google documents suggest that Microsoft's view of things may be closer to the truth.

Google's interest in renewing deals with some of its largest syndication customers may have




                                                                    O
been, in part, to keep Microsoft from gaining scale. For example, an internal Google analysis




                                                                 IC
of the 2010 AOL renewal exp~ains:




                                                         T
               AOL holds marginal search share but represents scale gains for a
               Microsoft+ Yahoo! partnership .... AOL/Microsoft combination has




                                                      LI
               modest impact on market dynamics, but material increase in scale of
               Microsoft's search & ads platform. 580
                                          PO
       When a senior Google executive was informed that "Microsoft [is] aggressively

wooing AOL with large guarantees," he responded that:
                              by

               I think the worse case scenario here is that AOL users get sent to Bing, so
               even if we make AOL a bit more competitive relative to Google, that
               seems preferable to growing Bing. 581
                       d


According to Google documents, the company sought to pursue the AOL deal aggressively
        ne




even though AOL represented "[a] low/no profit partnership for Google .... " 582

       While the evidence summarized above is consistent with the theory that these
      ai




exclusive dealing arrangements are creating anticompetitive effects, there are nevertheless
bt




some significant limitations in this evidence. Perhaps our biggest concern is that, today, so
O




few publishers are actively interested in using multiple suppliers. As noted earlier, we have

identified only three companies that are subject to the exclusivity or "preferred placement"

provisions today and clearly voicing unambiguous concerns: eBay, NexTag, and

Business.com. In addition to these three companies, Amazon is not foreclosed today, but

voiced very similar concerns and is very worried that it may be subject to exclusivity in the


                                               108
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                                                                                                   f
                                                                                                   L
future, and so likely would support the views of the three foreclosed companies that are
                                                                                                   f
                                                                                                   i



actively complaining. Finally, IAC is among those companies foreclosed today, and has
                                                                                                   L

previously voiced strong concerns, but in its most recent discussion with Staff, appeared to

back away from some of those concerns.                                                             (



          None of the complaining companies told us they would shift large segments of their.




                                                                     O
existing business with Google to Microsoft if exclusivity were lifted. The complainants all
                                                                                                   L




                                                                  IC
confirm that Microsoft's product monetizes at a much lower average rate than Google's, so

they are only likely to shift a modest percentage of their available business to Microsoft. 583




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                                                                                                   I_




                                                      LI
The best real world evidence we have as to what using multiple providers will look like
                                                                                                   L

                                           PO
comes from Amazon, which is the only company that is currently using both Google and

Microsoft for search syndication. Microsoft represents just 3.4 percent of Amazon's

worldwide search syndicatiqn reve_nue, because, atpresent, Mic~osoft monetizes _so poorly in
                               by

relation to Google. 584

          At least in the near-term, this evidence suggests that the effects of removing
                          d
        ne



exclusivity are not going to be dramatic. Rather, it appears that a subset of the largest and

most sophisticated publishers will opportunistically shift modest amounts of their available
      ai




traffic to Bing. The less sophisticated publishers appear likely to continue using Google          l
bt




exclusively because Google_'s product is better, they perceive that there are technical barriers
O




or other problems associated with using multiple suppliers, or some combination of these
                                                                                                   r
issues.                                                                                            L_


          More significant competitive benefits may be realized over a longer period of time.      r
                                                                                                   L
Removing exclusivity may open up additional opportunities for both established and nascent
                                                                                                   r
competitors, and those opportunities may spur more significant changes in the market               L
                                                                                                   r
                                                                                                   l
                                                                                                   l_
                                                109

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 dynamics as publishers have the opportunity to consider - and test - alternatives to Google's

 AdSense program. While the speed and strength of these long-term improvements cannot be

 accurately forecast today, this is a situation where the near-term competitive impacts may be

 overshadowed by the long-term improvements, as competitive forces are unleashed and

 additional dynamism emerges.




                                                                    O
                        c.     Google's Agreements Are Not Justified By Efficiencies




                                                                 IC
        Google has offered three business justifications for its exclusive and restrictive




                                                        T
 syndication agreements with publishers. First, Google notes that there is a long-standing




                                                     LI
 industry practice in favor of exclusivity dating from the time when the publishers demanded

                                          PO
 large, guaranteed revenue share payments rega;rdless of actual performance. However,

 guaranteed revenue shares are now virtually non-existent.

        A second, and related, justification is that Google is simply engaging in a vigorous
                              by

 competition with Microsoft for exclusive agreements. Although Microsoft asserts that it

 would like the opportunity to compete on a non-exclusive basis· (and will happily serve even
                       d
         ne



 a small portion of a website publisher's queries), some publishers report that Microsoft itself

· sought various forms of exclusivity in contract negotiations. 585 Moreover, while Microsoft
       ai




 has aggressively pursued some very large website publishers, it appears that Microsoft is not
bt




 generally pursuing the broader syndication business today. 586 Google may argue that the fact
O




 that Microsoft is losing in a competitive bidding process (and indeed, not competing as

 vigorously as it might otherwise) is not a basis on which to condemn Google. However,

 Google has effectively created the rules of today's game, and Microsoft's substantial

 monetization disadvantage puts it in a poor competition position to compete on an all-or-

 nothing basis.




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         The third justification Google has offered is "user confusion." Google claims that it
                                                                                                          r
does not want users to confuse a competitor's poor advertisements with its own higher                     L
quality advertisements. This argument suffers both from the fact that it is highly unlikely

that users care about the source of the ad, as well as the fact that, if users did care, less
                                                                                                        r
restrictive alternatives are clearly available. Google has not explained why alternatives such




                                                                      O
as labeling competitor advertisements as originating from the competitor are unavailing here.
                                                                                                         I
                                                                                                        l




                                                                   IC
         Indeed, Google's actions demonstrate that "user confusion" is not a significant




                                                          T
concern .. In 2008 Google attempted to enter into a non-exclusive agreement with Yahoo! to




                                                       LI
supplement Yahoo!'s search advertising platform. Under the proposed agreement, Yahoo!
                                                                                                        L
                                          PO
would return its own search advertising, but supplement its inventory with Google search

advertisements when Yahoo! did not have sufficient inventory.      587
                                                                         Additionally, Google has
                                                                                                        r
                                                                                                        L


recently eliminated its "preferred placement" res~rictio11 for its online partners. 588                 r
                               by

         In sum, a rule of reason analysis of the exclusivity provisions shows strong evidence

of a relevant market protected by high entry barriers. There are some significant data
                       d


                                                                                                        L
           ne



limitations associated with calculating foreclosure accurately here, but it appears the level of
                                                                                                    L
foreclosure is likely modestly above the minimum level necessary to support a finding of
         ai




competitive injury. At least some customers are being precluded from using Bing due to the
                                                                                                    L
bt




exclusivity provisions of their agreements with Google. The procompetitive justifications for       r
                                                                                                    L
this conduct appear fairly insubstantial, although Microsoft's efforts to impose exclusivity
O




will complicate our proof on that issue. However, there are not pervasive anticompetitive

effects throughout the market, which will bolster the criticism that the putative                   r
                                                                                                    I




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anticompetitive effects here are too speculative to be cognizable in the context of an antitrust

claim.
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                                                                                                    L



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       While we acknowledge the limited effects here, it is worth noting that the market for

search and search advertising syndication is, inarguably, not robustly competitive today.

Google has been unilaterally reducing revenue share percentages to many of its syndication

customers (in effect raising prices) with apparent impunity. 589 One of the largest customers,

Amazon, decided that it is in its long-term, strategic interest to funnel some query volume to




                                                                    O
Bing, even if it is losing money on each query. 590 Amazon is using multiple suppliers just to




                                                                 IC
try to foster a more competitive marketplace. 591 Where markets are functioning so poorly,




                                                        T
the rationale for government intervention is stronger, even in situations where the near-term




                                                     LI
competitive harm directly attributable to the challenged conduct may be small. Although this

                                         PO
conduct presents a closer question, we believe that Google's exclusive and restrictive

agreements have not only helped to maintain, preserve, and enhance Google's monopoly

power in the market for search and search advertising syndication (search intermediation),
                              by

but also in the underlying markets for search and search advertising. Therefore, we believe

that the Commission should condemn Google's exclusive and restrictive syndication
                       d
         ne



agreements.

IV.    POTENTIAL REMEDIES
       ai




       Staff has identified several possible remedies to Google's conduct. These remedies
bt




are described below.

       A.      Scraping
O




       There are at least two possible remedies for Google's scraping conduct. First,

Google could be required to provide an "opt-out" feature to remove "snippets" of website

content (e.g., user reviews, ratings) from Google's vertical properties, but retain those




                                              112
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snippets in Google's web search results and/or in its Universal Search results on the main
                                                                                                  r-
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SERP.s92                                                                                          L


        Second, Google could be required to limit the use of content it indexes for its web       F
                                                                                                  l
search results (i.e., Google can only use the content in returning the property in its natural

search results, but not in determining its own product or local rankings), unless given express




                                                                    O
permission to use it for other purposes. This remedy could address Google's less obvious




                                                                 IC
"scraping" of third-party product and ranking information in order to determine its own




                                                        T
.product collection and rankings.




                                                     LI
                                                                                                  F -
        B.      API Restrictions

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        The most appropriate remedy for Google's API restrictions is to require Google to

remove the problematic contractual restrictions from its API license. 593 No technical fixes      L


wollW_li~ve to be un.clertaken to aUow for full compatibility among the various search            r
                              by

advertising platforms. Indeed, SEMs report that innovative technology for this cross-

compatibility already exists, and, if left unhindered by Google's contractual restraints, will
                        d


                                                                                                  l.


quickly flourish. 594
        ne




                                                                                                  L
        C.      Exclusive and Restrictive Syndication Agreements
      ai




                                                                                                  I
        The most appropriate remedy for Google's exclusive and restrictive syndication            L.
bt




agreements is to enjoin Google from entering into exclusive agreements with its search
                                                                                                  I
                                                                                                  i
                                                                                                  I::.
syndication partners, as well as to require Google to substantially loosen restrictions
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surrounding AdSense partners' use of rival search advertisements. As described above, a

small, but significant, group of Google's Ad Sense partners have indicated that they would        r
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like to supplement their websites with Microsoft's search advertisements. The number of
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partners considering alternatives to AdSense may grow in the event that these agreements are

enjoined. 595

V.      LITIGATION RISKS

        We have identified throughout this memorandum the many substantial risks

associated with bringing a case against Google. On a global level, the record will permit




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Google to show substantial innovation, intense competition from Microsoft and others, and




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speculative long-run harm. Here, we highlight some specific facts that present the greatest




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litigation risk:




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        1.         "Competition is just one click away."596 Google does not charge consumers,

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                   and they are not locked into Google. The durability of Google's monopoly

                   power is questionable with an increasing number of websites (e.g., Facebook,

                   Twitter) competing for user time and advertiser dollars.
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        2.         Universal Search is a "product improvement" that has resulted in substantial

                   benefit to its users.
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        3.         Google's organization and aggregation of content from other websites adds

                   value to the product for consumers.
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        4.         The largest advertisers (that produce the most revenue on Google's AdWords
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                   platform and Microsoft's Ad Center platform) already advertise on both
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                   AdWords and AdCenter.

        5.         The most efficient channel through which Bing can gain scale is Bing.com,

                   not syndication or other distribution channels.




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      6.    Microsoft has the resources to purchase distribution where it sees the greatest
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           · value (e.g., OEM channels). For Microsoft, other distribution channels clearly   L

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            represent a viable substitute for query volume in syndication channels.
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      7.    Most website publishers are happy with Google's AdSense services, and do          r -
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            not want to switch even part of their supply to Microsoft.




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VI.     CONCLUSION

        Staff concludes that Google's conduct has resulted - and will result - in real harm to

consumers and to innovation in the online search and advertising markets. Google has

strengthened its monopolies over search and search advertising through anticompetitive

means, and has forestalled competitors' and would-be competitors' ability to challenge those




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monopolies, and this will have lasting negative effects on consumer welfare. Specifically,




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Staff believes that:




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        1.      Google has unlawfully maintained its monopoly over general search and




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                search advertising, in violation of Section 2, or otherwise engaged in unfair

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                methods of competition, in violation of Section 5, by scraping content from

                rival vertical websites in order to improve its own product offerings.

        2.      Google has unlawfully maintained its monopoly over general search, search
                              by

                advertising, and search syndication, in violation of Section 2, or otherwise

                engaged in unfair methods of competition, in violation of Section 5, by
                       d
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                entering into exclusive and highly restrictive agreements with web publishers

                that prevent publishers from displaying competing search results or search
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                advertisements.
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        3.      Google has unlawfully maintained its monopoly over general search and
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                search advertising, in violation of Section 2, or otherwise engaged in unfair

                methods of competition, in violation of Section 5, by maintaining contractual

                restrictions that inhibit the cross-platform management of advertising

                campaigns.




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       For the reasons set forth above, Staff recommends that the Commission issue the

attached complaint.
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                                    Respectfully submitted,                                  L




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                                    Barbara R. Blank




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Deputy Assistant Director
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Melanie Sabo
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1
   See Google Inc., File No. 111-0163, Resolution Authorizing Use of Compulsory Process in Nonpublic
Investigation (Jun. 13, 2011).
2
   In total, the Commission has issued 20 subpoenas (to Google, Microsoft, Yahoo!, Amazon, eBay, NexTag,
TheFind, Living Social, Yelp, Apple, Motorola Mobility, Samsung, Sony, Toshiba, LG Display, RIM, AT&T,
Sprint Nextel, T-Mobile, and Verizon) and two voluntary access letters (to Expedia and Trip Advisor).
3
   The investigational hearing of CEO and co-founder Larry Page, originally scheduled for Jun. 29, has been
delayed indefinitely due to the illness of Mr. Page. Staffs last scheduled investigational hearing of a Google
executive, Andy Rubin (Android founder and head of Google's Android division), is slated for Aug. 23.




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4
   Letter from Joaquin Almunia, Vice-President of the European Commission, to Eric Schmidt, Google, dated
May 21, 2012 (copy of the letter is on file with Staff).




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5
   Id.
6
   See Discussion Paper Submitted by Google on The Preliminary Concerns Identified by the European
Commission and Google's Proposed Solution, attachment to Letter from Maurits Dolmans et al., Cleary
Gottlieb Steen & Hamilton LLP, to Cecilio Madero Villarejo, Deputy Director General, European Commission




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(Jun. 30, 2012) ("Google-EC Settlement Proposal").
7
   The State of Mississippi is also conducting a separate investigation into Google, but is not working with the




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multi-state group or with the Commission. The Commission declined to grant access to Mississippi due to the
state's retainer of an outside law firm to conduct the investigation and the multi-state group's denial of access
(on the same basis).
8
                                                PO
   The states have jointly retained economist Rick Flyer as a consulting expert and, potentially, as a testifying
expert.
9
  Kinderstart.com LLC v. Google, Inc., 2006 U.S. Dist. LEXIS 82481, (N.D. Cal. Jul. 13, 2006); Search King,
Inc. v. Google Tech., Inc., 2003 U.S. Dist. LEXIS 27193, (W.D. Okla. May 27, 2003).
10
    Person v. Google, Inc., 2007 U.S. Dist. LEXIS 47920, (N.D. Cal. Jun. 25, 2007); Google, Inc. v.
                                   by

myTriggers.com, Inc., Franklin County Ohio Civil Division Case No. 09cvhl0-14836 (Aug. 31, 2011);
TradeComet.com, LLC v. Google, Inc., 693 F. Supp. 2d 370, 378 (S.D.N.Y. 2010) (aff'd, TradeComet.com LLC
v. Google, Inc., 647 F.3d 472,478 (2nd Cir. 2011).
11
    2006 U.S. Dist. LEXIS 82481, (N.D. Cal. Jul. 13, 2006).
12
                           d


    2003 U.S. Dist. LEXIS 27193, *2 (W.D. Okla. May 27, 2003).
13 Id.
14
          ne



    Kinderstart.com, 2006 U.S. Dist. LEXIS at *28.
15
    693 F. Supp. 2d 370, 378 (S.D.N.Y. 2010).
16
    Case No. 09cvh10-14836 (Franklin County Ohio Civil Division, Aug. 31, 2011).
17
    2006 U.S. Dist. Ct. Pleadings 7297, *3 (N.D. Cal. Apr. 16, 2007).
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18
    Id. at *10.
19
    Person v. Google, Inc., 346 Fed. Appx. 230,231 (9th Cir. 2009).
20
    Google owns and operates numerous websites, including: Google Alerts; Books; Finance; Gmail; Images;
bt




Maps; News; Google Plus; Product Search; and YouTube.
21
    In a separate investigation, opened in Apr. 2012, FTC Staff is investigating whether Google violated
commitments to various standard-setting organizations to license standard essential patents used in the mobile
O




industry on fair, reasonable, and non-discriminatory terms. See Google-Motorola, File No. 121-0120,
Resolution Authorizing Use of Compulsory Process in Nonpublic Investigation (May 25, 2012).
22
    Google FY 2012 Fom1 10-K (Jan. 26, 2012), at 29, available at
http://sec.gov/Archives/edgar/data/1288776/0001193 l25 l2025336/d260164dl 0k.htm#toc260164 8. ("Google
2012 lOK").
23
    Id. at 25.
24
    Press Release, Microsoft Corp., MSN Significantly Upgrades MSN Search for Consumers with Major
Performance and Relevancy Improvements (Jun. 30, 2004)
http://www.microsoft.com/presspass/press/2004/jun04/06-30ImprovedSearch2004PR.mspx.
25
    Press Release, Microsoft Corp., Microsoft's New Search at Bing.com Helps People Make Better Decisions
(May 28, 2009) http://www.microsoft.com/presspass/press/2009/may09/05-28NewSearchPR.mspx.
26
    See Microsoft Corp., Complaint to the European Commission (Mar. 31, 2011) ("Microsoft EC Submission").



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27
   See Yahoo! Inc., FY 2010 Form 10-K (Feb. 28, 2011), at 3, available at
http://files.shareholder.com/downloads/YH00/1261814235xOxSl l93125-11-50000/1011006/filing.pdf
("Yahoo! 2010 l0K").
28
   Microsoft IR (Jun. 11, 2012).                                                               .
29
   Id. Yahoo! modifies Bing's search results by adding its own vertical content to Bing's feed. Id. at 2.
30
   See Microsoft IR (Jun. 11, 2012). Pursuant to the arrangement, advertisers buy joint placement on both the
AdCenter (Microsoft) and Panama (Yahoo!) platform. Microsoft serves the ads on both search engines, while
Yahoo! maintains the "front end" sales force, and services most of the customers. Yahoo! also determines the
number of ads it wants to feature on its own search results page. Id.
31
    Somini Sengupta, Facebook's Prospects May Rest on Trove of Data, New York Times, May 14, 2012,




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available at, http://www.nytimes.com/2012/05/15/technology/facebook-needs-to-tum-data-trove-into-investor-
gold.html.
32
   Microsoft estimates that the Internet has grown from approximately 200 million pages in 1997 to between 5




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and 20 trillion web pages today. Susan Athey, "Scale in Online Search" (Mar. 10, 2012), at 11.
33
   For example, product comparison shopping websites only recognize queries that include product names, and
only return online product infommtion, but not news regarding products or links to manuals for products.




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Similarly, flight search websites require users to enter origination and destination information, and only return
flight (and, in some cases, hotel) infonnation, not general information regarding the destination.




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34
   Schmidt Tr. 125:21-126:9 ("there's a significant benefit of ROI of online over offline. Significant, I mean         r
quantifiable, real, and so forth .. .If you're going to found a business today; put all your money in online ... and
then think about traditional advertising, marketing."); id. at 147:9-15 ("If the advertisers were being perfectly

exhausted.").
35
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efficient, they would not do any offline advertising until all the opportunities for online advertising were

   Schmidt Tr. 155:15-156:4; GOOG-ITA-XX-XXXXXXX-86 (2008), at 70 (Q308 Earnings Call, describing search
                                                                                                                       r
advertising as "our core business").                                                   .
36
   See Google FY 2012 Fonn 10-K, at 26; Eric Schonfeld, Larry Page: Display Advertising is a $5 Billion                r
                                   by

Business; Techctunch, Jan.-19; 2012, http://techcrunch.com/2012/0l/19/larry-page"-display-5-billion/; (reporting
that Larry Page attributed $1.25 billion of $10.6 billion in one quarter's ad revenue to display).
37
   CX-123 (GOOGFOX-000055480-89) (2010), at 85 (Google, Inc. Citi Technology Conference, Sep. 8, 2010,
interview with Nick Fox); GOOG-ITA_20_0165245-55 (2010), at 45 ("Google's advertising systems have
contributed over $53 billion in economic value.").
                           d


38
   Schmidt Tr. (Google-Yahoo, 2008), at 90:8-12 ("So if you have a choice of advertising, you would choose
Google first, because it's the one we believe ... has the most effective tool for reaching the customers that are
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actually prepared to buy."); Fox Tr. (Google-Yahoo, 2008), at 45:1-47:12; EAS IR (Feb. 23, 2012); FTCNext-
00000002 (2012), at 36; FTC-EXPE-00000002 (2012), at 16; Kenshoo IR (Nov. 9, 2011); see also Robert
Bork, Antitrust and Google, Chicago Tribune, Apr. 16, 2012, available at,
http://articles. chicagotribune.com/2012-04-06/news/ct-perspec-0405-bork-20120406 1 unpaid-search-results-
       ai




search-engines-search-algori thms. ("Search engines support themselves by selling advertising, much like
newspapers, free TV or free radio, except that the search engines are much more efficient.").                          L
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   FTC-EXPE-00000002 (2012), at 16; FTCNext-00000002 (2012), at 36; FTC-EBAY-00000002 (2012), at
31.                                                                                                                    r
40
   See, e.g., CX-114 (GOOGFOX-000128621-22) (2009), at 62; GOOG-ITA-XX-XXXXXXX-55 (2010), at 45
("Because AdWords, unlike other media, starts with the consumer's intention in mind, the product has been
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remarkably effective."); Comcast IR (Nov. 15, 2011) (particularly easy to track the effectiveness of search            F
advertising because it has such a close proximity to the point of sale.); Schmidt Tr. (Google-Yahoo, 2008), at
90:5-91 :16 (compared to all advertising, "we believe [Google has] the highest quality [advertising]"). See also       L
Amazon CID Response (2012), at 38; Living Social CID Response (2012), at 16-17.
41
   Interpublic IR (Oct. 20, 2011); Resolution Media IR (Nov. 7, 2011); FTCNext-00000002 (2012), at 36;                 r
FTC-EBAY-00000002 (2012), at 31.
42
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   See Statement of Federal Trade Comm'n Concerning Google/DoubleClick, FTC File No. 071-0170 (2007), at
5, 7. See also, e.g., Interpublic IR (Oct. 20, 2011); Havas IR (Oct. 5, 2011). For this reason, display advertising
is generally not viewed to be as effective or valuable as search advertising. See, e.g., Apollo Group IR (Jan. 4,
2012) (search advertising is 1.5 to 2 times as effective as other ad options).


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43
   Varian Tr. 88:16-89:7 ("Brand perception is driven to some extent by other [non-search] f01ms of advertising
... We know, for example, that display ads drive brand; brand drives clicks"); Schmidt Tr. 130:18-21 (a brand
advertisement would be a Coca-Cola advertisement that is not trying to get you to buy a Coke, but trying to get
you to think about Coke); Wal-Mart IR (Jan. 23, 2012); Fox Studios IR (Jan. 20, 2012); Verizon IR (Nov. 1,
2011); EAS IR (Feb. 23, 2012).
44
   See Statement of Federal Trade Comm'n Concerning Google/DoubleClick, FTC File No. 071-0170 (2007), at
5. See also Interpublic IR (Oct. 20, 2011); Didit.com IR (Dec. 27, 2011).
45
   Contextual ads are somewhat more successful at creating conversions than direct display ads, but less
successful than search. Contextual advertising is considered a closer substitute for display advertising than for
search advertising in terms of function and performance. See, e.g., Group MIR (Oct. 11, 2011); Expedia IR




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(Jan. 23, 2012). See also, e.g., GOOG-ITA-XX-XXXXXXX-17 (2009), at 16 ("content conversions do not lead to
sales like search conversions"); Brin Tr. 181: 1-8 ("the conversions are different. The click-through is also
different . . . . So between the two of those, your average content page view is worth significantly less than




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your average search page, no question about it").
46
   See Didit.com IR (Dec. 27, 2011); GOOGFOX-000073028 (2008), at 14. "Re-targeting" means serving ads
to users that have abandoned purchases before completed, or who have visited certain websites in the past. Like




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search, this type of ad is meant to elicit a direct response, but - unlike search ads - re-targeted ads are not
shown in response to a user's declared intent. Clickable IR (Oct. 24, 2011) (re-targeted display advertising




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requires advertisers to act on behavioral calculations and inferences from large troves of data, and does not
generate leads or sales as well as search advertising).
47
   See Didit.com IR (Dec. 27, 2011); Wal-Mart IR (Jan. 23, 2012). Social media advertising appears to be more
                                                 PO
like display advertising in that it offers a large volume of impressions, but relatively few conversions. See
Facebook IR (Jul. 1,2011); Facebook IR (Jan. 24, 2012). See also Matt Lawson, How to Integrate Search and
Social Media/or Better Results, Mashable, Apr. 1, 2010, http:/lmashable.com/2010/04/01/paid-search-social-
media/ (Director of marketing for Marin Software discussing how to develop and integrate paid search and
social media advertising strategies; social and search advertising are "two distinctly different tactics - the bid-
                                    by

based, conversion-obsessed, ROI-driven world of paid search and the experimental, brand-building, hard-to-
measure world of social ... each provide different benefits to your business, so you should leverage their
strengths instead of trying to get them to deliver results that aren't suited to the medium. Marketers usually
participate in social media to create an active dialogue with consumers around their products and services, with
the main goal of building brand value, and a secondary goal of driving sales. On the other hand, marketers use
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paid search primarily to drive sales, leads, and conversions, and don't expect the short text of their paid search
ads to do much for branding").
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48
   Contextual advertising is limited by the amount of advertising space available on web pages addressing any
given topic, in which relevant ads can then be served. Re-targeted (or behavioral) advertising is limited by the
number of "cookies" users allow to be placed on their computers (and on how often those cookies are erased),
and also requires guesswork and heavy analysis on the part of the advertiser. See GOOGFOX-000073028
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(2008), at 13; Interpublic IR (Oct. 20, 2011); FTC-EBAY-00000002 (2012), at 31 (eBay and Shopping.com
spent an "insignificant" amount on contextual advertising). FTCNext-00000002 (2012), at 36 (non-search
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advertising cannot replace search advertising). Social media is still a maturing market, which remains quite
small. Moreover, neither Facebook nor Twitter has been very successful in generating conversions, despite the
information they have available on the interests of their users (see Facebook IR (Jul. 1, 2011; Jan. 24, 2012);
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Twitter IR (Dec. 13, 2011)), and both Living Social and General Motors have pulled the majority of their social
media budgets based on a failure to achieve acceptable conversion rates. See Living Social CID Response
(2012), at 17; Joan Muller, GM Says Facebook Ads Don't Work, Pulls $10 Million Account, Forbes, May 15,
2012, available at http://www.forbes.com/sites/joannmuller/2012/05/15/gm-says-facebook-ads-_dont-work-
pulls-10-million-account/.
49
   Braddi Tr. 11 :22-12:2.
50
   Id. at 26:8-27:8.
51
   Staff continues to investigate Google's conduct in the mobile arena, and will address these issues in a
supplemental memorandum.
52
   Google purchased the Android business in 2005.
53
   Since Google's release of the first commercially available mobile device running Android OS in October
2008, Android's market share has grown exponentially. In Sep. 2009, Apple garnered 24.1 percent share of



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       U.S. mobile subscribers, compared with Android's 2.5 percent. By Nov. 2010, Android's market share of 26               r
       percent had surpassed Apple's 25 percent share. By Apr. 2012, Android enjoyed slightly more than 50 percent            L
       share, while Apple's share was 31.4 percent. Apple's market share appears to be plateauing, while Android's
       share continues to skyrocket, having successfully cannibalized RIM's rapidly declining base. See Press
       Release, comScore, comScore Reports December 2009, U.S. Mobile Subscriber Market Share (Feb. 8, 2010)
                                                                                                                              r
      http://www.comscore.com/Press Events/Press Releases/2010/2/comScore Reports December 2009 U.S. Mo
      bile Subscriber Market Share; Press Release,.comScore, comScore Reports November 2010 U.S. Mobile
       Subscriber Market Share (Jan. 6, 2011)
      http://www.comscore.com/Press Events/Press Releases/2011/1/comScore Reports November 2010 U.S. Mo
      bile. Subscriber Market Share; Press Release, comScore, comScore Reports, April 2012, U.S. Mobile




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       SubscriberMarket Share (Jun. 1, 2012)
      http://www.comscore.com/Press Events/Press Releases/2012/6/comScore Reports April 2012 U.S. Mobile
      Subscriber Market Share.




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      54
         See Brin Tr. 161 :24-162: 3 ("Having more queries would definitely help you with ... tail queries, which are
      more rare, no question about it"); Schmidt Tr. 27:7-13 ("there's some way in which long tail queries benefit our
      ranking. I don't fully understand, but- but there's some aspect where we look at the long tail query use"); id. at




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      39:11-19 ("I do ... agree that scale is important to the long [tail]"); Manber Tr. 117:1-3 (Google has been able
      to improve tail queries "the most" over time). Microsoft argues - and Google appears to agree - that it is the·




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      answers to these more difficult and unusual queries that keep users satisfied ( and coming back to a search
      engine). See Manber Tr. 111 :4-8 ("And the one thing to understand about search if you really want to know one
      thing about search is the tail is everything .... It's mostly about the tail"); Schmidt Tr. 25:15-19 ("We would
                                                         PO
      argue that we're•particularly good in the long tail query department, that that was one of the, one of the benefits
      of Google over the-you know, just better, better than anybody else"). See also, e.g., GOOG-Texas-1325832-
      33 (2010), at 32 ("Our long-tail precision is why users continue to come to Google. Users may try the bells and
      whistles of Bing and other competitors, but Google still produces the best results."); CX-137 (GOOGSCHM-
      000002716) (2009) ("Since [Bing doesn't] have scale in queries they are not good in the long tail yet. ... Not          r
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·~~~-y-et a·lli.reat to Google inthe hear tertn, but[] opens a new front againstus."). Arecent study conducted by             -

      Microsoft suggests that users are twice as likely to switch away from Bing for "tail" (or less frequent) queries        l
      than for "head" (or popular) queries, for which Bing's results are of high quality. The same study notes that,
      once a user has switched away from Bing, he or she is unlikely to return in the same session, and that Bing loses       r
      approximately three percent of its volume to searches by users who switch and do not return in the same                 l .
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      session. See Microsoft Corp., Keystone Strategy, "Scale Effects in Web Search Results: User Satisfaction and
      Scale" (Jun. 22, 2012).
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      55
         Manber Tr. 124:19-24; 125:18-126:14 (Google reviews user query logs to help determine user intent with
      misspelled queries); Schmidt Tr. 26:11-27:16 (spelling correction and Google Suggest are examples of features           l_
      where user queries are valuable to Google); Brin Tr. 142:15-144:9 (same). See also, e.g., GOOGMANB-
      000029827-30 (2009), at 27 (Marissa Mayer: "The key issue here as I see it is that you do get better as you have        r·
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      more users - that's why we have the best spell check, the best personalized search, the best refinements, etc ...
      ."). Microsoft asserts that Google's access to large volumes of historical data, in particular, give it a significant
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      advantage in spelling correction and suggestions. A study conducted by Microsoft suggests that, where Bing's
      "spell checker" algorithm was triggered (based on prior similar queries), Bing's performance was far closer to
      Google's results in terms of quality than where the algorithm was not triggered. Susan Athey, Microsoft, "Scale
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      in Online Search" (Mar. 10, 2012), at 11. Similarly, Microsoft found that its "auto suggest" feature improved
      substantially from Jul. 2010 to Sep. 2011, based on the addition ofYahoo!'s historical query data into Bing's
      algorithms, improving u.ser click rates from approximately 44 percent to 61 percent. Susan Athey, Presentation,
      "The Role of Scale in Competing in Online Search" (Mar. 26, 2012), at 22.
      56
         Susan Athey, "Scale in Online Search" "(Mar. 10, 2012), at 12 (noting that Bing relies on, among other things,
      a "spike in query volume" on a certain topic in order to determine the need for "fresh" results); Microsoft
      Corp.,, "Microsoft Response to DG Comp RFI" (Nov. 21, 2011), at 68 (same); Preston McAfee, Presentation,                r
                                                                                                                              I
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      "Scale, Data, and Machine Leaming: Solving the Search Problem," (2011), at 5 ("comprehensiveness,
      freshness, and performance are scale problems").
      57
         Manber Tr. 139:19-140:1. See id. at 122:16-123:12 (discussing experiment that removed user click data from
      Google's NavBoost algorithm, which had a "significant [negative] impact" on search quality).

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  58
     See Brin Tr. 142:3-144:9, 169:1-19 (Google tracks user clicks to improve quality, citing early NavBoost
  algorithm as example of signal that relied heavily on user clicks); Schmidt Tr. 61: 17-24 ("So clicks matter in
  terms of feedback to the people who monitor these things. They say our algorithm needs to be improved"). See
  also e.g., GOOGPAGE-000004652 (2008) ("[Click-tracking is] used to track which search results a user
  selects. That information then feeds back into our search ranking"); GOOGBRIN-000005558 (2002), at 9
  ("Traffic/Quality Effect. The more traffic we generate and usage data we collect, the better our overall [ad]
  quality."); GOOGMAYE-000044916-21 (2004), at 18 (Brin notes that "[w]e could take advantage ofour scale
  more. [H]ave 1000 or 10000 people feeding information into our algorithms").
  59
     Manber Tr. 54:5-56:15 (describing various uses for experiments); Declaration of Satya Nadella, Senior Vice
  President, Online Services Division, Research and Development, In Re Google/ITA (Department of Justice)




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  (2011 ), at 4 ,Il 0(d) ("Almost all innovations on the SERP ... go through a formal experimentation process
  before they are released, and often there are several rounds of experimentation") ("Nadella Deel,").
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     FTC-0000236-44 (2005), at 38 (2005 Founders' Letter).




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  61
     Manber Tr. 57:15-23 (when Manber ran the search quality team, Google was running approximately 5,000
  experiments a year, or about 15 experiments per day, simultaneously); Brin Tr. 160:2-9 (multiple experiments
  are run simultaneously, with each typical experiment using approximately one to two percent of total user




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  volume). Microsoft runs approximately ten experiments simultaneously. Microsoft Corp., "Microsoft
  Response to DG Comp RFI" (Nov. 21, 2011), at 78.




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  62
     Susan Athey, "Scale in Online Search" (Mar. 10, 2012), at 10-11; Nadella Deel. at 4 ,IlO(d).
  63
     Susan Athey, "Scale in Online Search" (Mar. 10, 2012), at 10-11 ("Today, Microsoft has relatively few users
  it can use for experiments and there is a limit to the number of parallel experiments that a single query can be
  64
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  part of without compromising the robustness of the results").
     Microsoft asserts that additional query volume will also help its algorithms.to detem1ine what web pages to
  crawl and index, based on observed user interest of similar web pages. Susan Athey, "Scale in Online Search"
  (Mar. 10, 2012), at 6-7; Microsoft Corp., "Microsoft Response to DG Comp RFI" (Nov. 21, 2011), at 63
  ("Queries are a critical component of the user data necessary to identify and rank URLs and documents for
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  inclusion in a search index"). Moreover, while Bing maintains an i1,1dex of approximately 43 billion documents
. (as of November 2011), it "serves" only 16 billion of those documents. The remaining 27 billion web pages
  have not been clicked on recently enough (if ever) to give Bing's algorithms a sense as to "whether they are
  suitable" or relevant to user queries. Id. at 63. Google served more than 200 billion documents, at last estimate,
  according to Sergey Brin, who testified that Google reached this point several years ago. Brin Tr. 339:14-23. It
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  does not appear that Google relies on query volume in order to determine whatto index. Udi Manber testified
  that Google indexes everything it can. Manber Tr. 34:24-25.
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  65
     CX-129 (GOOGMANB-000029871-75) (2009), at 73 ..
  66
     See Schmidt Tr. 119:24-120:8 (" .... Think of it this way, advertisers don't put in one ad. They put in a
  thousand ads against different keywords and different combinations. So if you have a thousand advertisers and
  a thousand such combinations, you have a million ads that you can choose from. So that's clearly better than
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  having a hundred ads - right- because you can [pick] the one which is -you know, the person who wants
  camping equipment that's blue in New Hampshire"); Brin Tr. 192:10-14 ("Having a good selection of
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  advertisers to choose from definitely helps having the option of producing a good ad, no question"); id. at
  193:20-24 (agreeing that having more ads means that Google is more likely to have the right ad for the right
  user at the right time). See also, e.g., CX-81 (GOOGROSE-000013304-12) (2004), at 6 ("More advertisers
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  (and the ads they bring with them) increase overall ads quality by increasing the number of total 'choices.' This
  is yet another example of a positive feedback and/or scale effect").
  67
     See Schmidt Tr. 73:2-23 ("Having more advertisers fills out your offering .... [I]fyou have one advertiser,
  only one, and then the ad is - is - the wrong ad - obviously, more advertisers up to some point of diminishing
  returns does actually kind of fill out your portfolio"); Wojcicki Tr. 110: 16-22 ("Well, I think when we have
  more advertisers we're able to cover more topics"). See also e.g., GOOGBRIN-000019771 (undated, c. 2004),
  at 51 ("More advertisers improves partner monetization: more ads on more queries ( coverage, CTR). More
  competitive auction (CPC). Overall, higher monetization (RPM)").
  68
     See Brin Tr. 171 :24-173:6 (Google relies on what ads a user clicks on and how the user engages with the ad
  to determine whether to show an ad, how to rank the ad, and how to price the ad); Schmidt Tr. 78:13-22 (more
  ads gives a search engine "more at-bats," or "more opportunities to show that ad"); Wojcicki Tr. 104:17-19,
  105:20-106:9 (testifying that "we determine relevance mostly by do we see the users have clicked on these



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  things in the past," and that Google's predicted click-through rate is calculated "based on the previous users that    f
  have [clicked] that ad"); Fox Tr. 218:12-219:6 (describing how Google relies on ad clicks and user engagement          L
  with ads). See also Preston McAfee, Presentation, "Scale, Data, and Machine Leaming: Solving the Search
  Problem" (2011), at 6 ("Click data is used to update click probability on ads").                                       f
  69
     See Brin Tr. 195:4-7 (higher quality ads "probably" lead to better conversion rates for advertisers); Amazon
  IR (Feb. 15, 2012) (larger pool of advertisers improves advertiser performance). Although the definition for
  "conversion" is not settled- advertisers define "conversions" to mean a number of things, including whether a
  user stays on a website, makes a purchase, comes back to a website, among other things - Google uses the term
  "conversion" to refer to some successful occurrence for the advertiser. Brin Tr. 178:4-12.
  70
     See Wojcicki Tr. 121:6-12 ("So when we're able to develop a more relevant ad, that does help the advertiser's




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  ROI"); Schmidt Tr. 120: 16-121 :6 (more ads helps to "fill out" a "fully built out set of choices," which leads to a
  "fully-monetized ad"). See also Amazon IR (Feb. 15, 2012) (larger pool of advertisers improves advertiser
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  performance and leads to more advertiser demand).




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  71
     See Wojcicki Tr. 109:1-14 ("more advertisers means we generate more revenue" to Google because "we have
  more ads that appear" and "because they bid, they could also increase the auction price because there are more         r
  advertisers"); Schmidt Tr. 96:4-97:11 (more advertisers in the auction increases Google's revenues); Brin Tr.




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  197:6-199:1 (more advertisers improves Google's monetization). See also e.g., GOOGBRIN-000019771
  (undated, c. 2004), at 51 ("More advertisers improves partner monetization: more ads on more queries




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  (coverage, CTR); more competitive auction (CPC). Overall, higher monetization (RPM)"); Susan Athey,
  Presentation, "The Role of Scale in Competing in Online Search" (Mar. 26, 2012), at 7 (chart purporting to
  demonstrate that, as search query (and, thus, ads) volume increases, a search engine's RPM increases). Amazon
                                                  PO
  IR (Feb. 15, 2012) (more advertisers lead directly to higher cost-per-click and higher click-through-rates, which
  improves monetization of search engine). Microsoft calculates Bing's RPM (revenue per thousand page views)
  for the current fiscal year (2012)to be approximately $29. This is up from approximately $27.36 as of the              L
  fourth quarter of 2010. Letter from Jonathan Kanter, Cadwalader, to Barbara Blank, June 25, 2012, at 2.
  Google's RPM has varied from $47.33 in the fourth quarter of2007 to $37.99 as of the fourth quarter of 2010.
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  Michael L. Katz et al., "An Economic Analysis of Microsoft's Allegations that Google's Conduct Hanns
  Competition by Reducing Bing's Scale," at 85 (May 14, 2012). Google calculates its current RPM (as of the
  fourth quarter of2011) to be approximately $43.37. Id. at 90-91. These estimates suggest that Google's RPM
  has been anywhere from 37 percent to 74 percent higher than Bing's in the last several years. However, Google
  asserts that there is no absolute correlation between scale and RPM, noting that, while.Google's query volume
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  has approximately doubled since 2007, its RPM has actually fallen. Id. at 93.
  72
     See Susan Athey, "Scale in Online Search" (Mar. 10, 2012), at 3-4 (discussing substantial financial
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  investments into search quality; noting that additional scale plays a key role in the recovery of fixed costs, and
  thus, the disparity between Google and Microsoft's cost structure, as well as Google's ability to re-invest into
  additional improvements); Nadella Deel. at 4 ,rlO(e) ("Increased scale allows a search provider to amortize
. across more queries and search ad revenues the high fixed costs associated with entering the search business,"         r
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  including some $4.5 billion in capital investments by Microsoft in 2010).
  73
     See Brin Tr. 197:8-19 ("Having more advertisers would help you do a better job of monetizing publisher
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  sites," so "having more advertisers would help drive more publishers"); id. at 226:21-24 (agreeing with the
  notion that more users leads to more advertisers, which leads to more syndication partners); Schmidt Tr.               r
  150:23-151 :3 (agreeing that large numbers of advertisers lead to higher partner revenues). See also e.g.,             i_
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  GOOGBRIN-000006008 (2002), at 4 ("The more users we have, the more advertisers come, resulting in more
  syndication partners further driving our user base").
  74
     See Brin Tr. 198:14-15 ("advertisers want [more] publishers. They just want the impressions."); id. at
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  212:13-15 (in 2002, Google "generally felt that getting a broader base of inventory would attract more                 l
  advertisers"); Schmidt Tr. 83:21-84:3. See also e.g., CX-78 (GOOGROSE-000002870) (2007), at 6 ("The
  Virtuous User Cycle: ... Advertisers want access to largest publisher network and vice versa.");                       r
  GOOGBRIN-000005558 (2002), at 6 ("More partners bring more advertisers and higher CPC. More
  advertisers and higher CPCs brings more partners."); GOOGMAYE-000044927-33 (2004), at 28 ("Our Ads
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  network ... we've tapped network-effects that reinforce strength & growth for the largest network (advertisers
  want the broadest distribution; publishers want the most advertisers/coverage).").
  75
     See, e.g., CX-78 (GOOGROSE-000002870) (2007), at 6 (explaining "The Virtuous User Cycle");
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  GOOGBRIN-000049311-12 (2007), at 11 (Brin urges the goal of"driv[ing] the virtuous cycle between
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publishers and advertisers"). Cf GOOGFOX-000025982-83 (2010), at 82 (noting that recent press article is
"premised on the notion that MSFT and Yahoo are not able to take full ad revenue advantage of their search
query share, which may be true").
76
   See Schmidt Tr. 74:3-8 (agreeing generally with the concept of the "virtuous cycle," and testifying that
"[t]hese are scale business[es]. You want to get to scale .... Larger indices; more advertisers; obviously, more
revenue; more reach ... those sorts of things."); id. at 85:8-87:20; Brin Tr. 225:17-227:4 (agreeing generally
with the concept of the "virtuous cycle"). See also Preston McAfee, Presentation, "Scale, Data, and Machine
Leaming: Solving the Search Problem" (2011), at 6 ("scale, liquidity, and access to data results in a virtuous
cycle"); Microsoft EC Submission at 17 ("for smaller search engines, scale generates a 'virtuous cycle' that
rapidly improves quality").




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77
   See Schmidt Tr. 178:17-179:5 (" .... There's some evidence ... that we're past the point where there's any
particular benefit of using the user ... information to improve [search quality on tail queries]. In other words,
we have enough users already that more users don't make it much better."); id. at 284:3-286:18 (same); Brin Tr.




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145:7-153:6 (discussing scale curve and diminishing returns; testifying that, while data sources are "still
valuable, but you know, ... you'd have to like double or ten times them to get you know, materially better";
agreeing that Google's search quality will not improve significantly based on additional queries today; and




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testifying that if Google had 10-20 percent fewer queries today, this would create a "pretty marginal difference"
in search quality); Manber Tr. 150: 14-23 ("Well, obviously, after a while, there's a diminishing return for




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data."). See also e.g., CX-129 (GOOGMANB-000029871-75) (2009), at 73 (Google chief economist Hal
Varian argues that increases in data are subject to "diminishing returns"); Michael L. Katz et al., "An Economic
Analysis of Microsoft's Allegations that Google's Conduct Hanns Competition by Reducing Bing's Scale"
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(May 14, 2012), at 46 ("Benefits of scale in search are subject to diminishing returns. Click-and-query data are
an important input to Google's search algorithms, but the value of incremental data in providing relevant search
results decreases as the amount of data available to those algorithms increases"); id. at 104 ("the effect of
incremental advertisers on search monetization are subject to diminishing returns").
78
   Brin Tr. 154:5-14. Brin did not state this premise as a mathematical certainty, only as an illustration of the
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"diminishing returns" curve. Preston McAfee, Yahoo!' s former chief economist, suggested that "having 2-3
times as many user observations," particularly for "tail" queries, would result in substantially more than a one
percent increase in quality- indeed, doubling a search engine's queries would be "an enormous advantage."
McAfee suggested that a 3-to-1 advantage in query volume could result in a 70 percent increase in "precision"
for that search engine's ability to answer unique queries. Preston McAfee, Yahoo!, Presentation, "Scale, Data,
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and Machine Leaming: Solving the Search Problem" (2011), at 8.
79
   See Brin Tr. 154:15-158:18 (testifying that, based on publicly available information of Microsoft's query
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volume, he doesn't believe that additional query volume would significantly improve Microsoft's search
quality). See also Michael L. Katz et al., "An Economic Analysis of Microsoft's Allegations that Google's
Conduct Hanns Competition by Reducing Bing's Scale" (May 14, 2012), at 47 (arguing that, "because of the
diminishing value of additional click-and-query data and Bing's substantial and growing query volume, it is
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unlikely that query data from Google's exclusive syndication and distribution arrangements would provide any
considerable value to Bing"); id. at 104-105 (Microsoft already has a significant number of advertisers; any
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increase in ads volume or clicks would result in insignificant additional yield).
80
   See Microsoft EC Submission, at 26 ("The marginal returns for additional scale decrease once a platform
reaches a certain scale") (Mar.31, 2011); Susan Athey, "Scale in Online Search" (Mar. 10, 2012), at 9 ("as
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query volume grows, RPS grows quickly at first and then becomes flatter, as more and more of the most
important advertisers have already been attracted to the platform").
81
   Microsoft estimates that, in 1997, the size of the world wide web was approximately 200 million web pages;
by 2008, the figure was approximately 1 trillion web pages; and today, there are anywhere between 5 and 20
trillion web pages. Susan Athey, "Scale in Online Search" (Mar. 10, 2012), at 11. See also e.g., Schmidt Tr.
33:15-25 ("the rate of growth of the Internet appears to be accelerating, so it's getting- it's getting worse faster,
if you will, primarily because of generation of ... user content").
82
   Susan Athey, "Scale in Online Search" (Mar. 10, 2012), at 11.
83
   Id. To this end, Microsoft conducted an experiment in 2008 that tested the effect on user engagement of
reversing algorithmic improvements. Microsoft found that, when it moved back to two-year-old algorithms
(essentially eliminating two years' worth ofus·er data), the search engine "significantly reduced user
engagement" with Microsoft's search engine. Id. at 13. Google came to the same conclusion when it removed



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user click data from Google's NavBoost algorithm, which had a "significant [negative] impact" on search
quality. Manber Tr. 122:16-123:12.
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84
   However, Preston McAfee, Yahoo! 's former chief economist, suggests that, "[o]f all search engines, only
Google may be experiencing declining returns to scale." As described earlier, supra note 78, he also stated that
"having 2-3 times as many user observations," particularly for "tail" queries, would be "an enormous                 r
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advantage" to a search engine. McAfee suggested that a 3-to-1 advantage in query volume could result in a 70
percent increase in "precision" for that search engine's ability to answer unique queries. Preston McAfee,
Yahoo!, Presentation, "Scale, Data, and Machine Leaming: Solving the Search Problem" (2011), at 8.                   r
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85
   Microsoft IR (Jun. 11, 2012), at 8. Contrast this with Sergey Brin's testimony that Google's quality              l_
difference would be '"pretty marginal" with 20 percent fewer queries today. Brin Tr. 153: 1-6. See also Preston




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McAfee, Presentation, "Scale, Data, and Machine Leaming: Solving the Search Problem" (2011), at 8
(theorizing that, "[o]fall search engines, only Google may be experiencing declining returns to scale").
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86
   Microsoft IR (Jun. 11, 2012). In 2010, Yahoo! contributed some 92 billion queries to Microsoft through the




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partnership. See Microsoft Data Submission (Jan. 31, 2012).
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88
   Susan Athey, Presentation, "The Role of Scale in Competing in Online Search" (Mar. 26, 2012), at 22.              r
   Microsoft IR (Jun. 11, 2012). However, the particularities of the Microsoft-Yahoo! agreement makes things




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slightly more complex than if Bing were to run experiments directly over its own user volume. Id.
89
   Microsoft IR (Jun. 11, 2012). See also Susan Athey and Glenn Ellison, "Share, Scale, and Platfonn Policy as




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Drivers of RPS: Together, Can Yahoo! and Microsoft Close the Gap?" (Apr. 3, 2008), at 5.                             i
90
   Microsoft's modeling suggested an improvement of 20 percent; Microsoft has actually realized approximately
3 percent improvement. Microsoft cites a host of complexities surrounding the agreement (e.g., payments of
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large guarantees, non-discriminatory experiments) that have so far prevented Microsoft from taking full
advantage of the additional volume. Microsoft believes that RPS will improve in line with its initial modeling
as it works out some of these issues. Microsoft IR (Jun. 11, 2012).
91
   As noted earlier, Google's mobile conduct will be described in a supplemental memorandum. In addition to
the categories of conduct described herein, Staff initially investigated several other allegations, including: (i)
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that Google was unlawfully refusing to sell search advertising to certain competitors; (ii) that Google was
unlawfully blocking competitors' access to YouTube video content; and (iii) that Google's exclusive
agreements with desktop distribution partners (OEMs, browsers, and independent software vendors) were
anticompetitive. Staff has not found sufficient evidence to support these allegations, and does not discuss them
in detail here.                                                                                                      l
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92
   For example, Google removed search result pages from its index with no user testing, having detennined that
such pages constitute spam. Google also changed its algorithm without testing to stop taking into consideration
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the co-occurrence of product comparison sites. These changes, which may have significant effects on Google's
SERP, are often implemented through a "Changelist process" with little documentation.                                L
93
   The "sandbox" is a closed system of Google engineers where Google runs sample queries using the new
algorithm and makes adjustments as needed. Google IR (May 23, 2011).
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94
   Id. Generally, three to five raters compare the SERPs for a new algorithm against the old algorithm and score
the new SERP as being more or less relevant than the old SERP. RBB Economics, Google's Assessment of
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Changes to the Product Universal Results, at 4-5, Google Submission (Sep. 6 2010) (White Paper).
95
   According to Google, it conducts live tests if the SxS results show that the new algorithm provides better        r
results. Google IR (May 23, 2011). Live experiments may be conducted to assess the relative number of clicks         l
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and abandoned searches between the new and old algorithm. Id.
96
   Google IR (May 23, 2011).
97
   Google IR (May 23, 2011).                                                                                         r
98 Id.                                                                                                               L
99
   Google Submission, "Search Innovation: An Overview of Developments in the Delivery and Display of
Thematic Search Results" (Dec. 21, 2011), at 59 ("Google Search Innovation White Paper"); GOOGMAYE-
000002939-40 (2003), at 39. Chris Sherman, Online Shopping with Google's Froogle, Search Engine Watch,
Dec. 11, 2002, http://searchenginewatch.com/article/2067723/0nline-Shopping-with-Googles-Froogle (Google
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launched its product vertical, Froogle, on Dec. 11, 2002); Google Newsletter Archive, Google Introduces Image
Search, http://www.google.com/googlefriends/jul2001.html #image (last visited Jul. 31,2012) (Google Image            r
Search launched on Jul. 28, 2001); Stefanie Olsen, Google Search Gets Newsier, CNET, Sep. 23, 2002,                  L
http://news.cnet.com/2100-1023-958927.html (Google launched Google News, on Sep. 23, 2002); Chris

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Sherman, Google Introduces Book Searches, Search Engine Watch, Dec. 16, 2003,
http://searchenginewatch.com/article/2065 619 /Google-Introduces-Book-Searches (Google launched Google
Print on Dec. 16, 2003);The above citations are linked-to from, Google's Official Webpage, Our History In
Depth, http://www.google.com/about/company/history/#2012 (last visited Jul. 31, 2012).
100
    Mayer Tr. 67:3-18.
101
    GOOG-Texas-1325832-33 (2010), at 33.
102
    GOOG-Texas-1486915-70, at 28-29. Numerous documents demonstrate Google's recognition of this
vertical threat. See, e.g., GOOG-ITA-XX-XXXXXXX-16 (2009), at 4-5 ("Some vertical aggregators are building
brands and garnering an increasing% of traffic directly (vs. through Google); ... Strong content is improving
aggregator organic rankings and generating higher quality scores, giving them more free and/or low-CPC




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traffic; ... A growing% of finance/travel category queries are navigational vs. generic (e.g., southwest.com vs.
cheap airfare). This demonstrates the power of these brands and risk to our monetizable traffic"); GOOG-ITA-
XX-XXXXXXX-46 (undated, c. Feb. 2009), at 11 (presentation discussing the "vertical specialist challenge," and




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noting that the "potential threats to Google" included "generic product searches moving from Google ... to
Vertical aggregators," "Vertical Aggregators taking higher share of 'last clicks' before sale," and "merchants
increasing% ofspend on aggregators ... vs. Google") (emphasis in original). CX-158 (GOOG-ITA-06- ·




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0021809-13) (2005), at 10 (email from Bill Brougher, a Google product manager, stating, "what is the real
threat ifwe don't execute on verticals? (a) loss of traffic from google.com because folks search elsewhere for




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some queries; (b) related revenue loss for high spend verticals like travel; (c) missing opty if someone else
creates the platfonn to build verticals; (d) if one of our big competitors builds a constellation of high quality
verticals, we are hurt badly."); GOOGWRIG-000069488-524 (2008), at 489 ("Google's core business is
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monetizing commercial queries. If users go to competitors such as Amazon to do product queries, long-term
revenue will suffer."); GOOG-Texas-0274944-47 (2009), at 44 (discussing creation of a slide for the Google
Board of Directors about verticals from a search perspective, i.e., "users going to aggregators rather than
[G]oogle for specific queries" and an ads perspective).
103
    See, e.g., GOOG-ITA-XX-XXXXXXX-55 (2009), at 47 (presentation laying out "four key vertical growth
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opportunities," including finance (EU), travel, local, and retail). Most recently, Google has introduced its own
social product, Google Plus, which competes with Facebook, Twitter, and other social networking sites. See
Twitter IR (Dec. 13, 2011); Facebook IR (Jan. 24, 2012).
104
    By March of 2004, Google had launched the Beta form of a local vertical property to handle local queries.
Juab Carlos Perez, Google Offers New Local Search Service, Info World, Mar.17, 2004,
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http://www.infoworld.com/t/applications/google-offers-new-local-search-service-5 61.
105
    See, e.g., GOOG-Texas-0197410-14 (2008), at 10 (preparing presentation for executives showing Amazon
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queries increasing and Google's flat or declining, as "a strategic justification for the Product Search
Movement"); GOOG-Texas-0971713-27 (2008), at 13 (presentation discussing investing in content acquisition
to win maps/local). For example, in shopping, Google committed to massive investment, introduced a new
version of its shopping vertical, and introduced new ways of displaying infonnation from the vertical. In 2006,
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Google decided that its comparison shopping site, Froogle, had failed, and decided to stop working on or
promoting Froogle, while it worked on its new shopping product, Google Product Search. GOOGEC-
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0076341-42 (2006), at 41; GOOG-Texas-0213227 (2006). Accordingly, the traffic to Froogle fell
dramatically. Google launched Google Product Search to replace Froogle in Apr. 2007. Danny Sullivan,
Goodbye Froogle, Hello Google Product Search, Search Engine Land Apr. 18, 2007,
http://searchengineland.com/goodbye-froogle-hello-google-product-search-l 1001; GOOG-Texas-0216363
O




(2007) (discussing launch of Google Product Search the following week). Shortly afterward, in May 2007,
Google launched the product universal. See Press Release, Google Inc. Google Begins Move to Universal
Search, Release (May 16, 2007), previously available at
http://www.google.com/intl/en/press/pressrel/universalsearch 20070516 (accessed Feb. 1, 2012, since removed
from this URL, copy saved by Staff); David Bailey, An Insider's View of Google's Universal Search,
previously available at http://searchengineland.com/an-insiders-view-of-google-universal-search (accessed
February 1, 2012, since removed from this URL, copy of article saved by Staff}
106
    See CX-157 (GOOG-Texas-0213579-580) (Oct. 5, 2009), at 580 (including slide for Google Board
presentation, "Vertical Search: Making progress on multiple fronts," identifying Google verticals in images,
books, products, news, travel, health, real estate, finance, and mortgages). Google launched Google Finance on
Mar. 21, 2006. AC Narendran & Katie Jacobs Stanton, Spring is the Season for Love (and Data), Google, Mar.



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21, 2006, http://googleblog.blogspot.com/2006/03/spring-is-season:.for-love-and-data.html#!/2006/03/spring-is-             f
season-for-love-and-data.htmLGoogle launched Google Health on May 19, 2008. Marissa Mayer, A Peek into                     L
Our Search Factory, Google Blogspot, May 19, 2008, http://googleblog.blogspot.com/2008/05/peek-into-our-
search-factory.html#!/2008/05/peek-into-our-search-factory.html. Google launched a vertical that enabled users             (
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to compare mortgage options on Oct. 29, 2009. Dan Friedman, Introducing Adwords Comparison Ads, Google                     I
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Adwords Blogspot, Oct. 29, 2009, http://adwords.blogspot.com/2009/10/introducing-adwords-comparison-
ads.html. Google launched its flight search service on Sep. 13, 2011. Kourosh Gharachorloo, An Early Look at
Our Flight Search Feature, Google Inside Search Blogspot, Sep. 13, 2011,                                                   r
http://insidesearch.blogspot.com/2011/09/early-look-at-our-flight-search-feature.html. Google is also                      L
experimenting with a hotel finder ver~ical. See www.google.com/hotelfinder/; Eric Swallow, Google Launches




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Hotel Search Tool with Room Price Data, Mashable, Jul. 28, 2011, http://mashable.com/2011/07/28/google-
hotel-finder/.
107
    Marissa Mayer later served as vice-president of search products, with product management responsibility for




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all of Google's search products including web results, product search, local search, image search, etc., starting
in Nov. 2005. Mayer Tr. 8:15-8:20. In Jul. 2012 Mayer left Google to join Yahoo! as its CEO. Alexei                        '
Oreskovic, Yahoo hires longtime Google exec Mayer as new CEO, Reuters, Jul. 16, 2012,




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http://marketday. msnbc .msn. com/ news/2012/07 / 16/ 12 773 213-yahoo-hires-longtime-goo gle-exec-mayer-as-
new-ceo ?lite.




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108
    See Mayer Tr. 91: 13-92:6 ("Universal search was a term that I came up with. . .. Eric asked what new types
of things we could do in search, and I said, wouldn't it be great if people could just use our one search box and
get all the different results in one place?'').
109
110
    GOOGMAYE-000002939-40 (2003), at 40.         PO
    See David Bailey, An Insider's View of Google's Universal Search, previously available at
http://searchengineland.com/an-insiders-view-of-google-universal-search (accessed Feb. 1, 2012, since removed              L
from this URL, copy of article saved by Staff) (David Bailey is the lead Engineer of Universal Search); Mayer
Tr. 90:20-91 :12 (" ... one box was predictive ... we had one box technology which would predict whether or not            r
                                    by

one box results would be useful and would then go out to the index.").
111
    See David Bailey, An Insider's View of Google's Universal Search, previously available at                              L
http://searchengineland.com/an-insiders-view-of-google-universal-search (accessed Feb_. 1, 2012, since removed
from this URL, copy of article saved by Staff) (David Bailey is the lead Engineer of Universal Search).
112
    Mayer Tr. 90:2-91:12 "("With universal search we began searching everything with every query ... ").                  i
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113
    Google explains that with the introduction of Universal Search, it moved from featuring "10 blue links"
( algorithmically calculated organic search results) on its search results page to incorporating ·"thematic" vertical
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content where Google deemed it to be relevant to users. See Google Submission to Federal Trade Commission,
Dec. 21, 2011, Search Innovation: An Overview of Developments in the Delivery and Display of Thematic                      L
Search Results ("Google Search Innovation White Paper"), at 56; Google Narrative Interrogatory Response,
(Oct. 14, 2011), at 23-35.                   .                                                                            r
            ai




114
    For example, news articles were ranked by Google News on a scale of0-0.35; images were ranked by
Google Images on a scale from 0-6; and websites in Google's web search index were ranked on a scale from 0-               L
bt




0.5. GOOG-Texas-0178786-803 (Apr. 18, 2006), at 803. Google thus had no way of directly comparing the
relevance rankings of items within these different corpora.
11s   Id.
116
    For example, Google compares the quality of the shopping results in its shopping vertical with other
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shopping sites to compare its shopping vertical to the results provided by competitors. Id.; GOOGMAYE-
000019280 (Mar. 5, 2003), at page 6 (comparing Froogle with competitors Yahoo, Amazon, eBay, BizRate,
                                                                                                                          r
DealTime, and others using metrics "Top IO Precision" and "Avg.# Good Results"). See also GOOG-WRIG-                      L
000069488-524 (2008), at 490 ("Key metrics -Better search quality than both Amazon and Nextag on all but
their top queries ... Q4 goals - Rank #1 in search quality vs. all competitors, including Amazon and eBay");              r
GOOGEC-0015567-76 (Feb. 26, 2007), at 74 (Bill Brougher explaining, "It's not really apples-to-apples to
compare eBay or shopping.com to Google web; more consistent would be to compare to froogle since it is our                l
shopping product.").
117                                                                                                                        r
    Google Search Innovation White Paper (2011), at 57-58.                                                                 I
118
    Id. at 58.



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119
    For example, in 2008, Google had the goal to "[i]ncrease google.com product search inclusion to the level of
google.com searches with 'product intent', while preserving clickthrough rate." GOOG-Texas-0227159-66
(2008), at 60 ("2008 goal" for "Google.com Integration"). Google had a goal for the first quarter of 2008 to
increase the triggering of the Product Universal to 6% for English sites. GOOG-Texas-0236963-65 (2008), at
63. In the second quarter of 2008, that goal changed to increasing top OneBox coverage by 50 percent and top
CTR by 10 percent, and to."[i]ncrease coverage on head queries. For example, we should be triggering on at
least 5 of the top 10 most popular queries on amazon.com at any given time, rather than only one." GOOG-
Texas-0227159-66 (2008), at 60. To increase triggering on head queries, Google also implemented a change to
trigger the Product Universal on google.com queries if they appeared often in the product vertical. "Using
Exact Corpusboost to Trigger Product Onebox" compares queries on www.google.com with queries on Google




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Shopping, triggers the Product OneBox if the same query is often searched in Google Shopping, and
automatically places the universal in position 4, regardless of the quality of the universal results or user "bias"
for top placement of the box. GOOGLR-00330279-80 (2008) (Launch Report for algorithm change).




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120
     See, e.g., GOOG-Texas-0233970 (2007) (mandate from executive meeting to increase appearance of
Universal Search results for all product-related queries as quickly as possible); GOOG-Texas-1004148-52
(2007), at 48 ("Larry thought product should get more exposure"); GOOG-ITA-XX-XXXXXXX-46 (2009), at 36




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(presentation stating that Google could take a number of steps to be "# 1" in verticals, including "[e]ither
[getting] high traffic from google.com, or [developing] a separate strong brand," and asking: "How do we link




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from Search to ensure strong traffic without harming user experience or AdWords proposition for
advertisers?"); GOOGFOX-000082469 (2009), at 4 (presentation notes that Mortgage OneBox on Google.com
"drives traffic to consumer front end"). In order to speed up market share in shopping for Google, the shopping
                                                 PO
team wanted a "strategic direction to dial up google.com inclusion," and had a list of session metrics showing
Google at #8 behind eBay, Amazon, Shopping.com, Shopzilla, etc. GOOG-Texas-0197424-29 (2008), at 24.
121
     GOOG-Texas-0191859-61 (2008), at 59 (reducing the frequency of the product universal would "ced[e]
recent share gains to competitors"); GOOG-Texas-0214339 (2008) (Jen Fitzpatrick noting, "Long term, the
product search team feels strongly that PS-universal is critical to maintain and increase the share of product-
                                   by

related (and therefore highly commercial) queries that people do on Google."); GOOGEC-0069974 (2009)
(email from John Hanke, head of Google Local, to Marissa Mayer, "long term, I think we need to commit to a
more aggressive path w/ google where we can show non-webpage results on google outside of the universal
'box' ... most ofus on geo think that we won't win unless we can inject a lot more oflocal directly into google
results."); GOOG-Texas-0199877-910 (2008), at 909 ("Google's key strengths are: Google.com real estate for
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the ~70MM of product queries/day in US/UK/DE alone"); GOOG-Texas-0909676-77 (2009), at 76 (John
Hanke noting, "I think the mandate has to come down that we want to win [in local] and we are willing to take
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some hits [i.e., trigger incorrectly sometimes]. I think a philosophical decision needs to get made that results
that are not web search results and that displace web pages are "OK" on google.com and nothing to be ashamed
of. That would open the door to place page or local entities as ranked results outside of some 'local universal'
container. Arguably for many queries_all_ of the top 10 results should be local entities from our index with
        ai




refinement options. The currently mentality is that the google results page needs to be primarily about web
pages, possibly with some other annotations if they are really, really good. That's the_ big weakness that bing is
bt




shooting at w/ the 'decision engine' pitch- not a sea of pointers to possible answers, but real answers right on
the page .... ").
122
     In the spring of 2008, Google estimated that the top placement of the Product Universal would lead to an
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"annualized loss of $154 million" on product queries. GOOG-Texas-0178597-607 (2008), at 598 ("Product
Search Universal Holdback Experiment"). The advertising team requested that the Product Universal trigger
less frequently to reduce the loss of ads revenue. The Product Search team objected, presenting to executives
that: Google must retain and grow product queries: "We face strong competition and must move quickly.
Turning down onebox would hamper progress as follows - Ranking: Losing click data harms ranking;
[t]riggering Losing CTR and google.com query distribution data triggering accuracy; [c]omprehensiveness:
Losing traffic harms merchant growth and therefore comprehensiveness; [m]erchant cooperation: Losing traffic
reduces effort merchants put into offer data, tax, & shipping; PR: Turning off onebox reduces Google's
credibility in commerce; [u]ser awareness: Losing shopping-related UI on google.com reduces awareness of
Google's shopping features." GOOG-Texas-0178597-607 (2008), at 607. Rather than reducing triggering of
the Product Universal, Google moved it down from position 1 to position 4 on the page, which reduced some
cannibalization from the ads. See infra note 138.                                                     ·



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123
    See, e.g., GOOGFOX-000015092 (2009), at 5 (presentation suggests that Google's unique user interface for
its mortgage vertical ad leads to greater user interaction and higher click-through rates); GOOG-Texas-
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0199877-910 (2008), at 881 ("Vision: Improving Google.com search and ads for product queries ... Proposed
improvements ... PS blending: New Uis to show product results and lead to a deeper product experience").
124
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    Many subtle changes to Google's interfaces affect clicks to those links. For example, a merchant star rating
on an Amazon ad reflecting Amazon's high rating (regardless of whether Amazon or one of its merchants is              l
selling the product) increases clicks on text ads by 40 percent, Amazon CID Response at 17. Google has
decided, however, to treat eBay ads differently and will not display a star rating for eBay based on the quality of
eBay as a merchant, but only the rating of the underlying merchant- eBay thus does not get that increase in           L
clicks which Amazon has experienced. eBay CID Response at 4-5.




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125
    See, e.g., Living Social IR (Apr. 26, 2012). At one time, Google did consider third-party OneBoxes, but
never deployed them. Mayer Tr. 83:6-84:1 (recalling that Google experimented with third-party OneBoxes in
2005 and 2006, but abandoned the effort).




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126
    Google has acknowledged that it slotted its Universal Search blends into fixed positions on its search results
page irrespective of the so-called organic search results. Google Search Innovation White Paper, at 57-58             r
(2011). However, Google argues that it is necessary to use different signals in returning organic results, which




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are triggered by a simple relevancy calculation, and vertical content, which requires an evaluation not just of
relevancy, but of quality and other factors not identifiable by Google's organic results algorithms. See Google




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Submission to the European Commission, "Comparing Apples with Oranges, How Google Ranks Universal
Search Results from Specialized Content-Specific Search Algorithms Within Web Search," Sep. 7, 2010.
Microsoft also uses separate algorithms for incorporating vertical content into its search results page because of
127
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the differences in relevancy signals for each type ofresults. See Microsoft IR(Oct. 12, 2011).
     Click-through data shows that ranking position for natural search matters a great deal: 95 percent of users
first click on rankings one through five. eBay IR (Jul. 16, 2012). See also Amazon CID Response at 21 (citing
                                                                                                                      rI


study performed by Tevye Krynski & Aaron Beppu, "Positional Bias White Paper" (Jul. 22, 2009), to show that
drop in clicks from position one to position two on the SERP attributable to the position is about 37 percent,        r
                                   by

from position two to position three is 24 percent, and from position three to position four is 17 percent).
128                                                                                                                   l
    As described earlier Google claims that it is unable to compare the quality of its own vertical properties
against competing vertical properties. To the extent that it is unable to directly evaluate the scores of Google's
vertical content against competitors' vertical properties, see supra note 114, this is true. However, Google          r
routinely compares the quality of its vertical properties against competitors' vertical properties in seeking to
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improve the content of its own vertical properties. See supra note 116. See also Amazon CID Response at 35-
37 (providing metric directly comparing the quality of Amazon's product search with Google Product Search).
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129
    See, e.g., Expedia CID Response at 14 (asserting that Google Local only provides listings and links to a few
hotels, with content of questionable quality, which is inferior to Expedia and Hotels.com which provide many          L
more options and quality control); Yelp CID Response at 26-27 (listing several Yelp quality advantages
including more and higher quality content and better filtering of unreliable reviews); TripAdvisor CID                r
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Response at 28-29 (alleging that the superiority ofTripAdvisor features includes amenity and attribute filtering      I

of hotels, the largest corpus of user generated reviews in the travel space, personalization and friend reviews       L
bt




through connection to Facebook; sophisticated content integrity algorithms, and vacation rental property
listings); Amazon CID Response at 35-37 (listing Amazon advantages including better access to real-time               r
                                                                                                                      i
Amazon product availability, a catalog designed and structured for product search, and better data about              L
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customer behavior); Living Social CID Response at 14-16 (alleging Living Social provides a higher level of
service to consumers and merchants than Google and at times has more daily deal offers).
130
    eBay IR (Jul. 16, 20'12).                                                                                         r
131
    Id. This analysis does not account for the existence of navigational searches for eBay, for which users are       l
likely to click on eBay in the search results. On navigational searches, however, Google does not typically
return Google Product Search, so such results are unlikely to be included in the results here.                        r
132
133
    eBay IR (Jul. 16, 2012).
    BE disagrees with the mode of analysis employed by eBay, noting that eBay did not account for clicks on           l
advertisements or navigational clicks, see supra note 131.                        ·
134
    If Google used click-through rates to determine the Universal Search positioning, Google would introduce its      ri
property in, say, position 5 or 10, and if users clicked on the Google property more often than the websites          l_
ranked above it, the property's rank would gradually increase. Or, if Google introduced the property in a higher
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   position, if users clicked on other lower-ranked properties, the property's rank would gradually decrease. Click-
   through rate is an important factor in determining the relevance of other websites. See supra p. 14.
   135
       Mayer Tr. 275:10-276:11.
   136
       Co-occurrence signals were used in many vertical areas. Regarding Google Product Search, see, e.g., Mayer
   Tr. 272:7- 277:8 (explaining that Google used the occurrence ofcomparison shopping engines at positions 1-3
   in the web ranking to boost Google's product universal to position one, because a CSE would appear if it has a
   highly relevant product to the query, and, thus, Google Product Search must also have a highly relevant
   product) (citing GOOG-Texas-0214363 (2009)). See also GOOGLR-00161978-80 (2009), at 78 (launch
   report entitled "Product universal top promotion based on shopping comparison [site] presence" that relies on a
   list of"blessed sites" to trigger top promotion of product universals); GOOGLR-00162103 (2009) (listing




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   sites). Regarding Google Local, a local sites trigger - using, for example, CitySearch and Yelp - appears to
   have been introduced in 2007, see GOOGLR-00297666-69 (2007), at 66 ("added a 'cooccurring sites' signal to
   bias ourselves toward triggering when a local-oriented aggregator site (i.e. Citysearch) shows up in the web




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   results"); GOOG-Texas-1324737-39 (2009), at 38-39 ("final trigger ... includes web-based signals such as
   yelp et al"). Regarding Google Books, Google used Amazon as a trigger, see GOOG-Texas-0196298 (2009)
   (For books, we use Amazon as co-occurring site"). Google appears to have considered a trigger for the finance




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·. "OneBox" based on the presence of finance sites in organic results, but it is not clear it was launched.
   GOOGLR-00257663-75 (2008), at 68.




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   137
       See GOOGEC-0066150 (2009); GOOGLR-00162615-17 (2009), at 15. Google has.provided some
   evidence that it has discontinued this practice with respect to GoogleProduct Search in Dec. 2010.
   138
                                                   PO
       Google did, at times, lower the position of certain Universal Search results. For example, in 2008, Google's
   search quality team recognized that Google Product Search results were often of poor quality. See CX-168
   (GOOG-Texas-0214363) (2009); GOOGWRIG-000041022-23 (2009), at 22; GOOG-Texas-0197396 (2009);
   GOOG-Texas-0180522 (2008), at 22 ("With regard to middle/top threshold, raters say it goes at the top but
   clicks metrics suggest middle"). Around the same time, the Google advertising team expressed concern that the
   photos, pricing information, and other rich data provided by the Google Product Search diverted users' attention
                                     by

   from ads, resulting in fewer clicks on ads. In the spring of 2008, Google estimated that the top placement of
   Google Product Search would lead to an "annualized loss of $154 million" on product queries. GOOG-Texas-
   0178597-607 (2008), at 598 ("Product Search Universal Holdback Experiment"). In response to both concerns,
   Google launched a series of "aggressive demotions" to move most Google Product Search results down a few
   positions on the SERP. See GOOG-Texas-0178597-607 (2008), at 598 ("Product Search Universal Holdback
                             d


   Experiment") ("We are executing an aggressive plan to further improve google.com user experience for
   products that we estimate will reduce annualized loss from ~$130mm to ~$45MM within 4 weeks"); GOOG-
            ne



   Texas-0214409-11 (2008), at 9 (Nick Fox writes that "the product search team said they were going to do a
   bunch of things to dramatically reduce the negative [revenue] impact of the product .... "); GOOG-Texas-
   0178597-607 (2008), at 605 (estimating that these changes would result in the percentages of Google Product
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   Search in positions 1, 4, and 10 going from "85/0/15" to "40/35/25," and a corresponding reduction in loss of
   advertising revenue from $154 million to $70 million). Specifically, in Jul. 2008, Google made three algorithm
   changes to "aggressively demote" more top OneBoxes to middle OneBoxes. GOOGMANB-000056049-54
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   (2008), at 50. These were: (1) "Product Search Universal Triggering 2.0 [which] mainly moves them to a lower
   position", id, (2) "Using Exact Corpusboost to Trigger Product Onebox", which compares queries with queries
   on Google Shopping, triggers the Product OneBox if the same query is often searched in Google Shopping, and
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   automatically places the universal in position 4, GOOGLR-00330279-80 (2008), at 79 (Launch Report for
   algorithm change); and (3) "Aggressive Demotion to Middle for Product Universal," which demotes from
   position one to position four if the product OneBox does not meet a higher relevance threshold, the first web
   result is navigational with high probability, or two out of the top three results are for a manufacturer. This
   change demoted about 51 percent of top product OneBoxes to the middle). GOOGMANB-000055473-76
   (2008), at 73-74 (Launch Report for algorithm change). See CX-168 (GOOG-Texas-0214363) (2009);
   GOOG-Texas-0197396 (2009). The "aggressiveness" of the demotion effort is debatable, as Google continued
   to display Google Product Search results in the fourth position. And even these minor demotions were
   apparently quite controversial within Google. For example, Marissa Mayer "threatened to come to quality
   launch review to defend keeping product universal at [position] I." GOOGWRIG-000041022-23 (2009), at
   22. fo any event, these demotion efforts were short-lived, as Google quickly moved Google Product Search




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 back into the top position on the SERP for many shopping queries. See GOOGEC-0066150 (2009);
 GOOGLR-00162615-17 (2009), at 15.
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  139
      See Facebook Presentation (Mar. 7, 2012), at 6 (showing Google Plus content on the right hand side in
 response to a query for "Music") and at 8 (showing Google Plus pages in an automatic suggestion). Google
 displays only Google Plus content, even if Google's natural search results demonstrate that Facebook, Twitter,
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 or other social media content is the most relevant to a particular query. See www.focusontheuser.org (Follow
 "Watch a Walkthrough" hyperlink) (The contained video demonstrates how Google would display social media
 results on the RHS if Google used the same algorithm for the RHS that it uses to return Organic Search links.);
 Facebook Presentation (March 7, 2012), at 9-12 (showing fair results per the Focus on the Media video).
 140
      See GOOGEUST-000018594-95 (2011).




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 141
      Google initially displayed Google Plus links directly within the block of links, i.e., indented under the link
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 for Dell.com in the example. Facebook IR (Jan. 24, 2012); Facebook Presentation (Mar. 7, 2012), at 7. Some
 companies were quite unhappy about this development. Amazon, for example, was concerned that the inclusion




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 of a link to the Google Plus page on a navigational search for Amazon would drive traffic to Google Plus rather
 than to Amazon. Because it is one of Google's largest advertisers, Amazon requested immediate removal of the          r
 Google Plus link in the mega-site links, and Google complied. See Amazon CID Response at 5-7; Amazon IR




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 (Feb. 1, 2012); GOOGEUST-000_019807-11 (2011), at 7. Google has continued to comply with Amazon's
 request, and does not show the right hand column link to Amazon's Google Plus page as it does for Dell in the




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 screen shot above.                                                                                                ·
 142
       See Facebook Presentation (Mar. 7, 2012), at 11 (showing that, for the query "Macy's",. Google's own web
 search algorithm shows Facebook as the most relevant social media result, and thus should display a link to
 Facebook in the megasitelink).
 143
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      See supra note 106 for the launch dates of these vertical properties. See also Living Social Presentation
 (Apr. 26, 2012), at 22.                                                                                               L
 144
      CX-157 (GOOG-Texas ..0213579-80) (2009), at 80 ("AdWords Comparison Ads to better monetize key
 verticals - Launched Mortgages- Credit cards, Education and Mobile/Telecom coming in Q4/Ql").                         r
                                   by
 145
      See Living Social Presentation (Apr. 26, 2012), at 22 (showing screen shot of Google Offers ads).'
 146
      See Amazon CID Response at 30 (showing screen shot of new Google paid shopping interface).
 147
      See Expedia Presentation to the FTC (Feb. 13, 2012), at 18 (showing screen shot of Google Flight Search).
 Google Flight Search is now labeled as "Sponsored".              ·
 148
      Google previously relied on search advertising - not direct merchant payments - to monetize Google               l
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 Product Search.
 149
      See Google Presentation to FTC on New Shopping Model (May 24, 2012); Danny Sullivan, Google Product·
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 Search to Become Google Shopping, Use Pay-To-Play Model, Search Engine Land, May 31, 2012,
 http://searchengineland.com/google-product-search-to-become-google-shopping-use-pay-to-play-model-                    L
 122959. Google's competitors in these areas also have paid listing models, generating revenue when a user
 clicks through to a merchant site or when a user purchases from the merchant (e.g., LendingTree in mortgages;         r
       ai




 Groupon and Living Social in offers; Orbitz and Expedia in flight search; NexTag, Shopping.com, eBay                  I




 Marketplace, and Amazon Marketplace in shopping).                                                                     L
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 150
      Amazon CID Response at 18 (click-through rate of 34 percent if ads are in the top-of-the-page position; only
 0.08 percent click-through when not at the top of the page); id. 19-20 (the top positioning of Product Listing        r
 Ads push down text ads from others, leading to much lower clicks); id. at 21-22 (Figure 4.2 showing example of        L
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 how receiving higher placement on Amazon pages can give an ads 3.2x the clicks); id. at 29-30 (explaining that
 the graphical Google Shopping paid ads will be placed at the top of the search results, "the most valuable
.placement on the page").                                                                                              r
 151
      See Expedia CID Response at 14 and 25. For example, Google doe·s not provide flight options that contain         L
 segments with multiple carriers or the information required by the Department of Transportation of carriers and
 online travel agents (such as disclosure of operating carrier or baggage fees). Similarly, Google's Hotel Finder
 lacks many features available from competing sites, including the ability to search by amenity, detailed cost
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 information, and detailed descriptions. Id.                                                                           L
 152
      See supra note 123. See also Amazon CID Response at 23-24 (showing increased ad clicks from removing
 background shading and boxes around ads, and from increasing font size); id. at 25 (a small bullet next to a text
 ad increased clicks on Amazons pages by 14.6 percent); NexTag CID Response at 16-26 (explaining that


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Google does not allow comparison shopping sites to advertise in ads with graphics such as Product Listing Ads
and Product Extension Ads which have higher clicks and conversions than text ads).
153
    See Response to the Microsoft Economist Report on "Anticompetitive Organic Search Manipulation" (Jul. 7,
2011) (stating the Panda update ''was designed to ensure a higher ranking for high-quality sites with original
content and information and reduce the ranking of, inter alia, 'content farms,' i.e., low-quality ad-oriented
websites, typically containing content copied from other websites."); Economic Response to the Complaints by
Foundem and Ejustice.fr - RBB Economics (May 12, 2010) (" .. : Google applies a set of rules designed to
prevent sites that contain inappropriate content, malware or non-original content from showing up high in its
search and ad results."). See also Google's Webmaster Guidelines, Little or No Original Content,
http://support.google.com/webmasters/bin/answer.py?hl=en&answer=66361 (last visited Jul. 2, 2012)




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154
    Although Google originally sought to demote all comparison shopping websites, after Google raters
provided negative feedback to such a widespread demotion, Google implemented the current iteration of its so-
called "diversity" algorithm. ·See GOOG-Texas-0179485-92 (2006), at 85 (identifying shopping comparison




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sites for demotion); GOOGEC-0148152-56 (2007), at 53 (testing algorithm that would result in "SERP
declines between 8 and 20 percent" for shopping comparison sites); GOOGMANB-000007246-47 (2007), at
46 (launching the algorithm in Dec. 2007). Google claimed that the goal of this algorithm was to "increase the




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diversity of Google's search results for product related queries.'.' See Response of Google to DG Comp (Nov.
22, 2010), at§ 2.2, p.1.




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          Initially, Google compiled a list of target comparison shopping sites and demoted them from the top 10
web results, but users preferred comparison shopping sites to the merchant sites that were often boosted by the
demotion. GOOGSING-000014116-17 (2006), at 16-17 ("We had moderate losses when we promoted an
                                                 PO
etailer page which listed a single product because the raters thought this was worse than a bizrate or nextag page
which listed several similar products. Etailer pages which listed multiple products fared better but were still not
considered better than the meta-shopping.pages like bizrate or nextag ..... "). Google then tried an algorithm that
would demote the CSEs, but not below sites of a certain relevance. GOOGEC-0168032-33 (2006), at 32.
Again, the experiment failed, because users liked the quality of the CSE sites. GOOGSING-000014375-76
                                    by

(2006), at 75 ("The bizrate/nextag/epinions pages are decently good results. They are usually well-forma[t]ted,
rarely broken, load quickly and usually on-topic. Raters tend to like them. I make this point because the
replacement pages that we promote are occasionally off-topic or dead links. Another positive aspect of the
meta-shopping pages is that they usually give a variety of choices ..... The single etailer pages tend to be single
product pages. For a more general query, raters like the variety of choices the meta-shopping site seems to
                           d


give.") Google tried another experiment which kept a CSE within the top 5 results if it was already there, but
demoted others "aggressively." Id. at 76. This too resulted in slightly negative results. Id
          ne



          Unable to get positive reviews from raters when Google demoted comparison shopping sites, Google
changed the raters' criteria to try to get positive results. Previously, raters judged new algorithms by looking at
search results before and after the change "side-by-side" (SxS), and rated which search result was more relevant
in each position. GOOGEC-0168014-27 (2007), at 25. After the first set ofresults, Google asked the users to
        ai




instead focus on the diversity and utility of the whole set of results, rather than result by result, telling users
explicitly that "if two results on the same side have very similar content then having those two results may not
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be more valuable than just having one." Id. at 23. When Google tried the new rating criteria with an algorithm
which demoted CSEs such that sometimes no CSEs remained in the top 10, the test again came back "solidly
negative." Id. at 19. Google again changed its algorithm to demote CS Es only if more than two appeared in the
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top 10 results, and then, only demoting those beyond the top two. With this change, Google finally got a
slightly positive rating in its "diversity test" from its raters. Id. at 16; GOOGEC-0148152-56 (2007), at 52
("Launch Report: Shopping Comparison Demotion"). Google finally launched this algorithm change in Jul.
2007. GOOGEC-0014649 (2007) (launching at one Google data center); GOOGMANB-000007246-47
(2007), at 46 (launching to all remaining Google data center).                                      .
155
    Brent Rangen, Google Goes Boom on Low Quality Sites ... So They Say, Search Engine Watch, Feb. 25,
2011, http://searchenginewatch.com/article/2049961/Google-Goes-Boom-on-Low-Ouality-Sites ... So-They-Say;
Amit Singhal & Matt Cutts, Finding More High Quality Sites in Search, Google Blogspot, Feb. 24, 2011,
http://googleblog.blogspot.com/201 l/02/finding-more-high-guality-sites-in.html.
156
    Google determined which websites would be demoted in two ways. First, Google had a group of "spam
raters" manually rate whether certain websites would be labeled as "content farms," and thus, subject to
demotion. GOOGHUFF-000089790-93 (2011 ), at 91. Google provided specific instructions for its spam



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raters to aid them in recognizing content farms. GOOGLR-00111384-88 (2011), at 84 (in explaining URL
rating results for expanding the Panda algorithm to all English sites, ''we did 'low quality article recognition'
training for all raters at the end of January (as well as special testing and feedback for US raters only. Because
of this, raters have been more sensitive to the quality of results when rating since that date. Unfortunately, many    f
URL ratings were completed before then")). Google then used the raters' list of "content farms" to lower the           I

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ranking (IR Score) given by raters to those websites. Those rankings were then used to determine the severity
of a website's demotion. "The effect [was] pretty dramatic ; .. " Id.; GOOGSING 000091277-88 (2011), at 77
(stating that the Panda algorithm's "IR Score demotions" lead to "demoting low quality hosts severely").               r
Second, because the Panda algorithm affected such a broad swath of websites, Google manually "whitelisted"             L
websites it did not deem worthy of demotion. See, e.g., GOOGSING-000091277-88 (2011), at 86 (approving




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demotion ofTheFind); GOOGSING-000091277-88 (2011), at 83 (attempting to prevent demotion of                            r
motortrend:com, trailspace.com, federalregister.gov, cases.findlaw.com, ambersmith.ning.com, and
                                                                                                                       I
biggestloser.com); GOOGSING-000092530-42 (2011), at 31 (the "hot_domains" list protects news sites and




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forums from demotion by the Panda algorithm).
157
    Sergey Brin, among other Google executives, testified that Google's vertical websites appear similar to the
websites of Google's competitors. Brin Tr. 78:21-83:17.




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158
    See, e.g., GOOG-Texas-0199877-910 (2008), at 877, 882 ("Product Search Strategy" to "Aggregate product
info from the web"); GOOG-Texas-1249384-86 (2006), at 84 (email from Google Local manager that "the info




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on the page is located elsewhere on the web, we're just aggregating and displaying it in different ways.");            r
GOOG-Texas-0241578-615 (2007), at 588 (Google's Product Universal will "aggregate data about products
from the web and other Google resources" and "aggregate data about merchants").
159
160
161
                                                 PO
    Brin Tr. 82:22-83: 17; Hanke Tr. 251: 18-254:20
    GOOG-Texas-0001809-13 (2007), at 9-11. See also Brin Tr. 116:19-118:4.
    CX-174 (GOOG-Texas-0285382-87) (2006), at 83-85 (noting that Froogle will not rank in Google's own
search results without "special treatment" and suggesting that the solution is to integrate Froogle results into a
Google OneBox); GOOG-Texas-0214361-62 (2009), at 61 ("From a principal perspective it would be good if                 r
                                   by

we could actually just crawl our product pages and then have the[m] rank organically. Problem is that today if
                                                                                                                       L.
we crawl it will never rank"); GOOG-Texas-1249384-86 (2006), at 84 (email from Bill Brougher, product
manager for web search, refusing to index and display business pages from Google's Local vertical in the
organic results, "Generally we like to have the destination pages in the index, not the aggregated pages. So if        r
our local pages are lists of links to other pages, it's more important that we have the other pages in the index.").
                           d


162
    GOOG-Texas-1249384-86 (2006), at 84.
163
    See, e.g., Matt Cutts, Algorithm Change Launched, Matt Cutts: Gadgets, Google, and SEO, Jan. 28,
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2011,http://www.mattcutts.com/blog/algorithm-change-launched (Matt Cutts blog announcing launch of
algorithms to boost "sites that wrote the original content rather than a site that scraped or copied the original      L
site's content."); GOOGMANB-000037864-75 (2011), at 65 (Launch Report for Scrape Demotion
international - "This project demotes hosts that have authored less than· 15% of their content ... ");                 r
       ai




GOOGHUFF-000039491-99 (2008), at 92 (Launch Report for Multi-Scraper- "This project applies a
demotion to results that scrape a large percentage of their content from other sites.); GOOGMANB-                      L
bt




000090848-53 (2011), at 50 (Launch Report for Author Swap- "This project aims at swapping the more
original search result to a higher position if it ranks below the scrapers.").                                         r
164
165
    Goodrow Tr. 267:12-268:8.                                                                                          L
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    Vertical websites provided data on traffic sources pursuant to CIDs issued to them. Staff culled the
following data by examining traffic flow for a random week, the first week of Feb. 2012: FTC-YELP-
00000001 (2012) (92 percent of visits to Yelp come from Google sources); FTC-EBAY-00000003 (67 percent                 l
of visits to eBay come from Google); FTC-EXPE-00000001 (2012) (78 percent of non-navigational search                   L
visits to Expedia come from Google); FTC-TRIPA-00000001 (2012) (73 percent of organic search visits to
Trip Advisor come from Google); FTC-THEFIND-00000002 (2012) (73 percent of organic search visits to                    r
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TheFind come from Google); FTC-NEXT-00000006 (2012) (35 percent of visits to NexTag come from
Google); FTC-LIVSOC-00000003 (2012) (14 percent of all visits to Living Social come from Google).
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166
    CX-152 (GOOGROSE-000012756-65) (2004), at 59.                                                           .
167
    For example, when Google implemented its Panda algorithm in Feb. and Apr. 2011, TheFind,                           r
Shopping.com, and DealTime experienced significant drops in traffic from Google. See TheFind CID Response
(2012), at 3 ("With each of the first two Panda updates (1.0 and 2.0), Google organic traffic to TheFind dropped
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  off by 31 % and 25% respectively"); Shopping.com Data Submission (2012) (showing drop in visits from 1.62
  million to 1.17 million for the weeks before and after the second Panda algorithm launched in the first week of
  Apr. 2011); Dealtime Data Submission (2012) (showing drop in visits from 1.38 million to 0.508 million in the
  weeks before and after Panda initially launched in Feb. 2011). The drop in traffic to those websites also affects
  merchants, who prefer getting traffic from multiple sources. The monthly traffic from Pricegrabber and
  Shopping.com to Amazon dropped from the end of Feb. 2011 through the end of Oct. by, respectively, 35
  percent and 30 percent. Amazon CID Response at 13. In addition, while traffic from Feb 2010 to 2011
  increased 99 percent, traffic from May 2010 to 2011 decreased by 12 percent. Id. at 14. Staff has collected
  evidence of several declines in traffic to other competing verticals due to changes to Google's SERP. See, e.g.,
  FTC-NEXT-00000005 (2012), at 70 (2007 search result page removal resulted in drop from about 900,000 to




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  about 500,000 visits).
  168
      See, e.g., GOOGEC-1068069-72 (2009), at 70 (Comparison Shopping Demotion- "This project is likely to
  affect traffic flow to comparison shopping sites. The document located at [cited document] gives a detailed




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  account of how this affects the number of impressions of various sites. The sites that lose the most impressions
  are, as expected, comparison shopping sites. The sites gaining impressions are retailers and even some
  government and edu sites."); GOOGEC-0148152-56 (2007), at 53 (Comparison Shopping Demotion - "The




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  large comparison shopping sites see SERP declines between 8 and 20%"); GOOGEC-0015560-66 (2007), at
  60 (With respect to removing search result pages from the index, "In the end here the various Google




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  impressions the stores will be losing (not necessarily traffic to the stores, but correlated): ebay- 3.6M
  impressions, amazon_:__ 2.3M, dealtime- 150K, epinions - 200K, kelkoo - 620K, overstock- 50K, pricegrabber
· - 70K, shopping.com - SOOK").
  169                                              PO
      See, e.g., GOOG-Texas-1265906 (2010) (email noting that Google's local property now "dwarfs all other
  local sites in the world"); GOOGFOX-000029790 (2011) (discussing traffic increase since launch of Google
  Advisor vertical).
  170
      GOOG-Texas-0199877-910 (2008), at 906. In its new iteration, Google Product Search took traffic from
  competing comparison shopping sites, despite some "pretty terribly embarrassing failures" with regard to
                                      by

  returning relevant product results. See GOOGWRIG-000041022-23 (2009), at 22. See also GOOG-Texas-
  0192014-18 (2010), at 16 (email noting that Google's product universal has increased shopping queries on
  Google) and, related, GOOG-Texas-0004101-04 (2010) ("Product OneBox Traffic Impact Analysis").
  171
      GOOG-Texas-0199877-910 (2008), at 907.
  172
      GOOG-Texas-0265014-16 (2010), at 14.
                             d


  173
      N exTag CID Response at 13.
  174
      Id. at 12.
            ne



  175
      Websites engaged in "scraping," according to Google's launch report for "scraper demotion" are sites "that
  have authored less than 15% of their content .... " GOOGMANB-000037864-75 (2011), at 65.
  176
      See, e.g., GOOG-Texas-1380771-73 (Jun. 2009), at 72 (email exchange discussing "scraping" review
  content from Yelp in lieu ofreaching distribution agreement with Yelp); see also Yelp IR (Jul. 22, 2011);
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  TripAdvisor IR (Jul. 6, 2011); Amazon IR (Nov. 18, 2011).
  177
      See, e.g., GOOG-Texas-1380771-73 (2009), at 71-72 (discussing importance of Google Places carrying
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  better review content from Yelp). Google has since ceased scraping content (as of Jul. 2011), in a "voluntary"
  move allegedly designed to transition its own local vertical property into focusing on "original content." See
  Google IR (Jul. 20, 2011).
  178
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      See, e.g., FTC-YELPTX-00000163 and FTC-YELPTX-00000164 (2010) (email from Google to Yelp
  attaching standard Google license agreement).
  179
      See, e.g., Shopzilla IR (Feb. 1, 2012) (stating that Shopzilla does not have the leverage to negotiate the tenns
  of the feed license; it is a take-it-or-leave-it agreement).
  180
      GOOG-Texas-0240698 (2009).
  181
      GOOG-Texas-0182336-38 (2009), at 36-37 (discussing Google's use of "scraping" Amazon's website to
  obtain Amazon Sales Rank of products, not available via Amazon's feed).
  182
      See supra note 165; see also e.g., TripAdvisor IR (Mar 12, 2012) (web publishers "depend on search engines
  to gain visibility. Otherwise they just remain as tiny blips of information. Without the card catalogue, nothing
  is going to get found in the library. Because Google is dominant in organic search, the ecosystem depends on
  its services"). Websites believe that they need to make all of their content available for Google to crawl
  because this will improve their traffic from Google. First, websites believe that the more original content they



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  have on their pages (and allow Google to see), the more highly those pages will be ranked. Google encourages
  this belief, repeatedly telling webmasters that they should focus on having "infonnation rich" web sites to get         [
  higher Google rankings. See Google Webmaster Guidelines, Best Practices to Help Google Find, Crawl, and
  Index Your Site, http://support.google.com/webmasters/bin/answer.py?hl=en&answer=35769 (last visited Jul.
  25, 2012). Sites thus allow Google to crawl all of their content to show the Google algorithm the quantity of
                                                                                                                          r
  high quality content they host on their sites. Second, websites want to ensure that keywords that may show up           l
  in a query will be crawled and indexed by Google. For example, a search for "Venice Italy vegan restaurants"
  on Google returns a web search link to a Chowhound page called, "Looking for great vegetarian food in
  Venice." The only reference to the word "vegan" in the article is in one of the responses to the initial question,
  in which the respondent discusses vegan options. If a website does not permit Google to crawl the entire page,




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  including all reviews, the site may not appear at all in the web search results in response to specific queries, or
  the website may not rank as highly.                                                                                     r
  183
      See eBay IR (Jul. 12, 2012) (having no problem with Google's use of crawled reviews from Epinions.com




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  because Google provides attribution to Epinions and displays links driving some traffic to Epinions ); Shopzilla
  IR (Feb. 1, 2012) (explaining that Shopzilla provides feeds ofBizrate merchant reviews and ratings to Google
  partly to give merchants a reason to list their products on Shopzilla and partly as a source of traffic from




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  Google); GOOG-Texas-0244787-810 (2010), at 795 (discussing Wal-Mart's willingness to provide ranking
  information regarding the popularity of products that reflect sales popularity such that Google's results better




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  reflect actual sales); id. at 787-793 (discussing how to use the 70,000 rankings provided by Wal-Mart).                 r
  184
      See, e.g., Amazon IR (Nov. 18, 2011). See also Amazon CID Response at 28 (" ... Google insisted that it be          I
                                                                                                                          l
  able to use Amazon's content data in connection with any Google product or service."); Amazon IR (Feb. 16,
                                                   PO
  2012) (Amazon believes Google uses a detailed crawl of Amazon's site to populate Google product search and
  create a digital catalog, but does not know for sure how Google uses its crawled data); Yelp CID Response at 21
  (describing attempts by Yelp in Nov. 2010 to modify Google's license agreement to prohibit Google from
                                                                                                                          r
  publishing Yelp content on Google Places pages or mobile applications, from using Yelp content to detennine
  Google's own ranking of business listings, from aggregating Yelp ratings with Google ratings).
                                     by
  185
      Yelp had a license with Google, FTC-YELPTX-00000002, which it discontinued in Jun. 2007. FTC-
  YELPTX-00000023 (2007).
  186
      See, e.g., GOOGLAWE-000003926-28 (2006), at 26 (John Hanke, head of Google Maps, on why
  controlling the content is necessary: "I don't think the traffic volume at an authoring site like [Yelp] will be that
  huge. It's the content that's valuable. When you own it, people knock on your door, want to deals with you,
                            d


  want to syndicate your service, etc. you can promote it to consumers as something they can't get elsewhere ....
  the alternative I see (ifwe don't buy them) is to launch and promote our own local reviews c01mnunity. I think
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  that's a crap shoot w/ a less 50/50 odds of working. Yahoo, which most observers would say 'gets' community             r
  much better than we do, isn't doing that well in this area.... ").                                                      L
  187
      Goog-Texas-0975467 (2007) at 9 (PowerPoint presentation on key content acquisition and partnership
  initiatives). See also GOOG-Texas-0879701-08 (2007), at 3 (agreeing to give Yelp advance notice of changes              r
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  to Google Maps that affect Yelp because Google "should put them in a special category since we rely heavily             I

  on their content ... ").                                                                                                L
  188
bt




      Goog-Texas-0975467-97 (2007), at 75 (explaining the current situation as having "concern that [Yelp] (and
  similar) could become competing local search platfonns").                                                               r
  189                                                                                                                     !
      See, e.g., GOOG-Texas-0909614 (2009) (John Hanke explaining that he made two attempts to convince
  Larry Page and Sergey Brin to purchase Yelp [in 2006 and 2007] but was rejected both times).
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  190
      GOOG-Texas-0859416-62 (2006), at 31 (Google had a strategy to win with Google Local through a
  "virtuous cycle": first, "bootstrap" its local infonnation with content it received from other web sites; second,       r
  "increase visibility" of Google Local with "Tight integration via Universal Search"; third, when users click on         L
  Google Local, they would be provided with an "entry point for user content;" fourth, Google would nurture and
  build that compmnity; fifth, "gain market share - drive more usage"; and finally, Google would become "users
  first choice for all local content).
                                                                                                                          rI
  191
      GOOG-Texas-0859416-62 (2006), at 31.                                                                                L
  192
      GOOG-Texas-1261847-49 (2007), at 47 ("Downside oflaunching reviews now [1] we will lose review
· partners, which will negatively impact our local search user experience [2] it will take a long time to build up        r
  enough reviews to make up for lost reviews [3] we will alienate partners and make it hard to renegotiate                I
  contracts [4] we get a bad rep for being evil (using partners' content to build up our traffic then dumping them
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after we replicate their features)"); Hanke Tr. 107:6-109:7 (citing CX-0055 and discussing risk that if Google
launched its own site, partners pulled their review content, and users didn't contribute reviews, then Google
would risk having no review solution).
193
    GOOG-Texas-0996561-62 (2007), at 61; see also GOOG-Texas-1074268-69 (2007), at 69 (email from
Yelp CEO Stoppelman to Google's John Hanke upon learning about "the Google review feature in Maps", "In
the interest of giving us enough time .to negotiate in good faith, I'd like to request that you remove our review
and photo content from Google Maps before launching your feature next week. We're very uncomfortable with
Google launching a directly competitive feature and we'd like to opt out while discussing what might be done to
alleviate our concerns.").
194
    GOOGROSE-000082811-48 (2009), at 41 ("We have partially ended up where we feared we would in 2007




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... 3rd party content providers abandon Google ... Limited success with our Reviews ... Users begin to start at
review sites for key categories/regions ... ").
195
    See Yelp IR (Mar. 5, 2012).




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196
    GOOG-Texas-0863053 (2009) (Eric Schmidt noting, when Yelp turned down Google's offers, "as you can
see the deal is apparently off ... [instead we need to] continue to build a great reviews product here at Google."
To this John Hanke responded "we'll come to the oc injan w/ a plan. my sense is that we should be prepared to




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invest some real money ($100M?) building this up. It will require us spending on things (community managers
as well as technologists, city-by-city community building, city:..by-city marketing) that have been hard for us to




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wrap our arms around and commit to in the past. ... " Eric Schmidt responded, "Thanks. I completely agree
with your approach here and will definitely fund it!! thanks").
197
    John Hanke, Introducing Google Places, Google Blogspot, Apr. 20, 2010,

places.html.
198
                                                 PO
http://googleblog.blogspot.com/2010/04/introducing-google-places.html# !/2010/04/introducing-google-

    See John Hanke, Introducing Google Places, Google Blogspot, Apr. 20, 2010,
http://googleblog.blogspot.com/2010/04/introducing-google-places.html# !/2010/04/introducing-google-
places.html.
                                   by

199
    GOOG-Texas-1363574 (Jul. 26, 2010) (" ... I noticed you're still using excerpts of our review content in
local without license and counting them as Google 'reviews', yet you've demoted Yelp to the bottom regardless
of freshness (happy to discuss, but we're not ok with this use of our content)").
200
    TripAdvisor IR (Mar. 12, 2012).                    ·
201
    Id. (explaining that although TripAdvisor received some traffic from Google's Places property, once Google
                           d


became competitive with TripAdvisor, TripAdvisor had a reason to tenninate the license, and the loss of traffic
was very small).
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202 Id.
203
    See CX-67 (Google Blog, "Place Search: a faster, easier way to find local infonnation") (2010) ("Today
we're introducing Place Search, a new kind of local search result that organizes the world's information around
places."); GOOG-Texas-1012889-92 (2010), at 89 ("[Marissa Mayer's] current proposal distinguishes between
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Search and 'Content' [Non-Search] pages, and accurately deems our 'current' Place and Product Pages to be
'Content' [Non-Search] pages, and concludes: partners should be allowed to choose whether they want to be
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included in such pages. I believe we all agree with Marissa on these (and all other) ideas ... "). Websites permit
or block web crawlers from crawling their sites by including a robots.txt file on their web site See, e.g.,
www.yelp.com/robots.txt; www.amazon.com/robots.txt; www.google.com/robots.txt. These files provide very
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crude capabilities, telling crawlers whether they can crawl data or not, not how the sites may use that crawled
data. Websites that are not crawled are not included in Google web index and do not show up in organic search
results. Google's Webmaster Tools, Block or Remove Pages Using a Robots.txt File,
http://support.google.com/webmasters/bin/answer.py?hl=en&answer= l 56449&topic= 1724262&ctx=topic (last
visited Jul. 2, 2012).
204
    GOOG-Texas-1041511-12 (2010), at 12 ("remove blacklist of yelp [reviews] from Web-extracted Reviews
once provider based UI live"); GOOG-Texas-1417391-403 (2010), at 394 ("stating that Google should wait to
publish a blog post on the new UI until the change to "unblacklist Yelp" is "live").
205
    GOOG-Texas-0222679 (2010) ("The competition in this space comes from two weaknesses: 1. We do not
have much user-user or user-business communication on the Google platform. This is both a cultural and
technological issue. 2. We do not have a complete solution wrt local businesses. We run the risk that
competitors like facebook, twitter and yelp become the site where local businesses are discovered and interacted



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  with. We have the hotpot product coming out in this area and we hope that it will be game changer for               i
  Google:"); TripAdvisor IR (Mar. 12, 2012) (explaining that Hotpot claimed to have thousands ofreviews, but          L
  these reviews were from TripAdvisor, Yelp, and others, and used with no attribution - "Google stole from us to
  gain a critical mass of reviews").                                                                                  f
  206
      See, e.g., TA_000Ol (2010), at 2-3 (email from TripAdvisor CEO to Google, stating, "our content should be       I
                                                                                                                      l
  used as a snippet in onebox/place-page promo in the main google search results, and the nuinber of our reviews
  shouldn't be counted in any review totals that google is proclaiming in the main search result page, or
  elsewhere. It doesn't seem fair that google is claiming to have 1,234 reviews of a hotel, when you have 4           r
  reviews of your own, and links to 10 providers that have the remaining 1,230 reviews. In the cases where            L
  google shows a list of 'places' in the main search results (with the list of 4 review providers), I'm fine if you




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  include tripadvisor in that list with our review count").
  207
      GOOG-Texas-1382163-65 (2010), at 63 (email from Yelp to Google identifying Google's unauthorized use            r
  ofYelp's reviews in aggregations in the Places Pages, Local Merge, mobile phone app, and Google Boost ads




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  and stating, "We've got to find a solution here - either by taking Yelp out of those aggregate ratings, removing
  the aggregate ratings entirely or by discussing some other way in which google would compensate Yelp for its
  role in driving Google revenue."); GOOG-Texas-1130815-16 (2010), at 15 (email from Yelp's CEO




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  Stoppelman to Google's Mayer, "As you may recall, we began talking about these issues in early Nov, so sadly,
. it's been over a month and a half with little change .... we are still waiting to be removed from Places (while




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  remaining in organic and local merge results), which you initially agreed to (but have more recently pull away      r
  from)"); CX-162 (GOOG-Texas-1130925-26) (2011), at 25 (email from Stoppelman to Mayer stating that, if
  Google intended to only point to Yelp reviews and not include Yelp in its numbers of reviews, then Yelp would
                                                PO
  remain in reviews; otherwise, Yelp would "drop from Places/Local Merge and go it alone in organic"); Hanke
  Tr. 190:15-24 (CitySearch); TA_00056 (2010) (email from CEO ofTripAdvisor to Yelp CEO stating that
  TripAdvisor had asked Google to remove quotes to TripAdvisor reviews from Google Places); TA_00054
                                                                                                                      r
  (2010) (email from Yelp CEO to TripAdvisor CEO that Yelp had asked Google to remove Yelp completely
  from Google Places but leave Yelp in organic results and the "local merge" results in the SERP).
                                   by
  208
      See, e.g., TripAdvisor IR (Mar. 12, 2012) (Google made it clear that the only way TripAdvisor could remove
  its content from Google Places was if TripAdvisor indicated in robots.txt that Google should not crawl
  TripAdvisor's sites, thus also removing the sites from organic search results); Yelp IR (Mar. 5, 2012) (Google
 told Yelp the only way Yelp would not appear in Places or Maps pages was if Yelp delisted from organic               r
  search); TA_00051-52 (20i0), at 51 (Yelp CEO to TripAdvisor CEO Kaufner, "In our last discussion, Marissa ,
                           d


  [Mayer] started backing away from her agreement to remove us from place page (but leave in local merge and
 organic);. But see, e.g., TripAdvisor IR (Mar. 12, 2012) (Google could easily modify the format of robots.txt so
          ne



 that web sites could specify which Google properties could display their content).
  209                                                                                                                 I
      This is demonstrated by Google's later adherence to precisely this type of limited "opt-out." See, e.g.,        L
 TripAdvisor IR (Mar. 12, 2012) (explaining why Google's technological claim was "ludicrous" as to why
 Google could not remove TripAdvisor content from Places but leave it in the main web search results).                r
        ai




 210
      See supra note 165.
 211
      Yelp IR (Mar. 5, 2012); TripAdvisor IR (Mar. 12, 2012).                                                         L
 212
bt




      CX-170 (FTC-YELPTX-00000135-42) (2011), at 36 (email from Yelp CEO Jeremy Stoppelman to Marissa
 Mayer including letter, stating "We look forward to your response and confirmation that you will cease using         r
 content from Yelp's websites in connection with Google Local Products, while continuing to index Yelp's              L
O




 websites for the purposes of Google's Web Search product"). Google's Marissa Mayer testified that she did not
 think that Yelp wanted its content removed, and was "surprised" to receive the Cease and Desist letter, despite
 Yelp's numerous previous requests to be removed. Mayer Tr. 155:19-156:21.                                            r
 213
      CX-170 (FTC-YELPTX-00000135-42) (2011), at 41 (indicating that Yelp expected its reviews to be                  L
 removed from the Place Page listing, but not from the "local merge" on the main SERP).
                                                                                                                      r
 214
      GOOGMAYE-000062536-537 (2011), at 36.
 215
      Google removed Yelp's content from Google Local on Jul. 21, 2010, just seven days after receiving the
 Cease and Desist letter, showing Google was able to quickly remove the content. Google claims it had great           L
 difficulty removing the content. After claiming it was "very difficult" and took "six weeks" to remove the
 content, Marissa Mayer admitted that it actually took less than two weeks to do so. Mayer Tr. 136:8-18; id. at
  159:6-160:16.



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216
    GOOGMAYE-000062536-537 (2011), at 36 (Marissa Mayer wrote to Jeremy Stoppelman, "we do not
have the ability to immediately customize which search features a website is included in.").
217
    See, e.g., Hanke Tr. 143:20-144:8 (citing CX-61, GOOG-Texas-0864517-518 (2009), on providing per-
domain blacklisting for Google local); Goodrow Tr. 116:12-119:11 (discussing a few methods of preventing
product content from appearing in Google Product Search). Moreover, Google has also proposed to adhere to
commit to precisely such an "opt-out" feature in its proposal to the EC. See Google-EC Settlement Proposal at
15-16.
218
    Mayer Tr. 223:11-224:7.
219
    Avni Shah, The Ongoing Evolution of Place Pages, Google Lat-Long Blogspot, Jul, 21, 2011, http://googk:_
latlong.blogspot.com/2011/07/ongoing-evolution-of-place-pages.html. ("Based on careful thought about the




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future direction of Places pages, and feedback we've heard over the past few months, review snippets from
other web sources have now been removed from Place pages. Rating and review counts reflect only those
that've been written by fellow Google users, and as a part of our continued commitment to helping you find




                                                                            IC
what you want on the web, we're continuing to provide links to other review sites so you can get a
comprehensive view of locations across the globe.")
220
    See, e.g., Goodrow Tr. 35:18-22; 80:11-22; 81:11-23; 109:18-110:7.




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221
    See, e.g., Goodrow Tr. 77:2-16; 114:2-12; 164:18-165:9; 185:14-186:11.
222
    Amazon CID Response at 28.




                                                               LI
223 Id.
224
    GOOGBRAD-000049034-35 (2010) (including email from Amazon executive Steven Shure regarding
"Google's use of Amazon's customer product reviews and ratings").
225                                              PO
    GOOG-Texas-1039100-101 (2010), at 100 ("As I said on our call, we would like Google to no longer
display or incorporate the Amazon product reviews information, including text and stars/ratings, which it
ingests [through] its natural search crawl, within Google Product Search. :.. We ask that you remove the review
excerpts from the display and the star ratings from your overall product rating calculation. Their current use is
without Amazon's permission .... We would like you to get back to us in a week, by September 3 rd, with a date
                                   by

by which Google will be able to remove Amazon review information from product search. . .. on the surface it
would seem that we are simply asking you to make a change which directly parallels the recent changes Google
has made in displaying Yelp reviews in Google Places ... ; Amazon's product review content represents a
similar proprietary asset and we do not want it to appear in Google Product Search.").
226
    GOOGROSE-000078506-08 (2010), at 6 ("We are preparing to remove Amazon's product reviews since
                           d


they gave us until Friday ofnext week."); GOOG-Texas-1012889-92 (2010), at 90 ("Amazon - let's tell
Amazon that we were planning to change [the user interface] anyway, but since we are a few weeks away from
          ne



making revisions and because of [technical uncertainty] we will in the meantime take their content out of
Product pages by [date] ... stress that we're doing this out ofrespect for the relationship, but that our decision
[doesn't represent a change in policy]");
227
    Amazon CID Response at 15 (explaining the value of Amazon's "massive amounts of customer ratings for
        ai




the millions of products in its catalog" is that "they accurately aggregate customers' reviews about any given
product and enable consumers to quickly assess the perceived quality of a product without having to read often
bt




lengthy text reviews").
228
    Id. at 29.
229
    Id. at 28-29.
230 Id.
O




231
    Goodrow Tr. 47:2-49:13.
232
    Id. at 67:6-68: 1.
233
    Id. at 74:5-79:20.
234
    See, e.g., Goodrow Tr. 44:5-46:11 (describing benefit of having a product catalog and that with Froogle,
Google tried one method of developing a product catalog, but were not successful in the method that they chose,
namely, clustering); GOOGEC-0134533-631, at 617 ("We've demonstrated that unsupervised clustering
doesn't work.").                                           ·
235
    Amazon CID Response at 32-34 (detailing the considerable resources Amazon has expended in developing
its comprehensive and user-friendly product catalog of over a billion unique items for sale; efforts include
obtaining and developing content from merchants, vendors, and Amazon employees; entering into various types
of business relationships to obtain catalog infonnation from merchants and vendors; developing the appropriate



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  types of data most useful for different types of products (e.g., size, color, and inaterial for clothing versus size
   and technology type for televisions); spending nine to twelve months to hand curate category or "editorial
                                                                                                                         f
                                                                                                                         L
  pages" for users; and investing "very heavily" to ensure that duplicate items within the catalog are combined
   onto a single page).
  236
      See supra p. 28 & note 149.
                                                                                                                         f   I
  237
       TripAdvisor IR (Jun. 30, 2011 & Jul. 6, 2011) ("Such conduct deters entry and reduces incentives to               L
  innovate thereby harming the competitive process"). Economic scholarship consistently suggests that such
  conduct reduces the victim's incentives to innovate. See, e.g., William M. Landes & Richard A. Posner, An
  Economic Analysis of Copyright Law, 18 JOURN, OF LEGAL STUDIES 325, 328-29 (1989). This is because no                  L
                                                                                                                             I




  one will put the time and effort into developing original content if that content can be effectively appropriated




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  without fair compensation by another company, such as Google.
  238
      See Microsoft EC Complaint at 39-51.                                                                               r
  239
      Google recognizes the complexity and challenges of optimizing campaigns. See, e.g.,                                L




                                                                              IC
  http://www.youtube.com/watch?v=DoJhgoAEgWw (Google ad for its own campaign management tool,
  emphasizing the complexities of managing a campaign on multiple advertising platforms).
  240
      Holden Tr. 12:3-12:20.




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  241
      See, e.g., Microsoft IR (Sep. 12, 2011). We are not aware of any advertiser or agency that does not use the
  API to manage its advertising campaign. See, e.g., Clickable IR (Oct. 24, 2011); Acquisio IR (Sep. 19, 2011).




                                                                LI
  242
      Although Yahoo! has a separate search advertising platform, since 2009 Microsoft's AdCenter has handled            r
  the bulk of search advertising placements for Yahoo!. We understand that, prior to this arrangement, Yahoo!' s         l.
  Panama search advertising platform maintained its own API for advertiser use. See Yahoo! IR (Sep. 14, 2011).
  243                                             PO
      GOOGKAMA-000005203 (2005); see also GOOGPAGE-000001220-23 (2002), at 20 (initial indication of
  Larry Page's go-ahead for the development of the API).
  244
      See supra text accompanying note 21.
  245
      GOOG-ITA-XX-XXXXXXX-44 (2008), at 42.
  246
      See Google API Terms and Conditions, Section I, Definitions,                                                       r
                                    by

  https://developers. google~com/adwords/api/docs/tem1s-printable (last visited Jul. 16, 2012).
  247
      Google API Terms and Conditions, Sections III.2.c, subsections ii and iii.                                         L
  248
      Id. ("This section does not apply to End-advertiser-Only AdWords API Clients"); see also eBay IR (Sep. 15,
  2011); Amazon IR (Nov. 18, 2011).
  249
      An SEM - or search engine marketer - provides tools and services to help advertisers place ads on search           i
                            d


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  engines.
  250
      See, e.g., GOOGEC-0180810-14 (2010) (Trada); GOOGEC-0180815-16 (2010) (MediaPlex); GOOGEC-
          ne



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  0181055-58 (2010) (CoreMetrics); GOOGEC-0181083-87 (2010) (Keybroker); GOOGEC-0182218-330
  (2008) (Marin Software).                                                                                               L
  251
      Acquisio IR (Sep. 12, 2011); Efficient Frontier IR (Mar. 5, 2012).
  252
      CX-37 (GOOGWOJC-000031755-64) (2008), at 59 ("Completely holding back the innovation of tools.                     r
        ai




  Their customers are asking 'why can't you do this." They (the 3rd party and agencies) have to say that their
  products are limited by Google's T&Cs").                                                                               L
  253
bt




      GOOGKAMA-000004815 (2004), at 2.
  254
      Holden Tr. 84:11-25; CX-0037 (GOOGWOJC-000031755-64) (2008), at 59 ("Their customers are saying I                  r
  want to see all of this together - we (Google) are limiting product development of 3rd party tools").                  L
  255
O




      See Microsoft IR (Sep. 23, 2011); Microsoft IR (Dec. 15, 2011).
  256
·     See Bing, Product Help-adCenter, http://advertising.microsoft.c01n/small-business/product-help/adcenter            r
  (last visited Dec. 2011); see also GOOGEC-0180658 (Jan. 14, 2010) (Yahoo!).                                            I
  257
      Response of Google Inc. To the Second Request for Information of the European Commission in Case No                L
  COMP/C-3/39.740 Foundem; Case No COMP/C-3/39.768 Ciao; Case No COMP/C-3/39.775 eJustice (Nov.
  22, 2010) at,r92.8, p.7.
  258
      See GOOGAROR-000018605-16 (2008), at 6 ("Developers need a more flexible and scalable API
                                                                                                                         r
  program").                                                  ·                                                          l
  259
      CX-41 (GOOGFOX-000128077-80) (2009), at 77 (Google study finding that advertisers who use SEM
  tools have about 13 percent higher spend growth than advertisers who only use the AdWords Front End).
  260
  261
      See CX-42 (GOOGEC-0180380-85) (2008), at 82.                                                                       rl
      GOOGKAMA-000005203 (Jan. 18, 2005).


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262
      Keystone, Advertiser Multi-homing in Online Search Advertising in Europe (June 26, 2011), at 9 (data
  discussed in the text is U.S. data).
  263
      These figures represent the upper bound estimates of the percentage of multi-homing advertisers in each
  docile. The likely actual percentage will be lower.
 264
      This is important because the availability of advertisements from smaller advertisers fills out a search
  engine's coverage of queries, particularly for "tail" queries. See infra p. 98.
 265
      According to Microsoft, approximately 49 percent of keywords with 100 impressions or fewer per month are
 bid for only on AdWords; for "high scale" keywords, approximately 78 percent are bid for on both AdWords
  and AdCenter. Susan Athey, Presentation, "The Role of Scale in Competing in Online Search" (March 26,
  2012), at 9.




                                                                               O
 266
      See Microsoft IR (Jun. 11, 2012). This claim may not stand up to scrutiny, however. Despite numerous
 requests, Microsoft has not produced data to support this assertion. In addition, it is unclear on what basis
 Microsoft is able to estimate the level of optimization advertisers perform on their AdWords campaigns.




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 267
      See Brew Gadgets IR (Jan. 30, 2012); National ReliefIR (Feb. 15, 2012); Phoenix East Aviation IR (Feb. 29,
 2012); Speedy Soft IR (Feb. 6, 2012); Top Hat Imagewear IR (Feb. 22, 2012); Yam Market IR (Jan. 13, 2012).
 While it is true that some of the small advertisers interviewed were not interested in a cross-platform




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 optimization tool, their limited interest can be explained by unverified assumptions about a cross-platform
 tool's ultimate functionality and varying opinions on cross-platfom1 management's current transaction costs.




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 See Ekinoks and Lab Test Florida IR (Feb. 10, 2012); Portadam IR (Feb. 13, 2012); Wyzant IR (Jan. 20, 2012).
 268
      See Green Paper Products IR (Feb. 9 & 10, 2012); Puppet U IR (Jan. 31, 2012); Top Hat Imagewear IR (Feb.
 22, 2012).
 269
 270
 271
      See Phoenix Aviation IR (Feb. 25, 2012).
                                                 PO
      See Brew Gadgets IR (Feb. 2, 2012); Top Hat Imagewear IR (Feb. 22, 2012).

      CX-36 (GOOGWOJC-000044501-05) (2007), at 3; see also GOOGAROR-000007146 (Sep. 25, 2007), at
 slide 13 (emphasis added).
 272
·     CX-41 (GOOGFOX-00128077-81) (2009), at 79.
                                   by
 273
      Holden Tr. 50:3-21.
 274
      See id. at 110, 122-123, 185-186.
 275
      CX-40 (GOOG-ITA-XX-XXXXXXX-55) (2008), at 54 (emphasis added).
 276
      CX-39 (GOOGWOJC-000009350-53) (2009), at 51.
 277
      CX-47 (GOOGEC-0181955-59) (2009), at 56. Making explicit the connection between the discussion of
                           d


 relaxing the restrictive conditions and contemplated new functionality for DART Search that would otherwise
 violate those conditions, the engineer responsible for DART Search replied "[w]e aren't ready to build a co-
          ne



 mingling product now." CX-0046 (GOOGWOJC-000058344-47) (2009), at 44.
 278
      CX-42 (GOOGEC-0180380-85) (2009), at 84.
 279
      CX-43 (GOOGEC-0180407-11) (2009) at 7.
 °
 28
      CX-45 (GOOGEC-0180400-06) (undated), at 5. Holden was not certain of his response to the original
        ai




 question posed by the API product manager. Holden Tr. 166:12-13. But, he did believe that CX-0045 was the
 document presented to Larry Page. Holden Tr. 174:6-20.                                                         ·
 281
bt




      CX-44 (GOOGWOJC-000059695-97) (2010), at 95 ("As we expected, Larry was OK with the status quo
 as outlined in the presentation").
 282
      See supra note 3.
 283
      Holden Tr. 175:24-25.
O




 284
      CX-182 (GOOG-ITA-XX-XXXXXXX) (2010) (Holden writing to Wojcicki, "We didn't take notes for obvious
 reasons (hence why I'm not elaborating too much here in email) but happy to brief you more verbally"). This
 document is an unredacted version ofCX-44 (GOOGWOJC-000059695-97) (Jan. 21, 2010). During the
 hearing, counsel for Google indicated that the redaction was improper. Holden Tr. 197:12-24.
 285
      For a detailed overview of Google's AdSense partners, see Appendix 1 (Table listing exclusive agreements)
 and Appendix 2 (Table listing preferred placement agreements).
 286
      Google Data Submission (Jul. 31, 2012).
 287
      Braddi Tr. 22:11-15.
 288
      In the early 2000s, Google identified these partners as important sources of user traffic because the search
 bar on the ISP/portal page was the first thing the user often saw when turning on the computer. See
 GOOGPAGE-000009322 (2004), at 3-24 (discussing Google's ISP access strategy in 2004) .



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289
290
      See Google Data Submission (Jul. 31, 2012).
      GOOGBRAD-000040643-87 (2007), at 45 (Presentation entitled "2008 Adsense Strategy" and describing
                                                                                                                     rL
  the first launce of AdSense as being with Earthlink and AOL in 2002.)
  291
  292
      Braddi Tr. 152:5-159:15.
      GOOGBRIN-000006008 (2002), at 5 (PowerPoint presentation entitled "Syndication Discussion for
                                                                                                                     r
  Engineers," describing that winning deals requires paying guarantees to publishers, and that Overture and          L
  Google were engaged in "bidding wars" with Overture "paying more than the inventory is worth.").
  293
      Wojcicki Tr. 199:2-15; See also GOOGBRIN-000006008 (2002) at 6 (explaining high volume of                      r
  guarantees Google paid to partners to obtain their business).
  294
      KapoorTr. 221:13-222:17.




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  295
      See Braddi Tr. 158:13-159:15 (explaining that, particularly with a guarantee, "it does not make sense to
  allow more competition on the page").
                                                                                                                     r
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  296
·     The revenue share for the standard online agreement is approximately 51 percent, far lower than GSA            L




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  partners receive. See Google Adwords, What is the AdSense Revenue Share?,
  https://support. google.com/adsense/bin/answer.py?hl=en&answer= 180195 (last visited Jul. 11, 2012).
  297
                                                                                                                     r
      See Google EC Submission (Sep. 17, 2011 ), at § 2.23; See also Google EC Submission (Jun. 10, 2011 ), at §
                                                                                                                     L_




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  72.2 (there are more than 1.7 million Standard Online Agreement partners globally); GOOGBRAD-000050720
  (2011), at 3 (Google has globally 360 direct AdSense Partners, the top ten of which contributed 57 percent to




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  Google's overall AdSense revenue).
  298
      See Google Data Submission (Jul. 31, 2012).                                                                    L.
  299
      See Appendix 1 (Table listing exclusive agreements) and Appendix 2(Table listing preferred placement
  agreements).
  300
                                                 PO     ·
      See Appendix 1 (Table listing exclusive agreements), which describes the exclusivity provisions contained in
  Google's direct AdSense agreements. See also e.g., Comcast IR (Nov. 15, 2001) (describing Google's
                                                                                                                     r
                                                                                                                     l
  exclusivity over all AdSense for Search); Demand Media IR (Dec. 9, 2011) (describing that AdSense
  agreements on designated sites are exclusive); IAC IR (Dec. 8, 2011) (describing Google's exclusivity with         r
                                   by

  respect third-party provided advertising); AOL IR (Dec. 1, 2011 and Dec. 7, 2011) (describing Google's
                                                                                                                     L
  exclusivity with respect search and search advertising); Synacor IR (Nov. 29, 2011) (Google has an exclusive
  for search and search advertising over all the portal properties served by Synacor, including Verizon, and 25
  other cable and telecom providers); Target IR (Nov. 4, 2011) (explaining that Target cannot host search
  advertising from any other provider); New York Times Company IR (Nov. 17, 2011) (Google is the exclusive           l
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  provider of search and search advertising services); Time Warner Cable IR (Sep. 8, 2011) (Google is the
  exclusive provider of search and search advertising, and exclusivity prevents TWC from testing rivals, which it
          ne



  would like to do).
  301
      See, e.g., GOOG-AFS-000000146-218 (2003), at 153 (AOL/Google AdSense Agreement that includes                   L
  terms of absolute exclusivity preventing AOL from acquiring search and search advertising services from
  certain identified Google rivals.); GOOG-AFS-000000219-68 (2010), at 30 (30 th amendment to Google/AOL             r
        ai




  agreement, adding Facebook to the list of excluded rivals); GOOG-AFS-000000908-86 (2007), at 16
                                                                                                                     L
  (!AC/Google AdSense Agreement expressing exclusivity on IAC designated as being within the ambit of the
bt




  agreement).
  302
      eBay IR (Sep. 15, 2011).                                                                                       r
  303
      See Appendix 2 (Table listing preferred placement agreements), which describes the preferred placement         L
  provisions contained in Google's direct AdSense agreements.
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  304
      See Letter from Scott Sher, Wilson Sonsini, to Barbara Blank (May 25, 2012) (explaining that, as of the date
  of the letter, Google was removing the preferred placement clause from the Online Terms and Conditions, and
  offering no further explanation of this decision). See also Braddi Tr. 182:22-202:20.
                                                                                                                     [
  305
       Amazon IR (Feb. 15, 2012).
  306
       Business.com IR (iun. 15, 2012).
  307
      See; e.g, Demand Media IR (Dec. 9, 2011); Amazon IR (Nov. 18, 2011).
                                                                                                                     \
  308
      Business.com IR (Jun. 15, 2012).                                                                               L
  309
      Cablevision IR (Jun. 20, 2012); New York Times IR (Oct. 17, 2011) (Microsoft has not reached out to the
  New York Times in an effort to obtain a search syndication deal); Target IR (Nov. 4, 2011) (Microsoft has never    r
  expressed interest in a relationship with Target for search syndication); Best Buy IR (Jun. 14, 2012) (Bing has
  never approached Best Buy).
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 310
      Microsoft IR (Jun. 11, 2012).
 311
      Wal-Mart IR (May 30, 2012).
  312
      Best Buy IR (Jun. 14, 2012).
  313
      See Kayak IR (Jun. 20, 2012) (characterizing the ability to serve some Bing or Yahoo advertisements
  alongside Google search ads as "worthless" because Bing monetizes so poorly in relation to Google).
  314
      IAC IR (Dec. 8, 2012) (Microsoft sought an exclusive deal); Amazon IR (Feb. 15, 2012) (Microsoft and
  Yahoo! both require page-based exclusivity so their ads cannot be mixed and matched with the advertisements
  of their competitors.)                                                    ·
  315
      Wal-Mart IR (May 30, 2012); Best Buy IR (Jun. 14, 2012).
  316
      Amazon IR (Feb. 15, 2012). Microsoft and Google apparently do have the ability to provide publishers with




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  technical assistance to avoid duplication, but none of the publishers that identified this concern reported
  receiving such assistance. See CX-113 (FTC-0000093-228) (2008), at 110 (GoogleNahoo! proposed
  agreement at §2.12, explaining that Google would use "commercially reasonable efforts" to exclude AFS Ads




                                                                              IC
  that contain URLs from corresponding results provided by Yahoo!); Microsoft IR (Jul. 20, 2012).
  317
      See, e.g. GOOGKAPO-000006280-95 (2010), at 83 (discussing revenue improvements from lowering
  revenue share and standardizing AdSense agreements with publishers.); CX-102 (GOOGBRIN-000025680-83)




                                                                   T
  (2008), at 80 ("Our general philosophy with renewals has been to reduce TAC across the board");
  GOOGBRAD-000012890-944 (2007), at 13 (AFS strategy discussed in the 2008 AdSense Business Review,




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  "we are instituting stricter AFS Direct revenue-share tiering guidelines by region ... Our overall goal is to
  achieve better AFS economics for both new and renewing partners."); CX-106 (GOOGKAPO-000006280-95)
  (2010), at 83 ("2009 Traffic Acquisition Cost (TAC) was down 3 percentage points from 2008 attributable to
  318
  319
                                                  PO
  the application of standardized revenue share guidelines for renewals and new partnerships ... ").
       See, e.g. Business.com IR (Jun. 15, 2012); Time Warner Cable IR (Sep. 8, 2011).
      CX-104 (GOOGBRAD-000048209) (May 3, 2010), at 4 (QI 10 Google TAC Summary).
  320
      See, e.g., Business.com IR (Jun. 15, 2012); GOOG-AFS-000004666-68 (2007), at 68; GOOG-AFS-
  000000316-27 (Nov. 4, 2010) at 27 (2007 GSA had a 3-tiered revenue share of 80, 85, and 87.5 percent; the
                                     by

  2010 renewal had corresponding tiers of 73, 75, and 77 percent).
  321
      See, e.g. Time Warner Cable IR (~ep. 8, 2011) (search advertising typically generates revenue well above
  display advertising).
  322
       See, e.g., Comcast IR (Nov. 15, 2011); AOL IR (Dec. 1, 2011); IAC IR (Dec. 8, 2011).
  323
      Best Buy IR (Jun. 14, 2012) (contract is not exclusive); Kayak IR (Jun. 20, 2012) (contract is not exclusive);
                            d


  Amazon IR (Feb . .15, 2012) (contract is not exclusive-Amazon resisted Google's attempt to impose
  exclusivity); Wal-Mart IR (May 30, 2012) (describing the contract as not exclusive but noting that Google
           ne



  requires preferred placement if Wal-Mart uses Yahoo! or Microsoft).
  324
      See Google Data Submission (Jul. 31, 2012).
  325
      eBay IR (Oct. 27, 2011).
  326 Id.
         ai




  327 Id.
  328 Id.
  329 Id.
bt




  330 Id.
  331
      NexTag IR (May 10, 2011).
  332 Id.
O




  333 Id.
  334 Id.
. 335 Id.
  336 Id.
  337
      Business.com IR (Jun. 15, 2012).
  338 Id.
  339 Id.
  340 Id.
  341 Id.
  342
      Amazon IR (Feb. 15, 2012).
  343 Id.




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344 Id.                                                                                                               r
345 Id.                                                                                                               l
346 Id.
347 Id.
348 Id.
                                                                                                                      r
349 Id.                                                                                                               L
350 Id.
351 Id.
352 Id.
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353
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    IAC IR (Dec. 8, 2012).




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354
    Google Data Submission (Jul. 31, 2012).
355
    IAC IR (Dec. 8, 2012).
356 Id.




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357 Id.
358 Id.                                                                                                               f
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359 Id.




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360 Id.                                                                                                               L-
361
    Microsoft IR (Jun. 11, 2012).




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362 Id.                                                                                                               I

363
    IAC IR (Dec. 8, 2011).
364
    United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966).
365
366
367
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    See Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447,456 (1993).
    United States v. Microsoft Corp., 253 F.3d 34, 51 (D.C. Cir. 2001).
    Coastal Fuels, Inc. v. Caribbean Petroleum Corp., 79 F.3d 182, 197 (1 st Cir. 1996).
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368
    Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962).
369
    The fact that horizontal search services are currently provided free-of-charge to end users does not materially
                                   by

impact the analysis here. This is a two-sided market where the service costs to end users have been shifted to
advertisers. But advertisers' willingness to bear these costs will be directly impacted by th~ consumer demand
for them. We therefore analyze the cross-elasticity of demand here just as if consumers were directly bearing
the costs themselves.                                                                                                 \
370
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     See supra p. 20-21 & notes 102 and 103. See also e.g., GOOGEC-0117571 (2009) (Eric Schmidt writes,               L
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"Basically google [sic] is not as good as amazon [sic] and its [sic] hard to buy products using Google. This is a
huge issue for us as it affects high monetization parts of our business and encourages the development of
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targeted verticals. Issues include Amazon, MoneySupermarket, Kayak, etc.); GOOGSCHM-000002688-92
(2009) (evidencing concern that Google is losing queries to vertical properties).                                     l
371
    Brin Tr. 318:7-14 ("[T]hey don't provide the same sort of Web search services but they're nonetheless
substitutes for certain classes of queries, and they're widely used").                                                r
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372
    Schmidt Tr. 22:20-24.
373
    Schmidt Tr. 23:19-24:24. See also Brin Tr. 86:15-87:1 (" ... I think it's important for Google to do well at      L
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answering queries across the board. I think that ... the consequences to answering a query poorly could be that,
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well, maybe people start using Google less for that category of queries, but it could also be that people stop
using Google altogether or-you know- they don't necessarily understand the nuances that, you know, it's               L
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there three categories we're not good at").
374
     See supra p. 30 & notes 165 (describing vertical websites' reliance on Google as a main source of traffic).      ('
375
    Schmidt Tr. 155:15-21. See also Brin Tr. 311 :19-312:24 (identifying Bing and Yahoo! as Google's only             I

major web search competitors).                                                                                        L
376
    GOOGROSE-000038313-14 (2010), at 13 (reporting monthly shares only for Google, Yahoo and Bing);
GOOGWRIG-000086779-81 (2011) (same); GOOGMAYE-000013924 (2009) (requesting only data for                              F"
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Google, Yahoo and Bing to calculate market shares for Google's Board of Directors).
377
    See, e.g. GOOGROSE-000034628 (2009) (PowerPoint analysis of Bing's traffic, strengths and
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weaknesses); Brin Tr. 328:23-329:21 (discussing CX-185, and noting that he probably received these reports on
a quarterly basis). ·                                                                                                 r
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378
     Brin Tr. 319:13-320:15. Brin testified that Google has done some analysis ofFacebook and Amazon at
some point in the past (although not regularly), and does not recall getting regular reports on any other vertical
competitor. According to Brin, "it's definitely [a] much harder comparison to make." Brin Tr. 331:15-22.
379
     See Department of Justice, Recommendation to Challenge Google/Yahoo Services Agreement, 39 (Sep. 22,
2008) ("[u]sers do not substitute foreign search engines for U.S. engines, because foreign engines are not
designed to deliver relevant information for a U.S. user"). See also Microsoft EC Submission 86 (noting that
the relevant markets at issue in this investigation should be defined by "national or linguistic boundaries").
380
    See Press Release, comScore, comScore Releases May 2012 U.S. Search Engine Rankings (Jun. 22, 2012)
http://www.comscore.com/Press Events/Press Releases/2012/6/comScore Releases May 2012 U.S. Search
Engine Rankings.Google's market share has been measured as a share of the total volume of unique searches in




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the United States conducted across traditional search engines, as well as other "leading" sites such as Facebook
and Wikipedia. Google's internal figures reflect slightly higher market shares for Google, see, e.g., CX-183
(GOOGWRIG-000086779-81) (2011) (reporting monthly market shares in Google's internal metrics ranging




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between 69.4 and 83.5 percent, while the equivalent comScore number for the same period is 65.1 percent).
According to Sergey Brin, Google relies on both internal and external data sources when examining its market
shares, although all of the sources "have their problems, their challenges." Brin Tr. 315:9-316:2. Brin testified




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that he is more concerned with whether all of the data sources are consistent in their "trends," i.e., whether
Google's share is going up or down, than the exact numbers. Brin Tr. 321 :11-23.




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381
    See Brad Stone & Brett Pulley, IA C's Barry Diller Surrenders to Google, Ends Ask.com 's Search Effort,
Bloomberg, Nov. 9, 2010, http://www.bloomberg.com/news/2010-11-09/iac-s-diller-surrenders-to-google-
juggernaut-ends-ask-com-search-effort.html.
382                                              PO
    Google has an intennediation agreement with AOL, whereby Google provides AOL with Google search and
search advertising functionality. Microsoft EC Submission at 23.
383
    See Press Release, comScore, comScore Releases May 2012 U.S. Search Engine Rankings (Jun. 22, 2012)
http://www.comscore.com/Press Events/Press Releases/2012/6/comScore Releases May 2012 U.S. Search
Engine Rankings.
                                    by
384
     This number should be viewed with some caution, both because there can often be shifts of a percent or two
in the monthly comScore data, and also because there is really no good way to measure search share with high
precision. All of the measures of search share have various methodological problems and limitations. See,
e.g. Brin Tr. 315 :9-316:2 (noting that all of the internal and external market share numbers have issues);
Schmidt Tr. 53:10-55:2 (noting that Google's view is that comScore numbers are always wrong); but see
                           d


GOOGMANB-000095004-07 (2011), at 4 (Hal Varian, Google's chief economist, writes: "Though I would
agree that ComScore is unreliable, it's not at all obvious to me that this matters much to us. From an antitrust
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perspective, I'm happy to see them underestimate our share.")
385
    See Press Release, comScore, comScore Releases May 2012 U.S. Search Engine Rankings (Jun. 22, 2012)
http://www.comscore.com/Press Events/Press Releases/2012/6/comScore Releases May 2012 U.S. Search
Engine Rankings.                                                                         ·
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386
    Microsoft IR (Jun. 11, 2012).
387 Id.                           _
388
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    See Bepco_, Inc. v. Allied-Signal, Inc., 106 F. Supp. 814, 830 (M.D.N.C. 2000)-(70-75 percent). See also,
e.g., Exxon Corp. v. Berwick Bay Real Estate Partners, 748 F.2d 937, 940 (5 th Cir. 1984) (per curiam)
("monopolization is rarely found when the defendant's share of the relevant market is below 70%"); Colo.
Interstate Gas Co. v. Natural Gas Pipeline Co. ofAm., 885 F.2d 683, 694 n.18 (10 th Cir. 1989) (in order to
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establish monopoly power, "lower courts generally require a minimum market share of between 70% and
80%") (internal citation omitted).
389
    See, e.g., Oahu Gas Service, Inc. v. Pacific Resources, Inc., 838 F.2d 360,366 (9 th Cir. 1988) (affirming jury
finding that defendant had monopoly power despite steadily declining market share from 100 percent to 68.2
percent at time oflawsuit). While Judge Learned Hand was "doubtful whether sixty or sixty-four percent would
be enough," see United States v. Aluminum Co. ofAm., 148 F.2d 416,424 (2d Cir. 1945), and the Third Circuit
has suggested that "a share significantly larger than 55% has been requiredto establish prima facie market
power," United States v. Dentsply Int'!, Inc., 399 F.3d 181, 187 (3d Cir. 2005), no minimum threshold has ever
been established. See Broadway Delivery Corp. v. United Parcel Serv. ofAm., 651 F.2d 122, 130 (2d Cir.
1981), cert. denied, 454 U.S. 968 (1982) (holding that, while, "[s]ometimes, but not inevitably, it will be useful
to suggest that a market share below 50% is rarely evidence of monopoly power, a share between 50% and 70%



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 can occasionally show monopoly power, and a share above 70% is usually strong evidence of monopoly power              f
 ... the jury should not be told that it must find monopoly power lacking below a specified share or existing          L
 above a specified share"); Yoder Bros., Inc. v. Cal.-Fla. Plant Corp., 537 F.2d 1347, 1367 n.19 (5 th Cir. 1976)
 (rejecting "rigid rule require 50% of the market for a monopolization offense without regard to any other
 factors"). However, "it would be rare indeed to find that a firm with half of a market could individually control
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price over any significant period." Areeda & Hovenkamp, ANTITRUST LAW ("Areeda & Hovenkamp"),I 532c.                   L
 390
     We are aware that BE has recently conducted an empirical analysis of this issue, and reaches a different
conclusion based on the fact (as we understand it) that, as search advertising impressions increase modestly,
 impressions of display advertisements decrease slightly. See Christopher Adams, Determining Market                        L
Definition for Search Advertising (fol. 16, 2012) (draft).                                .




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391
     GOOG-ITA-XX-XXXXXXX-55 (2010), at 47; CX-116 (GOOG-Texas-1486915-70) (2009), at 18-20 (in
describing online advertising, depicting awareness, intent, decision, ~ction on a continuum with display and           i
branding at the top, and direct response with search engines at the bottom); see, FTCNext-00000002 (2012), at




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36.                                                                                                  .
392
     Wojcicki Tr. 60:20-61:16; but see GOOG-ITA-XX-XXXXXXX-55 (2010), at 51-52 (there is an ongoing desire             r
by Google and others to compare media effectiveness across platforms, but such comparisons are not available




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yet).                                                                                                                  L.
393
     The screenshot is from the website AdExchanger.com, Yahoo! Starts Retargeting Search with Display Ads,




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http://www.adexchanger.com/ad-exchange-news/yahoo-starts-retargeting-search-with-display-ads/ (last visited            f
Jul. 17, 2012).
394
     Fox Tr. 106: 23-107:13; Schmidt Tr. 128:18-129:5; Wojcicki Tr. 18:24-22:20 (search and display are
                                                 PO
"different types of inventory into which Google delivers ads."); Walmart IR (Jan. 23, 2012); Verizon IR (Nov.
1, 2011); EAS IR (Deb. 23, 2012); Priceline IR (Oct. 18, 2011) (Mostly we think offline is better for building
brand, so we use online display for generating sales.).                                                                L
395
     GOOGFOX-000120663-70 (2008), at 63.
396
     Wojcicki Tr. 60:20-61: 16 ("They are such different products that you do not measure them against one             r
                                   by

another and the technology behind the products is different"); id. at 39: 17-25 ("Search advertising is not
contextual advertising or general brand advertising"); Fox Tr. 222:9-16 (testifying that his familiarity with
display advertising comes from the display ads team).
397
     Didit.com IR (Dec. 27, 2011); Wal-Mart IR (Jan. 23, 2012); Reach Local IR (Jan. 12, 2012); Facebook IR            r
(Jan. 24, 2012) (stating that Facebook sees its advertising as driving "the top of the funnel"); FTC-EBAY-             l
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00000002 (2012), at 31 (describing search advertising as uniquely responding to user's express interest whereas
display is designed to build brand awareness).
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398
     Wojcicki Tr. 31:17-32:1 ("Search advertising is delivered in a textformat and display is a different format of
advertising"); Schmidt Tr. 128:21-22 ("As a general rule the two [search and display] are reasonably                   l
different"); FTCNext-00000002 (2012), at 36 (search provides valuable information unique to that form of
advertising).                                                                                                          r
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399
     See, e.g., Acquisio IR (Sep. 12, 2011); Havas IR (Oct. 5, 2011); Kayak IR (Dec. 20, 2011); Efficient Frontier
presentation to SMX 2010 (Mar. 5, 2010) (explaining that display and search are complements because
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simultaneous use increases clicks more than the sum of just search or display separately) Slideshare.net, Search
Marketers Get Ready Display is a Performance Channel, http://www.slideshare.net/efrontier.com/search-                  r
marketers-get-ready-display-is-a-perfonnance-channel (last visited Jul. 16, 2012).                                     L
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40
     CX-190 (GOOGSCHM-000005375-77) (2008), at 75; Varian Tr. 93:12-95:21.
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401
     See, e.g., Fox Tr. 220:6-221:3 (testifying that he now understands there is a more of direct response             r
component to our display network. There is less of a distinction between search for direct response and display
for brand response.); CX-123 (GOOGFOX-000055480-89) (2010), at 85.
402
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     RBB Economics, Substitutability of Different Forms of Online Advertising, at 9-11, 15-16, Google
Submission (Jul. 22, 2011) (White Paper discussing the ability of search ads to promote brands and display ads
to elicit direct responses); Fox Tr. 96:22-97:6, 98:14-25, 102:15-23;109:6-11 (testifying that advertisers wanting
direct response would use both display and search and that advertisers wanting to promote a brand would use
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both search and display.)
403
     Wojcicki Tr. 31:17-32:1 ("Search advertising is delivered in a text fonnat and display is a different fomiat of
advertising.")


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404
    See, e.g., Amazon CID Response at 38; Clickable IR (Oct. 24, 2011); Living Social IR (Mar. 3, 2011). See
also, e.g., Brin Tr. 178:5-21 {testifying that search ads convert much better than other types of advertising);
Schmidt Tr. 125:21-126:9 (same); GOOG-ITA-XX-XXXXXXX-18 (2009), at 13 ("Content conversions do not lead
to sales like search conversions," attributing the difference to where display reaches users in the buying cycle
versus where search reaches users in the buying cycle); GOOG-ITA-XX-XXXXXXX-41 (2009), at 37 (Hal Varian
stating, "don't lump search advertising in with everything else - treat it as a separate category," further noting
that the recession has cut far more significantly into display conversions than into search ad conversions).
405
    Gian Fuglioni, Who Will Rid us of this Meddlesome Click?, comScore, Dec. 7, 2010,
http://blog.comscore.com/2010/12/rid meddlesome click.html ("The average click rate (defined as the percent
of paid ads that were clicked on) for paid search campaigns (3.5%) is massively (35x) higher than for display ad




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campaigns").
406
    See supra p. 9-11 & notes 43-48.
407
    FTC-EBAY-00000002 (2012), at 31; Amazon CID Response at 38.




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408
    Booyah IR (Jan. 25, 2012); Comcast IR (Nov. 15, 2012); iCrossing IR (Apr. 9, 2012) (search advertising is
alone at the bottom of the marketing funnel, keyed to user intent); Core-Metrics (IBM) IR (Nov. 4, 2011);
Comcast IR (Nov. 15, 2011); Priceline IR (Oct. 18, 2012) (search has surgicalprecision and is unlike other




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advertising); Amazon CID Response at 38.
409
    Brin Tr. 178:16-21 (search ads convert much better than other types of ads); GOOG-ITA-XX-XXXXXXX-18




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(2009), at 16 ("content conversions do not lead to sales like search conversions"); GOOG-ITA-XX-XXXXXXX-
205 (2010), at 95 (a picture depicting a hierarchy of conversion attribution placing paid search at the top
followed by organic search, display, affiliates, social networks, email marketing, direct visitation, and offline);


410
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Group MIR (Oct. 11, 2011) (contextual advertising is better than display, but not as effective as search at
generating conversions).
    Brin Tr. 181 :2-8 ("[Y]our average content page view is worth significantly less than your average search
page, no question about it."); Schmidt Tr. 129:6-130:5 (testifying that for advertisers that want to generate sales,
their money should go to search advertising first and then other forms of online advertising and then offline
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advertising "[s]o the general feeling~ and again this is confirmed by experience - is that you would always put
text ads first and then display second which is still online.").
411
    Amazon CID Response at 38 and Table 9.2. See also e.g., Living Social CID Response at 16 (no substitute
for search advertising); Group MIR (Oct. 11 2011); eBay IR (Nov. 4, 2011); Didit.com IR (Dec. 27, 2012);
IAC IR (Dec. 8, 2011); AOL IR (Dec. 9, 2011); Demand Media IR (Dec. 9, 2011); Kayak IR (Dec. 20, 2011).
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412
    See, e.g., Demand Media IR (Dec. 9, 2011) (price increase will not cause shift to other forms of advertising);
BAS IR (Feb. 24, 2012) (same); Kayak IR (Dec. 20, 2011) (price increase would not cause Kayak to spend less
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on search advertising); Booyah IR (Jan. 25, 2012) (if prices went up 10 percent on Google paid search, the
advertiser would not like it, but would pay it); Clickable IR (Oct. 24, 2011) (cannot divert advertising dollars
from Google to other platforms); Wyzant IR (Jan. 20, 2012) (would pay an increase of 10 percent rather than
shift spend away from Google Adwords); Comcast IR (Nov. 15, 2011) (it would take a price increase of more
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than 50 percent to move any money from search. advertising).
413
    Living Social CID Response at 16; Didit Draft Deel. (2008) (would affirm to the principle that there are "no
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good substitutes for paid search" in 2012); Amazon CID Response at38-39; FTC-EXPE-00000002 (2012), at
15-16.
414
    Living Social CID Response at 16.
415
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    Apollo IR (Jan. 4, 2012); Fox Studios IR (Jan. 20, 2012); Havas IR (Oct. 5, 2012); Sound World Instruments•
IR (Jan. 24, 2012). Generally speaking, it was difficult for many advertisers to answer the hypothetical- "what
would you do in the face of an across-the-board price increase?" - because of the unique manner in which
search advertising is priced. Pricing of search advertising is based on what is known as a "Vickrey second
auction" model. The idea behind this auction is to give advertisers the incentive to bid their maximum bid,
rather than try to game the auction to pay as little as possible. In this type of auction, an advertiser is only
required to pay $.01 more than the next lowest bidder. For example, three sports retailers are bidding on the
keyword "sneakers." Retailer A bids a maximum of $1.00; Retailer B bids $0.50; and Retailer C bids $0.25.
All other things being equal (i.e., controllirig for Google's quality score adjustments), Retailer A will "win" the
top·spot in the auction, but will only pay $0.51 to Google if a user clicks on Retailer A's ad. In this way, the
auction itself drives up the prices, and Google's "control" of prices is more indirect (although Google sets
minimum bids and establishes quality scores that sets each advertiser's baseline bid). Notably, each time a



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  query is entered, the auction occurs in real time, so in theory, an advertiser could be participating in thousands
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  of auctions simultaneously on millions of keywords, and could pay vastly different prices for different               L
  keywords, or groups of keywords, at any g1ven time.
  416
      CX-123 (GOOGFOX-000055480-89) (2010), at 87 (Google, Inc. Citi Technology Conference, Sep. 8,
  2010. (Interview with Nick Fox) (Google "see[s] different types of dollars on the display network than we see
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  on search")); Varian (Google-Yahoo 2008) Tr:135:23-136:9, 212:20-213:4 (testifying that a rational advertiser         L-
  would spend to his marginal benefit on Google regardless of the economics of advertising elsewhere).
  4
    P Schmidt (Google-Yahoo 2008) Tr. 90; see also Schmidt Tr. 129:6-130:5 ("always put text ads first and then         F
  display second"); id. at 123:13-15 ("your best sales dollar goes to Google [search ads]").
  418                                                                                                                   L
      Schmidt Tr. 129:17-19.




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  419
      Statement ofFederal Trade Comm'n Concerning Google/DoubleClick, FTC File No. 071-0170 (2007), 3-7
  420
      Department of Justice, Recommendation to Challenge Google/Yahoo Services Agreement, 19-20, 33-38
  (Sep. 22, 2008); Department of Justice, Statement of the Department of Justice Antitrust Division on Its              L




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· Decision to Close Its Investigation of the InternetSearch and Paid Search Advertising Agreement Between
  Microsoft Corporation and Yahoo! Inc. (Feb. 18, 2010).                                                                r
  421
      345 U.S. 594 (1954).




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  422                                                                                                                   L
      345 U.S. at 610.
  423
      For newspaper markets, see US. v. Citizen Pub. Co., 280 F. Supp. 978, 984-92 (D. Ariz. 1968), aff'd 394




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  U.S. 131 (1969); Community Publishers, Inc. v. Donrey Corp., 892 F. Supp. 1146, 1155-57 (W.D. Ark 1995)
  ajf'd, 139 F. 3d 1180 (8 th Cir. 1998). See also National Collegiate Athletic Ass 'n v. Board of Regents of the
  Univ. of Oklahoma, 468 US 85 (1984) (analyzing a distinct market for advertising on televised football games);
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  TV US v. News Corp., No. Civ.A.010771, 2001 WL 34038354, at *9 (defining television advertising as a
  separate market); ad-vantage tel. Directory Consultants, Inc. v. GTE Directories Corp., 849 F. 2d 1336 (11 th
  Cir. 1987) (affirming that advertising in telephone directories is a proper market). Indeed, courts have found
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  even narrower markets within newspapers. See, e.g., Advo, Inc. v. Philadelphia Newspapers, Inc., 51 F. 3d
  1191, 1192-91 (3d Cir. 1995) (finding circulars are a valid submarket because circular ads are better than            r
                                    by

  standard newspaper ads in geographic targeting, specifically in chosen neighborhoods).
  424                                                                                                                   l
      Person v. Google, 2007 U.S. Dist. LEXIS 22499 (N.D. Cal. March 16, 2007). See also America Online, Inc.
  v. GreatDeals.Net, 49 F. Supp. 2d 851 (E.D.V.A. 1999).(a case from the earliest days of the Internet that did not
  find email advertising to be a distinct relevant market.).
  425
      Person, 2007 U.S. Dist. LEXIS 22499. See also Kinderstart.com LLC., v. Google, Inc.,2007 U.S. Dist.
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  Lexis 22637, *16 (N.D. Cal. Mar. 16, 2007) (in a second opinion issued on the same day as Person, Judge
  Vogel opined, in dicta, that had plaintiff defined a two sided market made up of search and search advertising,
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  that market would have been doomed to fail because search advertising would not be sufficiently
  distinguishable from other fonns of online advertising).                                                              L
  426
      See supra p. 67 (relevant geographic market for horizontal search is limited to the United States). See also
  Department of Justice, Recommendation to Challenge Google/Yahoo Services Agreement, 39 (Sep. 22, 2008)
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  ("advertising on search platforms outside the United States is not an effective alternative for advertisers wishing
  to target potential consumers within the United States"); Varian Tr. 205:10-18, 212:20-22 (testifying that
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  Google measures the effects of tuning the ad auction and other experiments at the country level); see also
  Microsoft EC Submission 86 (noting that the relevant markets at issue in this investigation should be defined by
  "national or linguistic boundaries"); Varian Tr. 201:16-25, 202:18-21 (explaining that the location of the user is
  the most important).
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  427
      Search Ignite.com, Q2 2010 U.S. Search Market Report (report tracking search advertising share in terms of
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  revenue that looked at 55 billion impressions and more than 1 billion clicks across engines over 4 years              !
  concluded that Google ended up with a high-share of 80 percent of the pay per click ad spend in 2010)                 l
  discussed in GOOGPAGE-000004936-40 (2010), at 36; Michael Liedtke, Microsoft Takes $6.2 Billion Hit On
  aQuantive Online Ad Woes, Buffington Post, Jul. 2, 2012,
  http://www.huffingtonpost.com/2012/07 /03/microsoft-aguantive-online-ads n 1645696.html ( estimating
  Google's 2011 search advertising market share to be 78%); Covario.com, Covario Finds High Tech Global Paid
  Search Spend Rose 22 Percent in Ql over the Same Period Last Year, http://www.covario.com/news-and-
  views/newsroom/press-releases/515-covario-finds-high-tech-global-pai d-search-spend-rose-22-percent-in-g l-
  over-the-same-period-last-year-) (last visited Jul. 16, 2012) (estimating Google's share of search advertising
  market to be at 76 percent). See also Stephanie Reese, Quick Stat: Yahoo l's Share of Search Ad Market to Fall
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to 8.1% This Year, Emarketer.com, Mar. 23, 2011, http://www.emarketer.com/blog/index.php/quick-stat-
yahoos-search-ad-revenue-share-fall-81-year/ (Emarketer.com estimates Google's share to be 70 percent in
2010 and 80 percent in 2011); See ADV Media Productions, Google Dominates Search Advertising With 80%
Market Share Unaffected by The Rise of Bing, http://www.advmediaproductions.com/blog/google-dominates-
paid-search-advertising-with-80-market-share-unaffected-by-the-rise-of-bing/ (last visited Jul. 16, 2012). See
also GOOGMAYE-000035824 (2009), at 8 (in 2009 Google estimated its market share 71.3 percent). We
understand that BE Staff may be measuring Google's share of the search advertising market based on ad clicks
or impressions. We are unclear as to why BE would rely on this metric because a click on an ad does not
actually tell you anything about how much an advertiser is spending on any given ad on any given platfom1.
The logical metric for estimating advertising share is advertiser spend (or advertising revenues), which is the




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metric relied upon by all of the industry sources (see above)- and Google itself. See, e.g., CX-116 (GOOG-
Texas-148915-70) (2009), at 19-20 (evaluating "market share by size of ad revenue captured").
428
    Google Data Submission (Jan. 10, 2012) (listing 1,280,983,000 advertisers in 2011).




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429
    Michael Liedtke, Microsoft Takes $6.2 Billion Hit On aQuantive Online Ad Woes, Huffington Post, Jul. 2,
2012, http://www.huffingtonpost.com/2012/07/03/microsoft-aquantive-online-ads n 1645696.html (attributing
the growth to loss of share to Yahoo with Microsoft holding steady at 7 percent);·Covario.com, Covario Finds




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High Tech Global Paid Search Spend Rose 22 Percent in QI over the Same Period Last Year,
http://www.covario.com/news-and-views/newsroom/press-releases/515-covario-finds-high-tech-global-paid-




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search-spend-rose-22-percent-in-q I -over-the-same-period-last-year-) (last visited Jul. 16, 2012) (estimating
Microsoft and Yahoo!'s share of search advertising market to be a combined 13 percent). The remaining 4-12
percent of the search advertising market appears to be controlled by AOL and Ask, both powered by Google.
430
431
                                                 PO
    Microsoft Data Submission (Sep. 23, 201 I) (listing 313,345 total advertisers in 2011).
    Notably, while Bing and Yahoo! operate a joint search and search advertising network, they service
syndication clients separately. According to Microsoft, this is a vestige ofYahoo!'s many relationships with
website publishers prior to merging its main search and advertising operations with Microsoft. Microsoft IR
(Jun. 11, 2012).
                                    by
432
    See, e.g., IAC IR (Dec. 8, 2011); Earthlink IR (May 23, 2012); Amazon IR (Feb. 15, 2012).
433
    See, e.g., AOL IR (Dec. 1, 2011); Earthink IR (May 23, 2012).
434
    See, e.g., Amazon IR (Feb. 15, 2012); AOL IR (Dec. I, 2011).
435
    See, e.g., Cablevision IR (Jun. 20, 2012); Business.com IR (Jun. 15, 2012):
436
    See, e.g., Cablevision IR (Jun. 20, 2012); Business.com IR (Jun. 15, 2012).
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437
    Department of Justice, Recommendation to Challenge Google/Yahoo Services Agreement, 54-55 (Sep. 22,
2008). The Department of Justice defined "search syndication" to include both syndicated search and search
          ne



advertising, wherein intermediaries such as Google struck agreements with website publishers to provide both
functionalities. Id.
438
    See supra p. 67 (relevant geographic market for horizontal search is limited to the United States) and p. 73
(same for search advertising). See Department of Justice, Recommendation to Challenge Google/Yahoo
        ai




Services Agreement, 39 (Sep. 22, 2008) ("[u]sers do not substitute foreign search engines for U.S. engines,
because foreign engines are not designed to deliver relevant information for a U.S. user"). See also Microsoft
bt




EC Submission 86 (noting that the relevant markets at issue in this investigation should be defined by •~national
or linguistic boundaries"). None of the parties have challenged the relevant geographic market.
439
    2011 comScore qSearch20 Report. Amazon query volume has been allocated between Google and
Microsoft according to the division described by the company. See Amazon IR (Nov. 18, 2011). Queries on
O




Craigslist.org have been removed from the dataset because the site does not host either web search or search
advertising. There are some significant inconsistencies in our datasets. Figures provided by Microsoft for
Yahoo!' s syndication query volume are staggeringly inconsistent with comScore's data ( 107 billion in
Microsoft's data set v. 2.7 billion in comScore). We are trying to get to the bottom of this discrepancy now, but
understand that Yahoo! 's internal data may take into account so-called "phantom" queries (instances where a
user hovers over a word in text and a link or ad appears), which would account for the discrepancy. Google's
market share would be considerably smaller taking into account the Yahoo! figure provided by Microsoft.
However, we have reason to question the Yahoo! figure because it is inconsistent with the industry
understanding of Google's dominance in this area. See Appendix 3 for a detailed explanation of how Staff
calculated the relevant market shares using comScore' s dataset.




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 440                                                                                                                     ('
      2011 comScore qSearch20 Report. The remaining 3 percent is, most likely, allocated among the three firms
  in roughly the same proportion as the 97 percent of the market we have been able to identify. See Schmidt Tr.
   175: 11-176:12 (Google's fonner CEO identifying Google and Microsoft as the providers of search syndication,
                                                                                                                         l
  then testifying that there must be some smaller, additional providers out there but that he doesn't know any of
  their names.) Unfortunately, limitations in the available data make it impossible to allocate conclusively the
  remaining query volume among syndication providers. As noted earlier, supra note 439, there are also some
  significant inconsistencies in our existing datasets, described in detail in Appendix 3 (describing the limitations
  of Staffs datasets from comScore and the parties).
  441
      See, e.g., Brin Tr. 339:14-23 (testifying that Google indexed over 200 billion documents "years ago," and he
  has since lost count); Microsoft IR (Jul. 20, 2012); Microsoft IR (Jul. 24, 2012). See also U.S. Department of




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  Justice, Google/Yahoo Services Agreement: Recommendation to Challenge, 40-42 (Sep. 22, 2008).
  442
      See, e.g., Brin Tr. 339:24-340:1 (technology expertise is a major factor in building a search engine). Sergey
  Brin testified that Google employs some 10,000-15,0D0 engineers, with at least 1,000 devoted exclusively to




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  search. Brin Tr. 340:2-8. See also U.S. Department of Justice, Google/Yahoo Services Agreement:
  Recommendation to Challenge, 40-42 (Sep. 22, 2008).
  443
      See, e.g., Schmidt Tr. 97:12-98:23 (testifying that Google's substantial infrastructure is a "significant




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  advantage because it allows us to serve queries - less expensively"); Brin Tr. 337:15-20 (agreeing that a new          I_ -

  entrant would need substantial server capacity); Microsoft IR (Apr. 7, 2011); Microsoft IR (Jul. 20, 2012).




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  444
      Google 10-K at 24. Sergey Brin testified that the figure was something around $1 billion dollars. Brin Tr.         r
  342:5-6.
  445
      See Nadella Deel. at 4 i! l0(d).
  446
  447
      See supra p. 16.                             PO
      See Nadella Deel. at 4 i!lO(d) (losses of $1.7 billion in FY 2009, $2.5 billio.n in FY 2010); Microsoft IR (Jul.
  20, 2012) (losses of$2 billion in FY 2011; $1.5 billion in FY 2012).
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  448
      See Microsoft IR (Jul. 20, 2012) (Bing cannot continue to sustain these losses over the next few years and
  remain a viable operation within Microsoft).                                                                           r
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  449
      See Microsoft EC Submission 64 n.224 & 77-78.
  450
      See id. Microsoft has conducted studies suggesting that users who use Bing's vertical websites are far more
  likely to use Bing as their general search engine of choice than are other users. Id.
  451
      See Microsoft EC Submission 64 n.224.
  452
      Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 605 n.32 (1985) (citations omitted).
                            d


  453
      See Microsoft, 253 F.3d at 79 (plaintiff must show that the conduct is "the type of conduct that is reasonably
  capable of contributing significantly to a defendant's continued monopoly power").
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  454
      Id. at 65.
  455
      Id. at 65-66. See also e.g., Xerox Corp. v. Media Sciences Int'!, Inc., 511 F.Supp.2d 372, 387-89 (S.D.N.Y.
  2007) (denying motion to dismiss counterclaim that Xerox purposely redesigned its printers and replacement
  ink sticks to preclude competition in the market for replacement ink sticks); Melanie Tucker v. Apple Computer,        r
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  Inc., 493 F.Supp.2d 1090, 1099-1101 (N.D. Cal. 2006) (denying motion to dismiss claim that Apple purposely
  designed IPod player and !Tunes music files to be incompatible with competitors' music files and players,              L
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  respectively).
  456
      This is the most friendly legal framework. Under the Ninth Circuit's Allied Orthopedic framework, if               r
  Google can show any objective "improvement" to its product, there will be no balancing of harm to competition
                                                                                                                         L
  and procompetitive justifications. See Allied Orthopedic Appliances, Inc. v. Tyco Health Care Group LP, 592
O




  F.3d 991, 998-99 (9 th Cir. 2010). The Ninth Circuit has also, on occasion, applied a "refusal to deal" analysis to
  these types of product improvement cases. See, e.g., Live Universe, Inc. v. MySpace, Inc., 2007 U.S. Dist. Lexis
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  43739 (C.D. Cal. 2007) (no duty to deal with rival where defendant redesigned its platform so that links to            l_
  rival's website no longer functioned and where it blocked users from embedding links to rival's website in their
. profiles), aff'd, 304 Fed. Appx. 554 (9 th Cir. 2008) (unpublished op.). This would clearly be problematic for the
  Commission, see infra p. 84 & note 483 ( discussing whether Google has a duty to deal in the context of a search
  biasing complaint).
  457
      GOOG-ITA-XX-XXXXXXX-16 (2009), at 14. See also e.g., GOOG-Texas-0213904-08 (2009), at 5 ("There is
  currently a concern that the query mix is shifting to being less commercial, that queries in certain verticals (e.g.
  finance, retail) are growing more slowly than our overall traffic, and that we are getting higher percentages of
  navigational queries (up to 55-70% for shopping,jobs, fmance, vehicle in the UK, for example). More users.



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  may be going directly to vertical sites, and if the queries we are losing are commercial in nature, this may be a
  reason for RPM declines"); GOOGFOX-000025766 (undated), at 16 (In the UK, "Google losing 3-4% ofrev
  share p.a. to aggregators .... Aggregators instigating more sales .... Aggregators growing much faster than
  Google. Potential lost revenue in UK> $100 million by 2012). See also e.g., Brin Tr. 58:7-19 (" .. .if we're
  serving our users poorly in whatever subsets of queries, we would definitely face significant revenue erosion as
  we got less usage."; Schmidt Tr. 160:25-161:10, 226:10-228:25, 229:23-230:25, 234:13-234:22, 235:2-235:8,
  236:20-237:5, 294:1-295:18 (" ... it's opportunity lost. .. And in our industry, it's important to do very well. ..
  There was a concern that the aggregators were doing a good job in an area where we were not as - doing a good
  enough job ... We want to compete. So that drove a- a discussion.").
  458
      See Microsoft Corp., Microsoft Complaint to the European Commission (Mar. 31, 2011). This theory




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  directly tracks the Department of Justice's theory on the role of middleware in Microsoft. There, it was argued,
  middleware represented a threat to Microsoft's operating system dominance not because the middleware would
  itself replace the underlying operating system, but because middleware provided an alternative platform onto




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  which applications could be written, which could be run irrespective of the underlying operating system.
  Lowering this so-called applications barrier to entry, in turn, lowered the costs for other firms to introduce rival
  operating systems that could directly challenge Microsoft's dominance over Intel-compatible operating systems.




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  Similarly, here, Microsoft argues that a "key component" of its strategy in attracting users has been to partner
  with vertical websites so that Bing can offer a "differentiated general search experience to compete with




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  Google." Id. See also e.g., GOOG-Texas-1325832-33 (2010), at 33 ("Bing has explicitly made improving
  verticals a key part of their strategy to beat Google"); GOOG-ITA-XX-XXXXXXX (2009) (email noting that Bing
  is focused on competing against Google in its "two top verticals," shopping and travel).
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  459                                              PO
      While reduced innovation is at the heart of this theory, the role of pricing cannot be ignored, in that (as with
  other theories described later in this memorandum), the broader availability of alternative search advertising
  platfom1s would operate as a constraint on Google's ability to raise prices to its advertisers.
  460
      See supra p. 30;
  461
      See supra p. 30-31.
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  462
      In Microsoft, the government's argument that product improvement could be outweighed by anticompetitive
  effects did not fare well. The en bane court considered a claim that Microsoft had designed certain software in
  a way that made Java applications both faster on its operating system and incompatible with rival operating
  systems. Although the opinion stated that the applicable test was that "the incompatible product must have an
  anticompetitive effect that outweighs any procompetitive justification for the design," it held that the fact that
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  product ran faster on Microsoft machines sufficed to make it legal standing alone and did not appear to try to
  balance that benefit against anticompetitive effects. Microsoft, 253 F.3d at 74-75. Similarly, while the D.C.
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  Circuit upheld the lower court's ruling against Microsoft on the company's efforts to ·integrate the Internet
  browser with the operating system, it did so on particular integration aspects for which Microsoft could provide
  no justification. Where Microsoft did provide a justification (namely, in overriding users' choice of a default
  browser), the court found no liability. 253 F.3d at 67-68.                              ·
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  463
      See Response of Google to DG Comp (Jul. 1, 2011), at 2.
  464
      See Shashi Seth, Beyond the Search Box, Yahoo Search Blog, Jun. 10, 2010,
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  http://www.ysearchblog.com/2010/06/10/beyond-the-search-box/. ("People no longer search to find a list of
  blue links; they search to find answers in the shortest amount of time possible. We believe that surfacing the
  right information at the right time is more important than the number of total results delivered or number of
  traditional queries conducted"); Greg R. Notess, Microsoft's New Bing- The 'Decision Engine, Information
O




  Today Inc., Jun. 8, 2009, http://newsbreaks.infotoday.com/NewsBreaks/Microsofts-New-BingThe-Decision-
  Engine-54514.asp. (noting that Microsoft rebranded its MSN search engine as Bing in 2009, dubbed it the
  "decision engine," and began incorporating universal blends similar to those used by Google and Yahoo!).
  465
      Google Search Innovation White Paper at 56-58.
  466
      Id. at 40.
  467
      The OneBox, predecessor to the Universal Search "blend," showcased Google's vertical content in a box at
  the top of the Google search results page. See id. at 34-45.
  468
      PageRank "relies on the uniquely democratic nature of the web by using its vast link structure as an indicator
  of an individual page's value. In essence, Google interprets a link from page A to page Bas a vote, by page A,
  for page B. But, Google looks at considerably more than the sheer volume of votes, or links a page receives; for
  example, it also analyzes the page that casts the vote. Votes cast by pages that are themselves "important"



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 weigh more heavily and help to make other pages 'important.' Using these and other factors, Google provides
 its views on pages' relative importance." Danny Sullivan, What is Google PageRank?, Search Engine Land,
 Apr. 26, 2007, http://searchengineland.com/what-is-google-pagerank-a-guide-for-searchers-webmasters-11068
 (quoting Google Technology blog).
 469
      See supra note 116                                                                                                r
 470
     Microsoft IR (Jul. 23, 2012).                                                                                      L
 471
     Microsoft IR (Nov. 12, 2011).                                                                                 ·
472
       Mayer Tr. 83 :6-84: 1 (noting that Google experimented with third-party OneBoxes in 2005 and 2006, but
abandoned the effort).                                                      .                         ·
473
     See Google Narrative Interrogatory Response at 41-43; Response of Google to DG Comp at 51-52.               ·




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474
     See, e.g., GOOG-Texas-0179659-63 (2007), at 59 (Launch Report for "Shopping Comparison Demotion"
 states, "The goal of this project is to reduce the dominant occurrence of comparison shopping sites in Google
search results resulting in a more diverse result set."); GOOGL,R-00111652 (2011), at 1 (Launch report for




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Repeat Click Demotion stating that the goal is to "demote poor quality hosts."). There is evidence, however,
that Google engineers are taught not to put in writing that changes are made for revenue considerations or to
hann competition. See GOOG-Texas-0214409-11 (2009), at 9 (stating that it was ''unwise of the team to




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communicate that [revenue] was the reason for these changes.").
475
      See Brin Tr. 79:16-81:24 (acknowledging the similarities between Google Product Search and its




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competitors); Fox Tr. 204:6-204:20 (acknowledging the similarities between Google Product Search and its
competitors).
476
477
     Brin Tr. 78:7-9.                             PO
     Id. at 78:7-20; see id. at 78:21-79:3 (indexing and serving up Google Product Search in Google's regular
web search results "would be a lousy experience" for users).
478
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     BCP specifically negotiated the production of any research studying user expectations concerning the basis
upon which search results are determined, including Universal Search results. Based on BCP's review of the
more than 800 studies that Google produced and other responsive documents, there is no indication that Google
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has conducted any consumer research that bears on the issue, with most of Google's research consisting of real-
time experiments that are limited to observing users' actual interaction with specific product refinements.
Sergey Brin testified that he was not aware of any studies that targeted the particular question of how a user
understands Google Universal Search results. Brin Tr. 140:18-25.
479
     Sergey Brin testified that he does not recall if the decision to not expressly label the results as "Google"
                           d


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results was a conscious one, "but I imagine it would look stupid if the whole page just said Google, Google,
Google, Google." Brin Tr. 137:9-14. Q: "But you're returning Google content there and expecting users to be
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able to distinguish; right?" A: "Yeah. I mean, it looks very different. I mean, the box is different. The link is
different. I don't think people are confused by that." Brin Tr. 137:15-19.
480
     Id. at 105:4-5.
481
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     Id. at 110:2-5.
482
     See, e.g., Kinderstart, 2006 U.S. Dist. LEXIS 82481; SearchKing, 2003 U.S. Dist. LEXIS 27193.
483
     Google's possible "duty" to deal with certain competitors will be discussed at length at p. 94-95, infra, but it
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is worth noting here that courts have generally required some sort of affim1ative contract or agreement in
establishing an affirmative voluntary course of dealing. This makes sense because of the underlying nature of
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the cause of action: that the defendant has engaged in conduct that is clearly contrary to its own short-term           L
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benefit in order to achieve anticompetitive ends. An affirmative agreement provides clear evidence of the
defendant's prior intent to "deal" with that party based on, presumably, some real benefit to the defendant. On         r
the search bias front, it would be more difficult to establish a "voluntary course of dealing." Although Google
does crawling and return search results for a variety of websites, and- in a sense - has certainly benefited from       l
the websites' efforts to "optimize" their content for inclusion in Google's web search results, that does not
translate into some prior course of dealing that it would defy common sense to abandon, but for an
anticompetitive plan to rid itself of vertical rivals.
484
                                                                                                                        [
     See Tucker, 493 F .Supp.2d at 1099 (suggesting that plaintiffs product design claims would not be
"construed as a refusal to deal"). But see LiveUniverse, 2007.U.S. Dist. Lexis 43739 (C.D. Cal. 2007) (no duty
to deal with rival where defendant redesigned its platfonn so that links to rival's website no longer functioned
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and where it blocked users from embedding links to rival's websfre in their profiles), aff'd, 304 Fed. Appx. 554
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(9 Cir. 2008) (unpublished op.). Alternatively, Section 5 may afford the Commission an aven\le to challenge



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design changes by monopolists that substantially disadvantage rivals or nascent threats, even where that conduct
does not rise to a Section 2 violation. Professor Herbert Hovenkamp believes that the area of monopoly
leveraging in industries characterized by network effects may be a type of exclusionary conduct uniquely suited
to standalone Section 5 competition enforcement. Herbert J. Hovenkamp, The Federal Trade Commission Act
and the Sherman Act, 62 Fla. L. Rev. 871, 885-87 (2010). Hovekamp lauded the FTC's decision to challenge
Intel's conduct with respect to graphic chips in the Intel matter because he felt that Section 5 was uniquely
suited to deal with thorny issues relating to design changes by monopolists that disadvantage rivals, id., and
because liability under Section 5 does not lead to the imposition of treble damages, and is applied by an agency
that is able to develop expertise about particularly complex issues such as design changes that negatively impact
rivals. See also Areeda & Hovenkamp, Antitrust Law, ,r 772h ("Another possibility is use of§ 5 of the Federal




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Trade Commission Act, whose prohibition of unfair methods competition can reach instances of leveraging
activity relating monopolized and nonmonopolized markets in circumstances where § 2 of the Sherman Act
cannot.").




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485
    See generally Eugene Volkh and Donald M. Falk, Mayer Brown LLP, "First Amendment Protection for
Search Engine Search Results" (Apr. 20, 2012).
486
    2003 U.S. Dist. LEXIS 27193 (W.D. Okla. 2003).




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487
    Id. at *3.
488
    See Kinderstart LLC v. Google, Inc., 2006 U.S. Dist. LEXIS 82481, at *30 n.6 (N.D. Cal. Jtil. 13, 2006)




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(although not specifically reaching the issue, noting that Google's manipulation of its search results might be
distinguishable from other forms of protected expression because Google is not a media defendant, and website
ranking may be of little or no public concern, citing Jefferson County School Dist. No. R-1 v. Moody's


490
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Investor's Services, Inc., 175 F.3d 848, 852 (10 th Cir. 1999)).
489
    See Central Hudson Gas & Elec. Corp. v. Public Serv. Comm'n, 447 U.S. 557,667 (1980). '
    Edenfieldv. Fane, 507 U.S. 761, 767 (1993) (quoting Ohralik v. Ohio State Bar Assn., 436 U.S. 447,457
(1978)).
491
    540 U.S. 398 (2004). ·
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492
    Id. at 408 (quoting United States v. Colgate & Co., 250 U.S. 300, 307 (1919)); see Pac. Bell Tel. Co. v.
Linkline Communications, Inc., 129 S.Ct. 1109, 1118 (2009) ("As a general rule, businesses are free to choose
the parties with whom they will deal, as well as the prices; tenns, and conditions of that dealing").
493
    Id. at 408; see Linkline, 129 S.Ct. at 1118 (acknowledging "limited circumstances in which a firm's
unilateral refusal to deal with its rivals can give rise to antitrust liability").
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494
     472 U.S. 585 (1985).
495
    Trinka, 540 U.S. at 409.
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496
    Trinka, 540 U.S. at 408-09 (describing Aspen Skiing).
497
    Id. at 409 (emphasis in original).
498
    93 Fed. Appx. 1 (5 th Cir. 2004) (unpublished op.).
499
    Id. at 3.
        ai




500
    Id. at 4.
501
    Id. at 9-10. See also, e.g., Creative Copier Servs. v. Xerox Corp., 344 F.Supp.2d 858, 866 (D. Conn. 2004)
bt




(allowing plaintiffs refusal to deal claims to go forward where plaintiff alleged that defendant Xerox engaged
in a voluntary course of dealing with plaintiff, then unilaterally "stopped dealing with [plaintiff] or made it
difficult for [plaintiff] to deal with Xerox" without a legitimate business justification). Conversely, several
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courts have dismissed complaints that have failed to properly allege a "unilateral tennination of a voluntary
course of dealing." See, e.g., Covad Communications Co. v. Bell Atlantic Corp., 398 F.3d 666,673 (D.C. Cir.
2005) (upholding dismissal of complaint where, among other things, plaintiff failed to allege that "the defendant
had previously engaged in a course of dealing with its rivals, or that it would ever have done so absent statutory
compulsion" (internal quotation omitted); LiveUniverse, Inc. v. MySpace, Inc., 304 Fed. Appx. 554,556 (9 th
Cir. 1009) (unpublished op.) (holding that a refusal to deal claim requires a prior affirmative decision or
agreement to cooperate, and upholding dismissal of complaint where voluntary, affinnative prior course of
dealing was not alleged); In re Elevator Antitrust Litig., 503 F.3d 47, 52-53 (2d Cir. 2007) (interpreting the
"sole exception" to a defendant's right to refuse to deal as "when a monopolist seeks to terminate a prior
(voluntary) course of dealing with a competitor," and dismissing complaint where plaintiff failed to allege this).
See also Areeda & Hovenkamp if772h ("As a general matter, court-imposed sharing obligations created under
the very general provisions of the antitrust laws must be restricted to circumstances where the defendant



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terminated an existing joint venture without justification. We would not interpret it to give the plaintiff a right
to create a new venture where none had existed before").
502
    See Trinka, 540 U.S. at 409.
503
    See Aspen, 472 U.S. at 610-11 (the evidence showed that defendant "was not motivated by efficiency
concerns and that it was willing to sacrifice short-run benefits and consumer goodwill in exchange for a
perceived long-run impact on its smaller rival.")
504
    In Sep. 2007 and Jul. 2011, Microsoft notified Yelp that it planned to change the way Microsoft incorporated
Yelp's content into MSN or Bing's local product, and Yelp saw MSN/Bing's local product becoming more like
a local information destination page. Regarding Yelp' s 2007 negotiation with Microsoft, see, e.g., FTC-
YELPTX-00000155-60 (2007) (GeoffDonaker of Yelp to Microsoft, "Just to make sure our messaging is clear




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and consistent, I feel compelled to note that Yelp's Terms of Service expressly prohibit any scraping or display
of our content without permission .... " John Skovron of Microsoft responded," ... if you really think that
we're not going to benefit your business in how we're able to expose content sourced from your site we'll either




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make changes or remove it."). Regarding Yelp's 2012 negotiation with Microsoft, see, e.g., FTC-YELPTX-
00000230 (2011) (Jeremy Stoppelman to Microsoft, "To be clear, if Bing uses our content in a similar way [as
Google Places], we will remove Yelp content from Bing entirely. Bing/Yahoo represents a single digit




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percentage of traffic to Yelp, so while it would be a minor shame to lose the traffic, we're planning on blocking
Bing should this change roll").                                                ·




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505
    Yelp IR (Jul. 22, 2011; Aug. 1, 2011), at 3; Yelp IR (Mar. 5, 2012).                                                r
506
    Yelp IR (Jul. 22, 2011; Aug. 1, 2011); Yelp IR (Mar. 5, 2012).                                                      L_
507
    Areeda & Hovenkamp, 1 772h.
508                                               PO
    Some courts have interpreted Trinka as requiring a plaintiff to demonstrate that the defendant has sacrificed
short-tenn profits in refusing to deal with the plaintiff. See, e.g., Covad, 398 F.3d at 675 (stating that, in order
to prevail on refusal to deal claim, plaintiff would have to allege that the refusal to deal resulted in some kind of
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"short-term economic loss" to the defendant); MetroNet, 383 F.3d at 1132-33 (observing that defendant's
actions did not have the same economic significance as the Aspen Skiing defendant's refusal to sell to plaintiff
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at retail price because the defendant's conduct did not entail a sacrifice of short-term profits); Four Corners
                                                                                                                        L_
Nephrology Assoc. v. Mercy Medical Center of Durango, 582 F.3d 1216, 1225 (10 th Cit. 2009) (observing that
"the key face permitting liability in Aspen Skiing was that the defendant terminated a profitable relationship
without any economic justification," and noting that, in the present case, the evidence suggested that the
defendant refused to deal with the plaintiff to avoid an "unprofitable relationship" and to "maximize its chances       L_
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of profitability in the short-term"). However, this interpretation appears inconsistent with the Supreme Court's
actual position in Aspen Skiing, as well as the Court's interpretation of Aspen Skiing in the more recent Trinka
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decision. See Aspen Skiing, 472 U.S. at 608 ( observing only that, because the defendant declined to sell tickets
at retail price, "[t]he jury may well have concluded that Ski Co. elected to forgo ... short-run benefits because it
was more interested in reducing competition," and that Ski Co. 's willingness "to sacrifice short-run benefits and
consumer goodwill" supported the "inference that Ski Co. was not motivated by efficiency concerns," but rather
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by a desire to harn1 its smaller rival); Trinka, 540 U.S. at 409 (assuming that the Aspen Skiing defendant's
tennination of "a voluntary (and thus presumably profitable) course of dealing ... suggested a willingness to           L
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forsake short-term profits to achieve an anticompetitive end") (emphasis in original). See also Areeda &
Hovenkamp 1772cl (expressing doubt that the Aspen Skiing defendant's refusal to sell tickets at retail price to         r
defendant resulted in short-term revenue losses to defendant). As the District of Connecticut has observed,             L
Trinka did not establish a "new rule in refusal to deal cases, namely that a complaint is deficient unless.the
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plaintiff has specifically alleged that the defendant could not possibly make a short-tern1 profit from the
challenged conduct. The Trinka court held that a motion to dismiss was appropriate when it was abundantly
clear that unbundling - the alternative to the alleged anticompetitive conduct - was manifestly inefficient. It
                                                                                                                        [
distinguished that situation from Aspen Skiing where a jury was permitted to infer anticompetitive conduct from
a lack of short-term profits. But nowhere in Trinka did the Court indicate that a complaint should be dismissed
if it fails to recite the magic words 'no short-term profit."' Creative Copier Servs., 344 F.Supp.2d at 866
(emphasis in original).
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509
     See., e.g.,Michigan State Medical Society, 110 F.T.C. 191 (1983) (in horizontal boycott context, threat alone
is actionable since it is designed to produce the anticompetitive effect). Courts have routinely found that non-
explicit refusals to deal, or offers to deal only on egregiously unreasonable terms, can constitute unlawful
refusals to deal. See; e.g., MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1132 (9 th Cir. 2004) ("An


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offer to deal with a competitor on unreasonable tenns and conditions can amount to a practical refusal to deal");
Aspen Skiing, 472 U.S. at 592-93 (noting that defendant offered plaintiff joint ticket deal provided that plaintiff
agreed to accept a fixed percentage of profits considerably below plaintiffs historical average, that a member of
defendant's board of directors admitted that defendant made an offer it knew plaintiff would not accept, and that
on those facts, plaintiff did reject defendant's offer); Duke Energy, 93 Fed. Appx. at 4 (premising liability for
refusal to deal on offer with terms that defendant "knew were unrealistic or completely unviable" to plaintiff);
Creative Copier Servs., 344 F.Supp.2d at 866 (allowing refusal to deal claim to proceed based on defendant's
delays in shipping, making certain parts unavailable, and raising prices on other parts). See also Areeda &
Hovenkamp 1772cl (noting that, in Aspen Skiing, defendant did not actually refuse to deal with plaintiff, but
kept trying to reduce plaintiffs share of the profits until it "finally made an offer that [plaintiff] would and did




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find unacceptable").
510
    Cf. In the Matter ofIntel Corp., 128 FTC Decisions 213 (1999) (challenging Intel's threat to cut off
customers from critical technical information unless those customers granted Intel licenses to technology




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developed and owned by the customers).
511
    See, e.g., In the Matter of Negotiated Data Solutions LLC, FTC File No. 051-0094 (2008) (condemning, as
unfair method of competition under Section 5, N-Data's reneging on prior patent owner's pricing commitments




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to standard-setting organization, where (i) the conduct caused "substantial consumer injury" that (ii) was "not ..
. outweighed by any countervailing benefits to consumers or competition that the practice produces," and (iii) it




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was an injury that "consumers themselves could not reasonably have avoided") (quoting Orkin Exterminating
Co. v. FTC, 849 F.2d 1354, 1364 (11 th Cir. 1988).
512
    See Analysis of Proposed Consent Order to Aid Public Comment, In the Matter ofIntel Corp., 128 FTC
                                                  PO
Decisions 213 (1999), at *3 ("Unjustified conduct by a monopolist that removes the incentive to ... compet[e]
by depriving innovators of their reward or otherwise tilting the playing field against new entrants or fringe
competitors ... has a direct and substantial impact upon future consumers").
513
    See, e.g., Microsoft IR (Jul. 23, 2012) (Qi Lu referencing well-known Silicon Valley investor who has
allegedly pulled funding from a variety of vertical websites).
                                    by
514
    Mayer Tr. 152:19-24 (" ... it's not possible to be dropped in one place and not the other").
515
    See supra p. 37. Similarly, Google's almost immediate removal of Amazon product reviews from Google
Product Search indicates that technical barriers were quickly surmounted when Google desired to accommodate
a partner.
516
    Google allows newspapers to choose to be indexed for Google's web search results, but not by Google
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News. See Jonathan Simon, New User Agent for News, Google Webmaster Central, Dec. 2, 2009,
http://googlewebmastercentral.blogspot.com/2009/12/new-user-agent-for-news.html; David Smydra, Google
          ne



News Now Crawling with Googlebot, Google Webmaster Central, Aug. 25, 2011,
http:/I googlewebmastercentral.blogspot.com/2011 /08/google-news-now-crawling-with-googlebot.html;
Vanessa Fox, Google Retires the Googlebot-News Bot, Search Engine Land,
http://searchengineland.com/google-retires-the-googlebot-news-bot-90607. The primary difference between
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Google News and the affected verticals here is that Google makes little money from Google News as a stand-
alone product. Presumably, this lower-value vertical is one in which Google was willing to make certain
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concessions that it was not willing to make in higher-value vertical areas.
517
    As demonstrated in the Microsoft opinion, courts are deferential in their treatment of product innovations
with genuine procompetitive qualities. See Microsoft, 253 F.3d at 75-76 (reversing finding ofliability with
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respect to Microsoft development of a j ava script that allowed improved performance, but was incompatible
with the java script pioneered by Sun Micro System, Inc.); see also Allied Orthopedic, 592 F.3d at 998-1002
(finding that the introduction of improved sensors that were incompatible with competitors' monitoring systems
was not anticompetitive). However, when evaluating contractual restrictions attached to the product, the
Microsoft court had no trouble evaluating those contractual restrictions separately from the products they were
attached to. See Microsoft, 253 F.3d at 59-63 (condemning licensing restrictions for harming rivals, "not by
improving its own product, but, rather, by preventing OEMs from taking actions that could increase rivals'
share of usage"). This distinction demonstrates why the consumer choice model described in the BE Staff
Memo of Jan. 31, 2012, at 23-24, frames a false choice. With the model, BE Staff compared overall welfare of
advertisers with the API plus restrictions versus their welfare if no API existed. There is no support in the case
law for limiting the choice in such a way when there is a third choice: the API without the restrictive conditions.
The analogous argument in the Microsoft case would have prevented the courts from considering the possibility



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   of a Windows operating system that did not come burdened with contractual and technical restrictions
  preventing OEMs from featuring other browsers.
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   518
       While Google itself has not argued that such a remedy would be imposing a duty to deal, the argument has
  been raised internally. Review of the leading cases, including Trinka, LinkLine and Aspen Skiing, makes clear             F
  that the duty to deal doctrine is only relevant to claims that antitrust law should compel a firm to deal directly
  with a competitor. In the present case, the issue is the tenns and conditions upon which Google deals with its            L
  customers. As such, they are subject to the same kind of review as any section 2 case, like exclusive dealing,
  predatory pricing or tying.
  519
       As an example, Google forced Marin Software to remove a feature it called "The Cloner." Marin had
  promoted the feature as "an easy-to-use, professional tool that removes the cross-platform management




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  impediment, making it easy for marketers to derive maximum effectiveness, reach, and conversion from their
  search campaigns, without requiring costly new resources." Press Release, Marin Software, Marin Software
  Unveils 'The Cloner' (Nov. 4, 2008) http://www.prweb.com/releases/2008/11/prwebl567824.htm.




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  520
       See supra text accompanying footnote 277.
  521
       The possibility that the API itself reduces transaction costs is not a relevant consideration when the               r
  restrictive conditions are not necessary to the functioning of the APL .




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       For example, Google offers a service to advertisers called Expanded and Broad Match as a way to encourage
  increased spend on AdWords by decreasing transaction costs. This opt-in service gives advertisers the option to




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  let Google automatically expand their keyword lists to include many words and phrases that Google's
  algorithms detennine ought to have similar relevance. Hal Varian described this as a "very valuable service to
  advertisers;" it increases their advertising opportunities without having "to consider every possible variation of
  queries." Varian Tr. 218:11 - 221:8.
  523
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       Richard Holden and Hal Varian endorsed this view. CX-41 (GOOGFOX-000128077-080) (2009), at 3
  (Advertisers "focus on us first today b/c of volume of search artd if they don't get around to the other networks
  b/c it is a hassle today, the other networks lose out.") See also Brin Tr. 204:2-17 (testifying that Google has had
  more difficulty gaining "traction" with the local advertiser base because small advertisers have far less time and        r
                                      by

  resources to advertise).
  524
       See supra note 262. [multi-homing data].                                                                             L.
  525
·      Microsoft also claims that multi-homing advertisers optimize their campaigns more frequently on AdWords
  than on AdCenter. See supra p. 46-48 and note 266.                                                         .
  526
       See Michael L. Katz et al., "An Economic Analysis of Microsoft's Allegations That Google's Conduct
                             d


  Harms Competition by Reducing Bing's Scale," at 69 (May 14, 2012) (reporting on internal study showing that
  ·81 percent of paid clicks on Google's AdWords platform over 18 days, from Mar. to Apr. 2011, were for U.S.
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  advertisers that also advertised on Bing/Yahoo!).
  527
       See Microsoft IR (Jul. 23, 2012).                                                                                    L
  528
       Schmidt Tr. 121 :4. See id. at 120:20-121 :6 (testifying that being able to "fully fill out all the subparts" of a
  query for flowers is important to being able to "fully monetize[]" the ad); id. at 119:3-5 (''there's some benefit        r
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  to having a large long tail and more advertisers there"). See also Brin Tr. 203:15-22 ("I think the interesting
  thing about local advertisers is that it would hit somewhere where you could ... improve the user experience              L
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  quite a bit ... because [the smaller, local advertisers tend to be] ... really thoughtful about what they want to
  advertise, what data they want to have available. I think that would improve our experience .... ").                      r
  529                                                                                                                       i
       See supra p. 15 & note 66.                                                                                               b._
  530
       See supra p. 76 (describing the benefits of scale in advertising and the "virtuous circle").
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  531
       Holden Tr. 76:2-19 (Q: Do either prohibitions serve to improve the actual functioning of the API in any
  way? A: The actual-the functioning meaning how effective the API is for the search engine marketer? Q:                    r
  Yes. A: No, I don't think so.)
  532
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       Google Submission to the EC, "Google's AdWords API Terms and Conditions Do Not Have Anti-
  Competitive Foreclosure Effects - An Analytic Framework" (Sep. 23, 2011 ), at 41.
  533 Id.
 534
     Holden Tr. 28:20-29:8.
 535
     Id. at 23:25-24:15 (Q: Was there any other purpose for the commingling prohibition? A: That's really the
 primary driver behind it).                                                                                                 r
 536
     See, e.g., Acquisio IR (Sep. 12, 2011) (explaining that Acquisio's software is designed to help clients
 maximize their ROI); Booyah IR (Jan. 25, 2012) ("By cut[ting] comers [Booyah] will not be able to return the
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correct ROI to their client and would thus be out-of-business."); Clickable IR (Oct. 24, 2011) ("Although
advertising across multiple platforms requires Clickable to use additional resources, Clickable wants to
encourage this behavior nonetheless ... [as] advertising across multiple platforms helps its clients achieve the
highest return on investment (ROI).") Didit.com (Dec. 27, 2011) ("Didit manages client campaigns to maximize
ROI."); Interpublic IR (Oct. 20, 2011) (noting that "the search advertising market is 'effectiveness driven,' ...
."); Kenshoo IR (Nov. 9, 2011) ("Kenshoo's software is structured to primarily emphasize return on investment
(ROI) and scale, and to secondarily address brand awareness and exposure."); Raven Tools IR (Feb. 28, 2012)
("Raven is limited on what they can do, so they focus their energy on where they see the most return.") Reach
Local IR (Jan. 12, 2012) ("[t]he value in Reach Local's advertising campaigns stems from the return on
investment, time and opportunity cost savings, access to technology and software, and the knowledge of its




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staff.").
537
    Holden Tr. 64:20-65 :9. A search for SEMs reveals hundreds of finns offering these services; see also,
Varian Tr. 107:4-108:4 (explaining that ad agencies act in a non-zero sum game and their role is a positive one




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for Google); Varian Tr. 149:22-150:11 (where there are numerous advertising agencies "they would try to
compete in providing functionality and, of course, costs of developing tools that are appropriate to the needs of
their clients ... like any competitive market, they would try to address the needs of their potential customers.").




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538
    CX-37 (GOOGWOJC-000031755-64) (2008), at 58 ("Market forces are going to protect Google. Their (3 rd
party, agencies) customers will drop that customer/agency. To the extent that someone is adding spam.my stuff




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- they are going to worsen their own performance and this won't work out in the long run."), at 59 ("Won't
market forces drive developers to adopt [all AdWords functionality]? Customers will hound you or leave if you
don't offer it").
539                                              PO
    To the extent SEMs and agencies have misaligned incentives, it would be with non-dominant search
networks, because the third parties' first priority would be to improve their clients' returns on AdWords, the
largest search network, before optimizing on others. See, e.g., Varian Tr. 135:11-17.
540
    GOOGAROR-000018605-16 (2006), at 11 (emphasis added).
541
    Holden Tr. 31:19-32:16 (Google does not have reliable inforn1ation about the ROI of advertisers using
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agencies and SEMs ); id. at 129: 10-130: 14 (no record of any hann to Google from SEMs that were violating
tenns and conditions).
542
    Holden Tr. 31 :22-32:7 ("typically our assessments come back that rate of spend increases on advertisers
working through agencies."). See also CX-41 (GOOGFOX-000128077-80) (2009), at 77 (Google study
finding that advertisers who use SEM tools have about 13 % higher spend growth than advertisers who only use
                           d


the AdWords Front End).
543
    Holden Tr. 128:7-130:14; cf Google Submission to the EC, "Google's AdWords API Terms and Conditions
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Do Not Have Anti-Competitive Foreclosure Effects -An Analytic Framework" (Sep. 23, 2011), at 19
("Google's online AdWords guide explains: "getting the most out ofAdWords requires ongoing
experimentation.") (emphasis in the original).
544
    AdWords Terms and Conditions, III.2.f. provides: "All AdWords API Clients must expose at least as much
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functionality as is set forth in the RMF List. If the RMF List includes a particular function, all aspects of that
function and all API calls related to that function must be enabled and exposed. AdWords API Clients will need
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to expose any additional functionality added to the RMF List within 4 months after those functionalities are
added to the RMF List." The list ofrequirements is updated periodically and posted by Google. See Google
Developers, Required Minimum Functionality, https ://developers. google.com/adwords/api/docs/requirements
(last visited Jul. 25, 2012).
O




545
    CX-192 (GOOGVARI-000006959R-61R) (2004), at 61R. Later in that thread, Hal Varian is noted as
saying, "We're the dominant incumbent in this industry; the folks pushing us to develop our API will be the
underdogs trying to unseat us." Id. at 60R.
546
    GOOGKAMA-000004812-13 (2004), at 12; see also GOOGKAMA-000015528 (2006), at 2 (in response
to concern about Google advertisers migrating to MSN AdCenter, Google's response is "fight commoditization
of search networks by enforcing AdWords API T&Cs with SEMs").
547
    GOOGKAMA-000004815 (2004), at 1.
548 Id.
549
    AdWords API Terms and Conditions, section III.2.f ("All AdWords API Clients must expose at least as
much functionality' as is set forth in the Required Minimum Functionality List.").
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 550
      Google Submission to the EC, "Google's AdWords API Terms and Conditions Do Not Have Anti-
  Competitive Foreclosure Effects -An Analytic Framework" (Sep. 23, 2011), at 44, 50.
  551
                                                                                                                              [
      The after-the-fact shift in justification appears to have occurred sometime in 2008, when Harvard professor
  (and Microsoft ally) Benjamin Edelman began publicly criticizing Google's terms and conditions. See
  Benedelman.org, PPC Platform Competition and Google's "May Not Copy" Restriction,                                           rl_
  http://www.benedelman.org/news/062708-1.html (last visited Jul. 25, 2012). From that point on, the documents
  discussing the API were heavily redacted. Indeed, Hal Varian's investigational hearing was postponed twice
  while Staff and Google engaged in a lengthy privilege dispute over many of these documents. Some of the
  previously withheld documents have since been produced, but not many.
  552
      See Microsoft, 253 F.3d at 62 ("Microsoft reduced rivals browsers usage share not by improving its own




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  product but, rather, by preventing OEMs from taking actions that could increase rivals' share of usage").
  553
      See Microsoft, 253 F.3d at 58-62. See also e.g., United States v. Dentsply, 399 F.3d 181, 188-95 (3d Cir.
  2005) (holding that dominant U.S. manufacturer of artificial teeth was liable under Section 2 for using exclusive




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  agreements to prevent competitors from accessing "key" distribution channels that were critical in reaching
  consumers).
  554
      See id. at 326 ("Even though a contract does 'not contain specific agreements not to use the [goods] of a




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  competitor,' if 'the practical effect ... is to prevent such use,' it comes within the condition of the section as to   L.
  exclusivity") (quoting United Shoe Machinery Corp. v. United States, 258 U.S. 451,457 (1922)). See also e.g.,




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 Lepage 's Inc. v. 3M, 324 F.3d 141, 158-59 (3d Cir. 2003) (relying on Microsoft in holding that non-exclusive
  discount and rebate agreements between the defendant manufacturer and key retailers had the effect of
· excluding rivals in violation of Section 2 of the Shennan Act).
  555
  556
      Microsoft, 253 F.3d at 69.                  PO
      Other relevant factors include how easily the agreement can be terminated, the level of the distribution chain
 where the restraint is imposed, and whether there are alternative channels for competitors to reach the market.
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 Roland Machine Co. v. Dresser Indus., 749 F.2d 380, 395 (7th Cir. 1984) (agreements less than one year with
  easy termination clauses are presumed to be lawful); Seagood Trading Corp. v. Jerrica, Inc., 924 F.2d 1555,             r
                                    by

  1572-73 (11th Cir. 1991).                                                                                               I
  557                                                                                                                     L.
      Microsoft, 253 F.3d at 34; compare Microsoft, 253 F.3d at 70 ("[A] monopolist's use of exclusive contracts,
  in certain circumstances, may give rise to a § 2 violation even though the contracts foreclose less than the
 roughly 40% or 50% share usually required in order to establish a § 1 violation"), with United States v.                 r
 Microsoft Corp., 87 F. Supp. 2d 30, 52 (D.D.C. 2000) ("Where courts have found that the agreements in                    L
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  question failed to foreclose absolutely outlets that together accounted for a substantial percentage of the total
  distribution of the relevant products, they have consistently declined to assign liability"), and OmGga
                ne



 Environmental, Inc. v. Gilbarco, Inc., 127 F.3d 1157 (9th Cir. 1997) ("If competitors can reach the ultimate
  consumers of the product by employing existing or potential alternative channels of distribution, it is unclear         I
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 whether such restrictions foreclose from competition any part of the relevant market.").
  558
      Omega Environmental, Inc. v. Gilbarco Inc., 127 F.3d 1157, 1162 (9th Cir. 1997).                                    r
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  559
      See Stitt Spark Plug Co. v. Champion Spark Plug Co., 840 F.2d 1253, 1258 (5th Cir. 1988) (foreclosure
 referred to as "comparison between the number of distribution outlets available and the number of those                  L
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 foreclosed").
 560
      See Microsoft Corp., 253 F.3d at 70 (finding that Microsoft foreclosed a substantial percentage of the              r
  available opportunities for browser distribution without calculating a specific foreclosure rate); but see              I
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 Masimo Corp. v. Tyco Health Care Group, L.P., 350 Fed. Appx. 95, 97 (9th Cir. 2009) ("[The] effects ofTyco's
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 varied bundling arrangements was insufficient to support a finding that the arrangements foreclosed competition
 in a substantial share of the relevant market").
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      There are noted problems with the comScore dataset, most importantly, perhaps, that it appears to·                  L
  significantly underestimate Google's syndicated query volume (for 2011, 32.9 billion in comScore v. 132
 billion, as submitted by Google). However, given the limitations of all existing datasets in this area, Staff relies
 on the comScore dataset as the best proxy for the parties' respective performances in the market.                        I
 562
      See supra note 439.                                                                                                 L
 563
      Moreover, relying on third-party data submissions opens up a host of other issues, most problematically the
 question of how each party calculates its own syndication query volume and whether they are calculating the
 volumes in the same manner. Nevertheless, in an abundance of caution, we have calculated an alternative set of
 foreclosure numbers based on internal company datasets. See Appendix 3.


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 564
      The "conservative" estimate includes in the "foreclosed" group only the companies that have explicitly
  complained to the Commission that agreements foreclose them from using a rival syndication service, and that
  they would like to do so, but for their current agreement with Google. This group includes only eBay. It should
  also include NexTag and Business.com, however the comScore dataset does not provide numbers for these
  firms. The comScore dataset suggests that, under this scenario, 8,653,366,936 queries, or some 19.6 percent of
  the market, is foreclosed. (IfIAC is included within this group, the foreclosed query volume increases to •
  16,447,977,342, or some 37.3 percent of the market.) This is an extremely conservative estimate because, as
  noted above, courts routinely include all sales made pursuant to an exclusive agreement as being foreclosed.
  565
      The "aggressive" estimate includes in the "foreclosed" group every company that is party to an exclusive
· agreement with Google (see Appendix 1, table showing exclusive agreements), as well as every company that is




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  party to an agreement with the challenged "preferred placement" provision (see Appendix 2, table showing
  "preferred placement" agreements), except for any party that has explicitly told us that they do not view the
  "preferred placement" provision as a barrier to the use of a rival's syndication service. The excluded group




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  includes Amazon, Wal-Mart, and Google's online partners. Also excluded is Earthlink, although the comScore
  dataset does not provide numbers for this firm. The comScore c;lataset suggests that, under this scenario,
  29,133,927,882 queries, or some 66.1 percent of the market is foreclosed.




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  566
      The "intermediate" estimate includes in the "foreclosed" group every company that is party to an exclusive
  agreement with Google, as well as any company that is party to "preferred placement" terms and has explicitly




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  complained to the Commission that these terms. foreclose them from using a rival syndication service, and has
  stated that they would like to do so, but for their current agreement with Google. In addition to all partners with
  an exclusive agreement (see Appendix 1, table showing exclusive agreements), this group includes: eBay (and
                                                   PO
  should include NexTag and Business.com, but does not, given the limitations of the comScore dataset,
  described above). The comScore dataset suggests that, under this scenario, 22,804,213,204 queries, or some
  51.5 percent of the market, is foreclosed. We believe that this is the most defensible position because it takes
  into account both the exclusive agreements - those companies literally foreclosed to competitors on the face of
  their agreements - as well as any "preferred placement" agreements for companies. that have explicitly
                                     by

  complained about the de facto exclusive effect of such agreements. Staff believes that this approach is
  consistent with case law. See Omega Environmental, Inc. 127 F.3d at 1162; Stitt Spark Plug Co., 840 F.2d at
  1258.
  567
      2011 comScore qSearch20 Report.
  568
      Microsoft, 253 F .3d at 64; see also Robert H. Bork, The Antitrust Paradox 158 (1978) ("But there is no
                             d


  doubt that predation can succeed when the distribution pattern is so much more efficient than the alternative that
  those forced out of the pattern cannot compete").
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  569
      Ryko Mfg. Co. v. Eden Servs., 823 F.2dJ215, 1233 (8th Cir. 1987) ("When the degree of foreclosure caused
  by the exclusivity provisions is so great that it invariably indicates that the supplier imposing the provisions has
  market power, we may rely on the foreclosure rate alone to establish the violation.").
  570
       See Tampa Electric Co. v Nashville Coal Co., 365 U.S. 320, 329 (1961); In re Be/tone Electronics Corp.,
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  100 FTC 68,204 (1982).
  571
      See Microsoft IR (Jul. 20, 2012); Microsoft IR (Qi Liu, Jul. 23, 2012) (reporting that Microsoft's people
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  search program is better than Google's because Bing has access to Facebook data and that Bing built a better
  search system for travel queries than Google has.)
  572
      IAC IR (Dec. 8, 2011).                      .
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      Id. Indeed, as CityGrid explained, there are approximately 15-17 million individual local businesses that
  hope to attract local customers throughout the United States. These local businesses are potential advertisers for
  which search advertising (particularly search advertising serving specialized or "tail'' queries) can deliver a very
  high return for investment. As such, these markets are highly lucrative for Google, and competition for this
  advertising revenue from specialized web-sites, such as CityGrid and UrbanSpoon, aggregately poses a
  significant competitive threat to Google. For reference, competition in serving these local and specialized
  (vertical) markets is the same competitive threat Google contemplated it its 2007 EU planning document
  entitled, "Online Advertising Challenges: Rise of the Aggregators," wherein Google saw local advertising
  markets in Europe as having many companies experimenting to lure advertisers it what Google only saw as a
  "winner take all" market. See CX-116 (GOOG-Texas-1486915-70) (2009), at 21.
  574
      IAC IR (Dec. 8, 2011).
  575 Id.




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576
    See Microsoft EC Complaint at 28-45.
577
    Microsoft IR (JuJ.1.. 11, 2012) (explaining that more high traffic partners, like those under agreement with       L
Google, will help Bing move up the scale curve).
578
    Indeed, Google does not rely on any of its syndication data to improve its search algorithms. See Google
Submission, "An Economic Analysis of Microsoft's Allegations that Google's Conduct Harms Competition by
                                                                                                                       f
Reducing Bing's Scale" (May 14, 2012), at 12. However, Microsoft has specifically stated that itdoes rely on           L
the search query volume from Yahoo!; and would similarly rely on the search query volume from some of
Google's largest partners, like AOL and IAC. See Susan Athey, Scale in Online Search (Mar. 10, 2012), at 18            f
(explaining that search queries on search engine syndication partners, such as Yahoo!, are· "high quality for          L_
Bing because they reflect a broad spectrum of head and tail queries," but queries conducted on "non-search




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engine syndication partners do not provide the same level of infonnation about user intent that Bing gets from a       r
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search engine partner"). The fact that Google does not use - and has never used- syndication data is irrelevant
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to Microsoft's ability to do so. Moreover, Google's argument misses a critical point. At the very least,               L_




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additional syndication partners would net Bing additional search advertising volume (and ad clicks), and this is
a crucial element of developing Microsoft's ad platfom1 and improving its monetization rate. See supra p. 15-          t
16 and 77-78.




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579                                                                                                                    L_
    See supra p. 17; Microsoft IR (Jun. 11, 2012). Contrast this with Sergey Brin's testimony that Google's
quality difference would be "pretty marginal" with 20 percent fewer queries today. Brin Tr. 153:1-6. See also




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Preston McAfee, Yahoo!, Presentation, "Scale, Data, and Machine Leaming: Solving the Search Problem"               r
(Sep. 14, 2011), at 8 (theorizing that, "[o]f all search engines, only Google may be experiencing declining            L_
returns to scale").
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581
    GOOG-Texas-0437725 (2009), at 4.           PO
    GOOG-ITA-XX-XXXXXXX-06 (Aug. 2010), at 5. See also GOOGKAPO-000006352-53 (Feb. 17, 2010)
(considering ''what is the strategic/defensive value [of the 2010 AOL renewal] (preventing it from going to
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Microsoft/Yahoo?").
582
    GOOG-ITA-XX-XXXXXXX-93 (undated, c. 2009), at.92 (document entitled "AOL/Google Partnership "Good
                                  by

to Know"). AOL's limited value to Google was discussed on a number of occasions. For example, in Aug.
2009, senior vice president and chief business officer Nikesh Arora noted that Google's current deal with AOL      L
"loses money on a gross basis," and that, because of this, AOL was becoming "more nervous" about what
Google's proposal for a renewed syndication deal was going to look like. It appears that Google initially          r
intended to offer AOL significantly worse renewal tenns, including a decreased revenue share (80.75 percent        l
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for the new deal versus 88 percent in 2005), see GOOG-Texas-0437725-33 (2009), at 29, than it ultimately
provided AOL. See AOL IR (Dec. 7, 2011) (noting that AOL's 2010 agreement with Google provided for a 90
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percent revenue share minus a 2 percent deduction for click spam). See also GOOG-AFS-000000146 (2010),
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158-161 (2010 agreement between AOL and Google, detailing more than $60 million per year of advance                L
payments, and revenue shares of 85 percent, which contained a most favored nations clause (MFN) that
guaranteed AOL a matching rate if Google agreed to pay another publisher more than 85 percent). Staff took         r
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investigational hearing testimony from Sanjay Kapoor, who negotiated the 2010 Google/AOL agreement on              !




behalf of Google. In attempting to explain these documents, Mr. Kapoor testified that while revenues from the      l
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AOL relationship may have declined, AOL had a very strong brand, and retaining that brand relationship was
valuable to Google. Kapoor Tr. 32:9-33:2; id. at 50:7-10; id. at 90:24-91:10; id. at 108:18-23; id. at 135:24-
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136:24; id. at 140:7-141:18; Brin Tr. 235:7-12; 239:22-240:3.
583
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    See supra p. 55-56 & notes 305 and 306.
584
    Amazon IR (Feb. 15, 2012) (Amazon earned $175 million in total search syndication revenue world-wide,
with $169 million from Google and the rest from Yahoo/Bing). No domestic number was available, but the
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domestic share is likely modestly higher just because Google has a much more dominant position in overseas         L
markets than it does in the United States.
585
    IAC IR (Dec. 8, 2011) (Microsoft sought an exclusive deal); Amazon IR (Feb. 15, 2012) (Microsoft and           r
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Yahoo! both require page-based exclusivity so their ads cannot be mixed and matched on the same page with          l_
another provider's ads).
586
    See supra p. 56 & note 309 and 310. Microsoft admits that, because Microsoft's product monetizes at such a
low rate relative to Google, winning new syndication deals has not been a strategic priority for the company.
Bing needs a larger portfolio of advertisers in order to present a competitive offering to publishers, and so,


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outside of major syndication platforms (i.e., those with significant query volume, such as AOL and IAC), the
company has not been focused on winning new search syndication business. Microsoft IR (Jun. 11, 2012).
587
    See Yahoo! IR (Sep. 14, 2011). Google and Yahoo! abandoned their proposed arrangement in the face of a
threatened challenge by the Department of Justice. Ultimately, Microsoft and Yahoo! entered into a similar
arrangement in 2010.
588
    See supra p. 55.
589
    See, e.g. GOOGKAPO-000006280-95 (2010), at 83 (discussing revenue improvements from lowering
revenue share and standardizing AdSense agreements with publishers); Business.com IR (Jun. 15, 2012); Time
Warner Cable IR (Sep. 8, 2011).
590
    Amazon IR (Feb. 15, 2012).




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591 Id.
592
    Google has offered this remedy to the European Commission as part of its settlement proposal. See Google-
EC Settlement Proposal at 15-16.




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593
    Google has offered this remedy to the European Commission as part of its settlement proposal. See Google-
EC Settlement Proposal at 26-27.
594
    Acquisio IR (Sep. 12, 2011); Resolution Media IR (Nov. 7, 2011); Microsoft IR (Sep. 23, 2011).




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595
    Google has offered some version of a non-exclusivity remedy to the European Commission as part of its
settlement proposal, but has excluded certain classes of syndication partners from its proposal. See Google-EC




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Settlement Proposal at 21-22. As such, we do not believe that Google's offer is sufficient to remedy the
conduct addressed in this memorandum.
596
    Adam Kovacevich, Google's Approach to Competition, Google Public Policy Blogspot, May 8, 2009,
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http:// googlepub licpolicy. b logspot.com/2009 /05 I googles-approach-to-competition.html.
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